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 6    Attorneys for Plaintiff,
      Boris Antl
 7

 8                                  UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11
       BORIS ANTL, an individual;                Case No. 2:22-cv-00504-KJM-AC
12
                      Plaintiff,                 DECLARATION OF KETE P. BARNES IN
13
                                                 SUPPORT OF PLAINTIFF’S OPPOSITION
       v.                                        TO DEFENDANTS’ MOTION FOR
14
                                                 SUMMARY JUDGMENT, OR IN THE
       AGA SERVICE COMPANY, a Virginia
15                                               ALTERNATIVE, SUMMARY
       Corporation; JEFFERSON INSURANCE
                                                 ADJUDICATION
16     COMPANY, a Virginia Corporation, and
       DOES 1-10, inclusive,                     Hearing Date: December 8, 2023
17                                               Time: 10:00 a.m.
                      Defendants.                Courtroom: 3
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 1                                  DECLARATION OF KETE P. BARNES
 2    I, Kete P. Barnes, declare:

 3             1.     I am an attorney license to practice before this Court. I am counsel of record for

 4     Plaintiff Boris Antl. I make this declaration in support of Plaintiff’s opposition to Defendants’

 5     Motion for Summary Judgment, or in the Alternative, Summary Adjudication. I have personal
       knowledge of the facts set forth below, and if called as a witness, I could and would competently
 6
       testify as to those facts.
 7
               2.     Attached as Exhibit A are true and correct copies of transcript excerpts from the
 8
       August 18, 2023 deposition transcript of AGA employee Valarie Zhou and Exhibit 4 to the
 9
       deposition.
10
               3.     Attached as Exhibit B are true and correct copies of transcript excerpts from the
11
       August 24, 2023 Rule 30(b)(6) deposition of Defendant AGA Service Company (witness
12
       MaryAnn Fraser).
13
               4.     Attached as Exhibit C are true correct copies of transcript excerpts from the
14
       September 29, 2023 Rule 30(b)(6) deposition of Defendant AGA Service Company (witness
15     Melissa Castro).
16             5.     Attached as Exhibit D are true and correct copies of transcript excerpts from the
17     April 7, 2023 deposition of Plaintiff Boris Antl.
18             6.     Attached as Exhibit E is a true and correct copy of a document produced by
19     Defendants in excel form, with the file name Antl0087 Native3196098 Case Notes – JIC and
20     AGA Production 10.17.22, that has been converted to PDF. All information remains unchanged

21     from the excel file, and the excel file can be provided to Chambers if requested.

22

23            I declare under penalty of perjury under the laws of the United States of America that the

24    foregoing is true and correct. Executed on October 20, 2023, at Albany, New York.

25
                                                    /s/ Kete P. Barnes
26                                                  Kete P. Barnes

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                                                           2
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                  EXHIBIT A
                                   Valerie Zhou
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 1                      UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF CALIFORNIA
 3

 4   BORIS ANTL, an individual;   )
                                  )
 5             Plaintiff,         )
                                  )
 6   v.                           ) No. 2:22-cv-00504-KJM-AC
                                  )
 7   AGA SERVICE COMPANY, a       )
     Virginia Corporation;        )
 8   JEFFERSON INSURANCE COMPANY, )
     a Virginia Corporation, and )
 9   DOES 1-10, inclusive,        )
                                  )
10             Defendants.        )
     _____________________________)
11

12

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14                   REMOTE DEPOSITION OF VALERIE ZHOU
15                          Friday, August 18, 2023
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24   Reported by:       Monica Schoonover
                        CSR No. 10220
25   Job No.:           7533

                           Boris Antl vs. AGA Service Company, et. al.           Page: 1
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                                   Valerie Zhou
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 1                      UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF CALIFORNIA
 3

 4   BORIS ANTL, an individual;   )
                                  )
 5             Plaintiff,         )
                                  )
 6   v.                           ) No. 2:22-cv-00504-KJM-AC
                                  )
 7   AGA SERVICE COMPANY, a       )
     Virginia Corporation;        )
 8   JEFFERSON INSURANCE COMPANY, )
     a Virginia Corporation, and )
 9   DOES 1-10, inclusive,        )
                                  )
10             Defendants.        )
     _____________________________)
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15         REMOTE DEPOSITION OF VALERIE ZHOU, taken on behalf
           of the Plaintiff, beginning at 8:02 a.m. and ending
16         at 11:47 a.m., on Friday, August 18, 2023, via Zoom
           videoconference before Monica Schoonover, Certified
17         Shorthand Reporter No. 10220.
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                                   Valerie Zhou
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 1                                INDEX OF EXHIBITS
 2   EXHIBIT:                                                              MARKED
 3   Exhibit 1           Allianz Letter of Confirmation                           19
                         and Certificate of Insurance
 4
     Exhibit 2           Case Notes                                               54
 5
     Exhibit 3           Self Audit Form, Bates ANTL_00044                        59
 6
     Exhibit 4           EVAC Checklist, Bates ANTL_00037                         62
 7
     Exhibit 5           Guarantee of Coverage Letter                             67
 8                       Bates ANTL_000700
 9   Exhibit 6           Guarantee of Coverage Letter                             69
                         Bates ANTL_000698
10
     Exhibit 7           Guarantee of Coverage Letter                             88
11                       Bates ANTL_00034 and ANTL_00035
12   Exhibit 8           Defendant AGA Service Company's                         114
                         Response to Plaintiff Boris Antl's
13                       Special Interrogatories, Set One
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                                   Valerie Zhou
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 1   might be -- at least that's what's stumping me and
 2   causing me pause.         Is that what you are intending?
 3              MR. BARNES:           Yeah, yeah, that's fine.
 4              MS. LUETTO:           Okay.          All right.          Do you
 5   understand the question?
 6              THE WITNESS:            Yes.         If you are looking for my
 7   opinion of what I consider an emergency, it would be
 8   something that needs to be taken care of urgently.
 9   BY MR. BARNES:
10       Q      Okay.     In this section titled "Emergency medical
11   and dental coverage," it says that it will apply when you
12   have to pay for emergency dental -- sorry -- emergency
13   medical or dental care for one of the following covered
14   reasons.      Do you have an understanding of what "covered
15   reasons" means?
16              MS. LUETTO:           Objection.                Overbroad.    The
17   document speaks for itself.                     You can respond.
18              THE WITNESS:            Because the covered reason is
19   bolded in the certificate, then I would use the
20   definition of a covered reason which would be listed in
21   the definition section.
22   BY MR. BARNES:
23       Q      Okay.     And if we go down to the definitions, we
24   have, "Covered reasons:                The specific situations and
25   events that are covered by this certificate."

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                                   Valerie Zhou
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 1              Is that -- so other than the explanation back in
 2   emergency medical and dental coverage -- sorry, let me
 3   rephrase.
 4              Does that definition limit this application any
 5   further in your opinion?
 6              MS. LUETTO:           Objection.                Overbroad.    Vague.
 7   Calls for speculation.               Beyond the scope.
 8   BY MR. BARNES:
 9       Q      Miss Zhou?
10       A      Could you ask your question again, please?
11       Q      Yeah.     Does the definition of "covered reasons"
12   limit these two bullet points any further with respect to
13   the application of a claim?
14              MS. LUETTO:           Objection.                Vague and ambiguous.
15   Overbroad.      Compound.          Calls for speculation.                 Beyond the
16   scope of this witness's deposition.                             You can respond if
17   you can.
18              THE WITNESS:            I am not sure.
19   BY MR. BARNES:
20       Q      Okay.     For this specific requirement, "This
21   treatment is medically necessary," that bolded term again
22   refers to a definition?
23       A      Yes.     If it's bolded, yes, that's right.
24       Q      Okay.     And if we go down to "medically
25   necessary," there's a little bit of a header blocking

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 1   this, but I think I can cover this.                             It says, "Treatment
 2   that's appropriate for your illness or injury consistent
 3   with your symptoms, and that can safely be provided to
 4   you.    It meets the standards of good medical practice and
 5   isn't for your convenience or the provider's
 6   convenience."
 7              Who makes that determination?
 8              MS. LUETTO:           Vague and ambiguous.                  Overbroad.
 9   Beyond the scope.         You can respond if you understand the
10   question.
11              THE WITNESS:            So that would be decided by either
12   a medical team or our claims department.
13   BY MR. BARNES:
14       Q      In the instance of a reporting of an emergency
15   medical situation, does that evaluation prevent immediate
16   treatment?
17              MS. LUETTO:           Compound.              Overbroad.      Vague.
18   Calls for speculation.               Incomplete hypothetical.
19              THE WITNESS:            I don't have that information.
20   BY MR. BARNES:
21       Q      Okay.     I am just trying to -- if AGA makes the
22   determination of what's medically necessary, how is it
23   that treatment would be provided -- or when would
24   treatment finally be approved in terms of a claim being
25   made?

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 1   problem is that the term "claim" is -- might be what's
 2   confusing.     Claim is typically thought of as payment
 3   versus assistance.
 4              THE WITNESS:            Uh-huh.
 5              MS. LUETTO:           I think that might be -- that might
 6   be the rub here.
 7   BY MR. BARNES:
 8       Q      Okay.     When an insured -- I will rephrase.                        When
 9   an insured -- when an insured first calls to report a
10   medically -- a medical emergency -- sorry.                            Let me
11   rephrase this again.
12              If AGA receives a call regarding an insured
13   needing emergency medical treatment, does AGA still at
14   that point engage in an evaluation as to whether or not
15   that treatment is medically necessary?
16              MS. LUETTO:           Overbroad.                Vague.   Compound.
17   Incomplete hypothetical.                 Beyond the scope of this
18   witness's deposition.              You can respond.
19              THE WITNESS:            Can you repeat the first part of
20   that question?
21   BY MR. BARNES:
22       Q      Yeah.     When AGA first receives a call from an
23   insured regarding a need for urgent medical treatment,
24   does AGA still engage in an evaluation as to whether or
25   not that treatment is medically necessary?

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 1              MS. LUETTO:           Same objections.
 2              THE WITNESS:            Typically, yes, they would still
 3   review.
 4   BY MR. BARNES:
 5       Q      Are there any situations where treatment would
 6   be immediately approved?
 7              MS. LUETTO:           Overbroad.                Vague.   Incomplete
 8   hypothetical.      Beyond the scope of this witness's
 9   deposition.
10              THE WITNESS:            I don't have that information.
11   BY MR. BARNES:
12       Q      Have you ever been in a case where a claim was
13   immediately approved?
14              MS. LUETTO:           Vague and ambiguous.                 Overbroad.
15   BY MR. BARNES:
16       Q      Sorry.     Actually, let me rephrase.                       We are stuck
17   on this term "claim," and I keep using this maybe
18   incorrectly.
19              Have you ever been involved in a case where a
20   request for emergency medical treatment was immediately
21   approved?
22              MS. LUETTO:           Objection.                Vague.   Ambiguous.
23   Overbroad.     Compound.           Calls for speculation.
24              THE WITNESS:            I don't recall all the time frames
25   of the case reviews.

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 1   BY MR. BARNES:
 2       Q      What would be grounds to deny a request for
 3   emergency medical treatment coverage?
 4              MS. LUETTO:           Let me -- I am going to object, but
 5   I think that, again, if you are talking about coverage
 6   which implies payment versus something else, I think that
 7   may be an issue.
 8              But overbroad.              Vague and ambiguous.                  Calls for
 9   speculation.      Incomplete hypothetical.                            Beyond the scope
10   of this witness.        She's not the PMK.                          You can respond.
11              THE WITNESS:            Could you repeat the question?
12   BY MR. BARNES:
13       Q      Yeah.     What would be grounds to deny a request
14   for coverage for emergency medical treatment?
15              MS. LUETTO:           Same objections.
16              THE WITNESS:            If it did not meet the terms and
17   conditions of the policy.
18   BY MR. BARNES:
19       Q      Here in the certificate, page 27 of Exhibit 1,
20   it says what it covers, "Reasonable and customary costs."
21   We have another defined term.                       "Reasonable and customary
22   costs," in bold, "for supplies and services from a
23   doctor, dentist, hospital, or other licensed provider."
24              If we go down to the definitions, we have, "What
25   customers would usually be charged for a specific service

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                                   Valerie Zhou
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 1   in a particular geographic area.                           The charges are
 2   appropriate to the availability of the service, and of
 3   skilled and licensed service providers."
 4              Do you know of any examples of unreasonable --
 5   or unreasonable or uncustomary costs?
 6              MS. LUETTO:           Overbroad.                Vague.   Compound.
 7   Calls for speculation.               Beyond the scope.               You can
 8   respond.
 9              THE WITNESS:            No.       I don't have that
10   information.
11   BY MR. BARNES:
12       Q      In terms of a heart attack like the situation we
13   had with Mr. Antl, could you give any examples of what
14   would be an unreasonable or uncustomary cost?
15              MS. LUETTO:           Vague and ambiguous.                 Overbroad.
16   Compound.     Calls for speculation.                        Beyond the scope.   You
17   can respond.
18              THE WITNESS:            So if I was reviewing an invoice
19   for a heart patient and I saw a prosthetic leg being
20   billed, then that would be something that would appear to
21   be uncustomary to me.              I would review that with our
22   medical team to see if it was medically necessary.
23   BY MR. BARNES:
24       Q      Okay.     Since we are dealing with foreign travel,
25   at least in this case, are there instances where the

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 1   steps would be.
 2   BY MR. BARNES:
 3       Q      Okay.     In the situation of a heart attack, what
 4   would be the next steps there?
 5              MS. LUETTO:           Same objections.                   You can respond.
 6              THE WITNESS:            So same variables.                  If someone
 7   called us and said that they had a heart attack, we
 8   would -- we would need to find out where they were; were
 9   they admitted; when did this heart attack happen.                              There
10   would be a lot of questions that we would ask them to
11   make sure that we knew the best way to move forward, and
12   so that is very general to say.
13   BY MR. BARNES:
14       Q      When you first receive a call for assistance
15   with respect to an emergency medical situation, does it
16   happen that assistance is denied?
17              MS. LUETTO:           Objection.                Overbroad.     Incomplete
18   hypothetical.      You can respond.
19              THE WITNESS:            I don't recall assistance being
20   denied.
21   BY MR. BARNES:
22       Q      Okay.     Are agents available 24 hours a day for
23   assistance?
24              MS. LUETTO:           Objection.                Vague.
25              THE WITNESS:            That's the goal, yes.

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 1   BY MR. BARNES:
 2       Q      Okay.     You say, "That's the goal."                           Is there a
 3   situation where that goal is not met?
 4       A      I don't have that information.                              I don't have
 5   everybody's shifts.
 6       Q      Other than the individual -- individuals that
 7   you identified who are assigned when a call for
 8   assistance is made, is there anyone else involved in the
 9   process for approving assistance?
10              MS. LUETTO:           Overbroad.                Vague.       Ambiguous.
11   Compound.     Incomplete hypothetical.                          Beyond the scope.
12   You can respond.
13              THE WITNESS:            Yeah, I am not -- I am really not
14   sure what you mean by that question.                                I am not sure how
15   to answer it.      I am not sure how to answer it.                            Can you
16   rephrase it another way?
17   BY MR. BARNES:
18       Q      Sure.     As the -- the person who receives the
19   call, do they have discretion -- what's their level of
20   discretion in providing assistance?
21              MS. LUETTO:           Overbroad.                Compound.       Incomplete
22   hypothetical.      Vague and ambiguous.                         Calls for
23   speculation.
24              THE WITNESS:            Right.           Yeah, it depends on what
25   you mean by "assistance" and what you mean by

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 1       Q      I guess, if an insured is reporting the need for
 2   medical -- emergency medical treatment, is that -- is the
 3   approval of that treatment within the hands of the
 4   medical team?
 5              MS. LUETTO:           Objection.                Vague and ambiguous.
 6   Overbroad.     Incomplete hypothetical.                             You can respond.
 7              THE WITNESS:            Our medical team would advise if
 8   the treatment was -- is medically necessary and by what
 9   method would be safe for that person, and then whether or
10   not it's met, the terms and conditions would be reviewed
11   by the assistance coordinator or the claims department.
12   BY MR. BARNES:
13       Q      Okay.     Are there any instances where medical
14   treatment is requested and the medical team is not
15   involved?
16              MS. LUETTO:           Overbroad.                Vague.       Calls for
17   speculation.      Beyond the scope.
18              THE WITNESS:            I don't have that information.
19   BY MR. BARNES:
20       Q      Have you ever been involved in a case where the
21   medical team was not involved?
22              MS. LUETTO:           Vague and ambiguous.                     Overbroad.
23   Incomplete hypothetical.                 You can respond.
24              THE WITNESS:            We have different types of medical
25   cases, how we define a medical case.                                So if a customer

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 1   called and asked for names of hospitals in the area, I
 2   can provide a list to them without the medical team's
 3   involvement.      But other than that, I don't have that
 4   information.
 5   BY MR. BARNES:
 6       Q      For requests for treatment, are there any
 7   instances where the medical team would not be involved?
 8              MS. LUETTO:           Overbroad.                Incomplete
 9   hypothetical.      Vague and ambiguous.
10              THE WITNESS:            Yeah, I am not sure how to answer
11   that.   The -- the way that we explain it to a customer,
12   they don't need our permission to receive treatment.                        The
13   policy is designed for them to receive treatment that's
14   medically necessary.             They don't -- I am not sure how to
15   answer that question.              So we are not looking --
16   BY MR. BARNES:
17       Q      Sorry.     You were going to say?
18       A      So with the policy, it's designed for what's
19   medically necessary.             We are not deciding what medical
20   treatment they are getting.
21       Q      Okay.     After an approval -- I am sorry.                   After a
22   request for assistance is made and approved, what happens
23   next?   Sorry.     Let me rephrase.
24              After request for assistance is made and
25   assistance is provided, what happens next?

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 1   a case contact instead of the patient, making sure --
 2   answering questions that they may have about their policy
 3   and coordinating the assistance needed.
 4              Yes, I may speak to hospital staff.                          So it could
 5   range from admissions, billing.                         I might even speak to
 6   the operator or even the nurse station if I need a fax
 7   number.    So I may speak to the hospital staff, but my
 8   role is to coordinate assistance, and then the medical
 9   staff job is to monitor the medical care that's being
10   received, so either reviewing the medical report or
11   speaking to the treating doctor, if available.
12       Q      With respect to -- let's just talk about Mr.
13   Antl's situation.         After Mr. Antl is admitted to the
14   hospital and needs treatment, what goes into the approval
15   of -- sorry.      Let me rephrase.                    Who makes the
16   determination to provide a guarantee of payment?
17              MS. LUETTO:           Objection.                Overbroad.   Vague.
18   BY MR. BARNES:
19       Q      I guess I can narrow it down.
20              Is the case manager involved in the
21   determination of guarantee of payment, or is that the
22   medical staff?
23       A      The Assistance Coordinator II would be
24   responsible for creating and sending the guarantee letter
25   once the medical team has finished their medical review.

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 1       Q      Okay.     When you say "finish their medical
 2   review," is it accurate to say they have signed off on
 3   the treatment?
 4              MS. LUETTO:           Objection.                Vague and ambiguous.
 5   You can respond.
 6              THE WITNESS:            The medical team would be the one
 7   to tell us -- would advise us if this is medically
 8   necessary for the situation.
 9   BY MR. BARNES:
10       Q      Okay.     Would the medical staff recommend -- or
11   sorry.    Let me rephrase.
12              Have you ever been involved in a case where
13   medical staff recommended a different treatment
14   procedure?
15              MS. LUETTO:           Objection.                Overbroad.   Vague.
16              THE WITNESS:            I don't recall.
17   BY MR. BARNES:
18       Q      Okay.     Are you familiar with Mr. Antl's case?
19       A      I reviewed the log notes.
20       Q      Okay.     Prior to reviewing the log notes, did you
21   have any recollection of this case?
22       A      No.
23       Q      Okay.     Do you know -- after reviewing the log
24   notes, do you know when you first became involved in this
25   case?

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 1       A      I don't recall the date.                         I would have to look
 2   at the notes again.
 3       Q      Okay.     Do you know if you received the call or
 4   someone else?
 5       A      The initial call was not received by me.
 6       Q      Okay.     Once the case is made -- or sorry.                       Let
 7   me restart that.
 8              Once the initial call is received, how are you
 9   assigned to that case?
10       A      I don't recall the process from 2014.
11       Q      Is there any -- any specific factors that go
12   into assigning you to a case?
13              MS. LUETTO:           Objection.                Vague.   Overbroad.
14   Calls for speculation.
15              THE WITNESS:            I don't recall.
16   BY MR. BARNES:
17       Q      Other than the duties and obligations that we
18   discussed with your job earlier with your title and
19   position, were there any other duties that you had with
20   respect to Mr. Antl's claim?
21       A      I don't recall.
22       Q      Okay.     I am going to introduce the call log.                       I
23   will put it in the chat as well.
24              MS. LUETTO:           Are you attaching this as an
25   exhibit?

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 1              MR. BARNES:           Yeah.          I am going to introduce it
 2   as Exhibit 2.
 3              (Exhibit marked 2 for identification.)
 4              MS. LUETTO:           Just so you know, these are
 5   typically referred to as case notes.
 6              MR. BARNES:           Case notes, yeah, as the document
 7   title says.
 8              MS. LUETTO:           Oh, I didn't know it said that.            I
 9   am not trying to be a smart aleck.
10   BY MR. BARNES:
11       Q      Do you know who Dina Berik is?
12       A      I do.
13       Q      Sorry.     I meant to share this screen.                 For some
14   reason it didn't.
15              MS. LUETTO:           There we go.
16   BY MR. BARNES:
17       Q      Who is Miss Berik?
18       A      She was a Assistance Coordinator I.
19       Q      Okay.     And is Miss Berik still employed with
20   AGA, if you know?
21       A      Not that I am aware of.
22       Q      Okay.     If you see here, the call was received
23   at -- sorry.      Yes.       The first entry of the case notes,
24   Exhibit 2, it seems that this -- the first entry was
25   received around 3:03 a.m. on December 7th, 2014.                      Do you

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 1       A      Current location.
 2       Q      Okay.     If we go to C-60, "Case Manager Senior
 3   Kim approves ground ambulance 100 USD."
 4              Do you know who this refers to?
 5       A      So she is saying we can move forward with the
 6   guarantee letter for a hundred dollars.
 7       Q      Do you know specifically who CM Senior Kim is
 8   referring to?
 9       A      Yes I do.
10       Q      Okay, and who is that?
11       A      It's a senior case manager, Kim, and her last
12   name is Greer.
13       Q      Okay.     Sorry.          One second.
14              If we go to Case Note 13, column D, it says, "CM
15   adv RN that receiving hospital will not accept patient
16   until billing is arranged."
17              Do you know who they were referring to for the
18   case manager here?
19       A      No, I do not.
20       Q      Okay.     What does MAS stand for as we see in
21   column C?
22       A      So I don't remember exactly what the MAS stands
23   for, but it was a previous term for case manager.                      It was
24   how HR wrote the job title, and I don't remember the
25   exact -- what the MAS stands for, but it's talking about

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 1       Q      Does this entry of "Diagnosis matches medical
 2   notes" refresh your recollection?
 3       A      No, it doesn't.               I would have to look at the
 4   notes.
 5              What's that referring to is when I am preparing
 6   the guarantee letter is if it's matching what the medical
 7   team put in their note, so it's not me making the
 8   diagnosis.
 9       Q      Would it be accurate to say this is just more of
10   a confirmation of the accuracy of the information that's
11   available?
12       A      Yes.    That would be a good way of putting it.
13       Q      Okay.     I am going to bring back Exhibit 2.
14              MS. LUETTO:           Just one moment.                   Just for the
15   record, Exhibit 3 is Bates-stamped ANTL_0044.
16              MR. BARNES:           Correct.             Yes.
17              MS. LUETTO:           It makes it much easier for the
18   transcript.
19              MR. BARNES:           Very good.                Thank you.     I
20   appreciate it.
21   BY MR. BARNES:
22       Q      If we go down to -- go down to C-632 -- or
23   sorry -- Case Note entry 66, the column C says, "CM next
24   steps."    In column D, it says, "Confirm distance to the
25   second hospital."

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 1               At this point, was this already done?
 2         A     No.   I don't believe so.                       I believe there was
 3   another hospital with a similar name, so we wanted to
 4   make sure we had the right -- being accurate of where we
 5   were sending him.
 6         Q     Okay.    In column D at the bottom, it says, "EMTT
 7   summary for evac."           Do you know what that's referring
 8   to?
 9         A     Yes, I do.
10         Q     Okay.    And what is that?
11         A     It's a data entry list.                        We basically keep data
12   for all the transports that we have arranged for
13   headquarters so they can keep track of how many we have
14   done.     So basically we would make a summary at the end of
15   the transport.       It's just for data entry.
16         Q     Okay.    So this is after that's completed?
17         A     The summary would be done after the transport is
18   completed, yes.
19               MR. BARNES:          Okay.          I am going to introduce --
20   and let me send this over to you as well.                           We will mark
21   this Exhibit 4.
22               (Exhibit 4 marked for identification.)
23   BY MR. BARNES:
24         Q     Do you see this document, Miss Zhou?
25         A     I do.

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 1         Q    And is this the document that you are referring
 2   to?
 3         A    It is not.
 4         Q    What is this document?
 5         A    This is a checklist for -- whenever we would
 6   arrange a transport, this is a checklist to make sure
 7   that we stayed organized and that we had all of the
 8   pieces that we needed to be successful.
 9         Q    Okay.     At this point in time, the diagnosis was
10   determined that Mr. Antl was having a heart attack; is
11   that correct?
12              MS. LUETTO:           Objection.                Vague.   Overbroad.
13   Called for speculation.
14              THE WITNESS:            I don't have a recollection of
15   that, but if it's typed on that form, then that must have
16   been information we had at the time, but I don't recall
17   independently.
18   BY MR. BARNES:
19         Q    After -- let me rephrase.
20              Do you know where the information is obtained
21   for this form?
22              MS. LUETTO:           Overbroad.
23              THE WITNESS:            Yes, it would --
24              MS. LUETTO:           You can respond.
25              THE WITNESS:            It would just be from different

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 1       Q      If we go back to Exhibit 2 -- I think I am just
 2   going to leave this document open next time.                         Make this a
 3   little quicker.
 4              Let me go down to 68, column C, "Reviewed with
 5   Case Manager Senior Kim.                 Okay to send CGL's."          Do you
 6   know what CGL's this was referring to at this point?
 7       A      It says GCL's.
 8       Q      Sorry.     Yeah.          I might have a little dyslexia.
 9              Do you know what GCL's this was referring to at
10   this point?
11       A      Yes.    The guarantee letters.
12       Q      Okay.     And was this for the transportation and
13   admission to the second hospital?
14       A      Yes.
15       Q      Okay.     Right below here in Case Note 69, section
16   D, "Emailed the agent."                Sorry.           Section C says, "Emailed
17   the agent.     This is a go, manually attach GCL treatment 1
18   and 2."
19              It may be obvious, but it may not.                       "This is a
20   go," was that just taken literally?
21       A      Yes.    That's right.
22       Q      Okay.     When you say, "We accept our assistance,"
23   column D, "and would like for you to tell the hospital
24   they can proceed with the ground ambulance," do you know
25   if Mr. Antl had already been transported at this time?

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 1       A      I don't recall.
 2       Q      Okay.     Do you know if there were any issues with
 3   the transportation for Mr. Antl?
 4              MS. LUETTO:           Objection.                Vague.   Overbroad.
 5              THE WITNESS:            I don't recall.
 6              MR. BARNES:           Okay.          I am going to introduce
 7   Exhibit 5.     I will put it in the chat first.
 8              (Exhibit 5 marked for identification.)
 9   BY MR. BARNES:
10       Q      Do you recognize this document, Miss Zhou?
11       A      I do.
12       Q      And what is this document?
13       A      This is the guarantee of coverage letter.
14       Q      Okay.     And this indication, "Diagnosis: Ground
15   ambulance, heart attack," does that just follow again
16   from the confirmation of the information that was
17   available?
18       A      That's right.
19       Q      Okay.     So this diagnosis, I guess, is there any
20   certainty to it at that point, or is it just based on
21   what's known?
22       A      So if I -- so when I type in "heart attack," I
23   would have just gotten that from the notes.
24       Q      Okay.     Based on those notes or the initial
25   information, does the -- does the assistance or help that

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 1       A      So this was for the initial admission to the
 2   second hospital, and I believe that amount was based on
 3   an email from the agent.
 4       Q      Okay.     Do you know if any treatment was going to
 5   be provided based on that $2,500?
 6              MS. LUETTO:           Objection.                Vague.     Calls for
 7   speculation.      You can respond.
 8              THE WITNESS:            I don't recall.                  I would have to
 9   assume there's a reason he needs to go to the hospital,
10   but I don't know what procedures he needed.
11   BY MR. BARNES:
12       Q      At this point, the dates of service were only
13   intended to be December 8th to December 9th, 2014; is
14   that correct?
15       A      Based on the information we had at the time,
16   those were all the dates that we put down --
17       Q      Okay.
18       A      -- in the guarantee.
19       Q      I am sorry.
20       A      The guarantee letter can always be updated with
21   additional information.
22       Q      Okay.     Do you know if there was any discussion
23   between the medical staff and the medical service
24   provider that Mr. Antl would be there longer than one
25   day?

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 1   have -- sorry.       I am trying to find the exact line I
 2   want.    "CM advised will continue to monitor and CB as
 3   soon as we have STT."
 4              I know CM is case manager.                           What is CB?
 5       A      Call back.
 6       Q      Okay.     And STT?
 7       A      Stable to travel.
 8       Q      Okay.     Go to Case Note 97.                            Sorry.   One second.
 9              You know what?              Actually, why don't we take a
10   break?    Sorry.     I need to check on my notes.                            We can go
11   off the record.
12              (Recess taken.)
13   BY MR. BARNES:
14       Q      Miss Zhou, I am going to introduce Exhibit 2
15   again.    It's the case notes.                    If we look at Case Note
16   102, column C, it says, "Medrx in file."
17              What is "Medrx" referring to?
18       A      Medical report.
19       Q      Okay.     And is it your understanding -- do you
20   have any understanding as to whether this was received
21   from the final hospital that Mr. Antl received treatment
22   from or another one?
23       A      I don't recall.               I don't recall.
24       Q      Okay.     If we go -- let me ask this:                            After you
25   have a day off from work and you come back onto a case,

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 1   do you review the case notes from the time that you were
 2   out?
 3       A      Yes.    That is a typical process for me.
 4       Q      Okay.     Would that happen immediately, or, you
 5   know, is it -- handling multiple cases, it's when you get
 6   to it coming back?           How does that go?
 7              MS. LUETTO:           Objection.                Overbroad.     Vague.
 8   Incomplete hypothetical.                 You can respond.
 9              THE WITNESS:            I don't recall.                  It would be too
10   many variables.
11   BY MR. BARNES:
12       Q      Okay.     If we go down to Case Note 106 and we go
13   down here specifically in column D -- well, sorry.                                Let
14   me refer to column -- column C, "CM to SAJAN.
15   Translation request one page."
16              What does SAJAN stand for?
17       A      That was the name of the outside translation
18   company that we used at the time.                           That was their -- that
19   was one of the names that they went by.                              Excuse me.
20       Q      Does AGA employ its own translators, or no?
21              MS. LUETTO:           Objection.                Vague.     You can
22   respond.
23              THE WITNESS:            So Allianz does not employ people
24   solely for performing translation.                            At the time in 2014,
25   I do believe there were some people who were bilingual.

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 1   BY MR. BARNES:
 2       Q      Okay.     Not intentional.                      Just that was one of
 3   their skills.      Sure.
 4              If you see here, column D of Case Note 106, it
 5   says, "Assistance Urgent Request."                            Blank, yes.   Check
 6   mark, no.
 7              Is that your -- is it your understanding that
 8   this translation wasn't requested on an urgent basis?
 9              MS. LUETTO:           Objection.                Calls for speculation.
10   Vague.
11              THE WITNESS:            I see that he clicked "no" for
12   that email.
13   BY MR. BARNES:
14       Q      Okay.     If we go back up to -- sorry.                       One
15   second -- Case Note 85, "CM-BU requesting urgent update
16   on transport or med update."
17              Is there any reason why there would be an urgent
18   update here and not an urgent request following it?
19              MS. LUETTO:           Overbroad.                Vague.   Calls for
20   speculation.
21              THE WITNESS:            I don't have that information.
22   BY MR. BARNES:
23       Q      Is it your understanding that at the time the
24   medical report was received, Mr. Antl had reported this
25   claim two days previously?

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 1       A      Correct.       It had been -- from the time that the
 2   case was opened until now, it had been two days.
 3       Q      Okay.     And then if we go down to Case Note 110,
 4   you come in here the next day, December 10th at 10:14
 5   a.m.; is that correct?
 6       A      Yes.
 7       Q      Okay.     And your initial action here was
 8   informing the agent that you guys were reviewing the
 9   medical report before taking any further action; is that
10   correct?
11              MS. LUETTO:           Objection.                Vague.   Overbroad.
12   Misstates the document.                You can respond.
13              THE WITNESS:            So I don't know that it means that
14   we won't do anything else, but in regards to extending
15   the guarantee letter, we are waiting for that report to
16   be reviewed.
17   BY MR. BARNES:
18       Q      Okay.     That's fair.
19              Going back up, kind of back to my reference to
20   you reviewing the case notes when you come back into, you
21   know, work after a day off, if you look at Case Note 106,
22   you have an entry at 9:23 p.m. on December 12th -- or
23   December 9th -- sorry.               If we go to Case Note 107, you
24   have an entry -- not you.                  Sorry.           There's an entry in
25   the case notes, the next one, for 7:23 p.m. the following

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 1   day.
 2              Does work stop on a case after business hours?
 3              MS. LUETTO:           Overbroad.                Vague.     Calls for
 4   speculation.      Incomplete hypothetical.                          You can respond.
 5              THE WITNESS:            So, no, the associates in our
 6   department typically will continue -- we are 24 hours, so
 7   for our business, we don't have normal business hours.
 8   BY MR. BARNES:
 9       Q      Is it safe to say AGA has shift work, multiple
10   shifts, so that you have agents available working cases
11   continuously?
12       A      We are staffed 24 hours a day.
13       Q      Okay.     Yeah.         That's probably a better way of
14   putting it.
15              If we go down to Case Note 122, this was an
16   entry by you; correct?
17       A      Yes.    I put that note in, yes.
18       Q      Okay.     And in the middle of column D, it says --
19   sorry.    Is this an entry regarding the communication from
20   Mr. Antl?
21       A      Yes.    It looks like this is an email from him to
22   me, yes.
23       Q      Okay.     And in this email, it says, "In the
24   meanwhile, make sure you have sent to the Clinic des
25   Andes an authorization to proceed with the tests

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 1   and have gotten the release form as part of our process
 2   here.   I will continue being in contact with you and our
 3   agent to get this done."
 4              This was a communication that you sent to Mr.
 5   Antl; correct?
 6       A      Yes, that's right.
 7       Q      What was the need for the further analysis
 8   here?
 9              MS. LUETTO:           Objection.                Vague.
10              THE WITNESS:            Yes.         Could you clarify which
11   paragraph?
12   BY MR. BARNES:
13       Q      Yes.    So you are saying, "Once we have finished
14   the medical report."               What exactly was -- what exactly
15   needed to be evaluated or needed to be reviewed or needed
16   to be finished with respect to this medical report?
17       A      Yes.    So you -- as you pointed out previously,
18   the guarantee letter was sent for just those two days,
19   and so now that it's the 10th, he's indicated that an
20   updated guarantee letter is sent.                           And so in order to
21   know how much more is needed to make sure that we are
22   being accurate and making sure that he's getting good
23   care that he needs, we use that medical report.                           Our
24   medical team reviews that to see what his treatment plan
25   is and so a guarantee letter can be updated

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 1   appropriately.
 2         Q    Okay.     Do you know if the second guarantee
 3   coverage letter included any treatment?
 4              MS. LUETTO:           Objection.                Vague.
 5              THE WITNESS:            So the guarantee letter, if you
 6   want to pull that up again, it indicates that it's for
 7   whatever is medically necessary.                           So in our practice, we
 8   don't typically put a list of procedures that they can
 9   and can't have.       It usually has, like, a diagnosis, and
10   it indicates what's medically necessary up to that dollar
11   amount that's indicated on the form, but it doesn't
12   usually list all the procedures.
13   BY MR. BARNES:
14         Q    Okay.     I guess more my question is:                       If it is
15   determined that an insured needs medically necessary
16   treatment and treatment is, you know, covered, what
17   warrants a further evaluation of whether any, you know,
18   extension of a guarantee would be made?
19              MS. LUETTO:           Objection.                Vague.   Overbroad.
20   Incomplete hypothetical.
21              THE WITNESS:            Yeah.          I was going to say, could
22   you rephrase that question?
23   ///
24   BY MR. BARNES:
25         Q    Sure.     Mr. Antl here was given a guaranteed

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 1   coverage letter, both for transport to a hospital and for
 2   $2,500 for any treatment that was medically necessary.
 3              At that point in time, what would warrant a
 4   further review of what's necessary for that guaranteed
 5   coverage letter to be extended?
 6       A      So, typically, whatever would be included in the
 7   medical report:       so the treatment plan, how many more
 8   days are they anticipating that the treatment would
 9   extend.    Also, we want to make sure that the hospital
10   that he's in currently can continue treating him
11   appropriately.
12              And then also it makes sure that when we send
13   the guarantee letter, we are being accurate about the
14   amount that we are sending.                     So, like you mentioned, he
15   was at another hospital before this one.                             Are we going to
16   be needing to do any billing with them?                             So we are making
17   sure the guarantee letter is sent as accurately as we can
18   for the amount of days that is anticipated.
19       Q      In this type of situation -- in this situation,
20   was it -- was there an evaluation done for the hospital
21   that Mr. Antl ultimately arrived at that it would be
22   incapable of providing the treatment he needed?
23       A      I don't recall.               I am sorry.
24       Q      Before an approval of transportation to another
25   medical facility is made, is that treatment evaluated --

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 1   or is that treatment facility evaluated?
 2              MS. LUETTO:           Vague and ambiguous.                     Overbroad.
 3   Incomplete hypothetical.                 It may call for speculation.
 4   You can respond.
 5              THE WITNESS:            Typically, the medical team would
 6   do that.    It just depends on the variables.                              So like, for
 7   example, this one, the hospital had already picked out
 8   where he would be going.                 I really don't have that
 9   information.      Typically, our medical team would review
10   what's appropriate.
11   BY MR. BARNES:
12       Q      Does AGA maintain a list of providers throughout
13   the world?
14              MS. LUETTO:           Overbroad.                Vague.       You can
15   respond.
16              THE WITNESS:            And I apologize.                    I need you to
17   repeat that.      I didn't hear the beginning part of it.
18   BY MR. BARNES:
19       Q      Does AGA maintain a list of medical providers
20   throughout the world?
21       A      That is a vague question.                          We -- they do
22   have -- we do have -- they do have -- like, they do keep
23   documentation on hospitals' capabilities.                                Now, it
24   doesn't -- the world is a big place.                                I don't know that
25   it has every hospital listed, but hospitals that we have

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 1   interacted with a lot, I know that they do keep some
 2   documentation about that.
 3       Q      Do you know if that documentation includes
 4   contact numbers?
 5       A      I don't recall.
 6       Q      In any case that you have been involved in, has
 7   AGA ever approved transport to a medical facility that
 8   was incapable of providing necessary treatment?
 9              MS. LUETTO:           Calls for speculation.                 Overbroad.
10   Vague.
11              THE WITNESS:            I wouldn't be able to answer -- I
12   don't recall every case.                 I don't have that information.
13   BY MR. BARNES:
14       Q      Okay.     Was it disputed by December 10th that Mr.
15   Antl needed treatment for a heart attack?
16              MS. LUETTO:           Objection.                Overbroad.   Vague.
17   Compound.     You can respond.
18              THE WITNESS:            That would be out of my scope.                I
19   usually don't -- I usually go off whatever the medical
20   team has said.       I really don't -- it's really out of my
21   scope to comment on that.                  I really don't know.            I know
22   we put heart attack on the guarantee letter, but,
23   ultimately, it's up to our medical team to review those
24   reports and document what is going on.
25   BY MR. BARNES:

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 1   think that's a medical emergency?
 2              MS. LUETTO:           Calls for speculation.                  Incomplete
 3   hypothetical.
 4              THE WITNESS:            That would be very speculative.                   I
 5   have actually heard when women have heart attacks, they
 6   don't know they are having them because they have a high
 7   pain tolerance.
 8              So, yes, very speculative.                           I don't know what I
 9   would consider when I was having a heart attack and how I
10   would feel, so I can't answer that.
11   BY MR. BARNES:
12       Q      What would you consider a medical emergency?
13              MS. LUETTO:           Overbroad.                Vague.    Calls for
14   speculation.
15              THE WITNESS:            Medical emergency, if
16   you -- something that you are going to pass away if not
17   attended to immediately.
18   BY MR. BARNES:
19       Q      If we go down to 132, we are looking at
20   essentially the end of the day December 10th.                             At this
21   point, AGA had extended the GCL; correct?
22       A      Yes, that's right.
23       Q      Okay.     Do you know why it was only extended for
24   a period of two days there?
25       A      Yes.    Because in two days, we want to get

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 1   another medical report.
 2         Q    Okay.     I want to reintroduce Exhibit 1.
 3              If we go to the policy -- one second, please.
 4   If we go to page 22 of the PDF, 37 of the document, it
 5   says, "Paying or guaranteeing your hospital bill," under
 6   the section "Medical Assistance."                           And I will zoom in a
 7   little bit, try to make that a little easier.
 8              It says, "If you need to be admitted to a
 9   hospital as an inpatient for longer than 24 hours, we can
10   guarantee or advance payments up to the limit of your
11   emergency medical/dental coverage described in Section
12   2."
13              Is it your understanding that the policy permits
14   AGA to provide the maximum coverage at this point for Mr.
15   Antl?
16              MS. LUETTO:           Objection.                Vague.    You can
17   respond.
18              THE WITNESS:            Yes.         So we can do a guarantee
19   letter up to the limit on their policy.                             That's correct.
20   BY MR. BARNES:
21         Q    Okay.     And is it accurate to say that didn't
22   happen?
23              MS. LUETTO:           Overbroad.                Vague.    You can
24   respond.
25              THE WITNESS:            So I would have to look at the

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 1   notes again.      I don't believe that we sent a guarantee
 2   letter up to the limit on his policy.                               I don't
 3   believe -- I don't believe his bill was that high, but I
 4   would have to look at the notes again.
 5              MR. BARNES:           Okay.          I am going to introduce -- I
 6   believe we are on Exhibit 7, if I am counting correct.
 7              MS. LUETTO:           Correct.
 8              MR. BARNES:           And I will send this in the chat
 9   and I will give you Bates numbers as well.                               We are
10   ANTL_00034 to 35.
11              (Exhibit 7 marked for identification.)
12   BY MR. BARNES:
13       Q      Do you recognize this document, Miss Zhou?
14       A      This one specifically, no, I don't remember it.
15   I mean, it's a guarantee letter, but I don't remember
16   looking at it with the handwriting on it.
17       Q      This isn't your handwriting?
18       A      I don't recall.
19       Q      Okay.     I am going to go to the next page.
20              Does it appear to you that this was the prior
21   guarantee of coverage letter that was provided that has
22   now been marked up for a different situation?
23       A      Yes.    That's right.                  Updated, yes.
24       Q      And it says, "See next page," and, you know, I
25   am going to represent, I don't know if this was

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 1       Q      Okay.     Do you know who this communication was
 2   from?
 3       A      Only just from reading -- reading the note that
 4   it says Dr. Fuentes, but otherwise, no, I am not familiar
 5   with it.
 6       Q      Okay.     I am just going to go down a little bit
 7   more.
 8              We had right before Case Note 135 your Case Note
 9   134.    Would this be a change in shifts for the different
10   person being -- making the note?
11              MS. LUETTO:           Objection.                Vague.   If you know.
12              THE WITNESS:            Are you -- if you are asking me
13   what shift Teresa worked, I don't recall.
14   BY MR. BARNES:
15       Q      No, no.      I am just kind of asking, you know, we
16   have your entry here at 5:31 p.m., and then we have an
17   entry by Miss Faber at 7:56 p.m.                           I am just trying to see
18   if you were no longer on the clock at that point in time.
19       A      I don't recall, but it's very unlikely that I
20   was still there anymore.                 I usually worked a day shift.
21       Q      Okay.
22       A      My shift had probably ended by then, yes.
23       Q      Okay.     You also notice here that the email from
24   the doctor was directed to you.                         Is that just the case
25   that it's a general account that the communication is

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 1   made by, or do multiple people have access to it?
 2              MS. LUETTO:           Objection.                Vague and ambiguous.
 3              THE WITNESS:            I was going to say, can you scroll
 4   up?    I just want to verify.                   I am pretty sure I know
 5   where she emailed to.
 6              So Assistance Group, yes, that is a
 7   customer-facing email that associates in our department
 8   have access to, the Assistance Group email address.                             It
 9   is not my personal -- I am not the only one that has
10   access to it.
11   BY MR. BARNES:
12         Q    Okay.     At this point, we are approximately two
13   and a half hours post guarantee.                           Is that accurate to
14   say?
15         A    Yes, it is.
16         Q    Okay.     And we receive a note from the doctor
17   that says, "I hope you understand how serious is the
18   situation.     In case of emergency, I will call the
19   cardiologist for an emergency procedure."
20              If we go down to -- sorry.                           If we go up to the
21   prior sentence, "If the blood vessel that is not
22   completely open suffer a new lesion, he probably will
23   die, because we are talking of a lesion in the anterior
24   descendent artery in it proximal part."
25              Do you know if anyone had spoken to this doctor

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 1   at the medical treatment facility before this?
 2              MS. LUETTO:           That calls for speculation.
 3              THE WITNESS:            I don't recall.
 4   BY MR. BARNES:
 5       Q      Okay.     Had you talked to this doctor?
 6       A      Did I speak to the doctor?                           No.
 7       Q      Okay.     If we go down to Case Note 139, the
 8   column D indicates "TMO" -- sorry.                            Who does TMO refer to
 9   here?
10       A      Treating medical officer.
11       Q      Okay.     "TMO sent email last evening stating
12   patient requires this and has risk of death if not done.
13   They are holding off until they hear from insurance."
14              At this point in time, we have had another day
15   pass from the communication from the doctor; correct?
16       A      It was the next day, yes.
17       Q      And this was after the doctor said that Mr. Antl
18   might die if this isn't done immediately; correct?
19       A      He did state that.                   He also stated that if it
20   was an emergency, I believe -- if you scroll up, I
21   believe he said if it was -- if he was in a bad
22   situation, if in case of emergency, I will call for the
23   procedure, but, yes, the previous paragraph I do believe
24   he said -- he did say what you stated.
25       Q      My question here:                 After a day -- after a day

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 1   past approval of the guarantee letter, after a day
 2   passed, the communication from the medical staff
 3   indicating the urgency of this situation, where is the
 4   response that says proceed immediately -- or sorry.                             Let
 5   me rephrase.
 6              Why isn't the response "proceed immediately; do
 7   whatever we have to do to get this going forward"?
 8              MS. LUETTO:           Objection.                Vague.   Calls for
 9   speculation.      Overbroad.             You can respond.
10              THE WITNESS:            Right.           Since I wasn't there, I
11   wouldn't be able to comment on how people did or didn't
12   respond.    When I left my shift, I had sent that guarantee
13   letter to our agent, and I had no reason to believe that
14   the agent wasn't -- hadn't already provided that to the
15   hospital.     So I wouldn't be able to speculate on what
16   happened after I left or --
17   BY MR. BARNES:
18       Q      Okay.     We can go to Case Note 140.                       Excuse me.
19   This is Myra Kovacs.             Do you know who Miss Kovacs is?
20       A      Yes, I do.
21       Q      And who is Miss Kovacs?
22       A      She was a Assistance Coordinator I.
23       Q      Okay.     Not medical staff; correct?
24       A      Correct.       She was not a medical personnel,
25   correct.

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 1   describe an affiliate or communication with an affiliate
 2   or other office maybe?
 3       A      Typically, MAUSA would be used to refer to our
 4   department.
 5       Q      Okay.     With respect to this entry, Case Note
 6   140, it says, "Concern regards sub treatment."
 7              Is this referring to the treatment Mr. Antl was
 8   needing?
 9              MS. LUETTO:           Objection.                Vague.   Calls for
10   speculation.      You can respond.
11              THE WITNESS:            Right.           I mean, it would be
12   speculative, but along the lines of the case notes, I
13   would assume that she is referring to that recent email
14   from the doctor, but it would be an assumption.
15   BY MR. BARNES:
16       Q      Okay.     Could it be referring to the cell before
17   from Case Note 139?            I am assuming that says, "Advised
18   that I read last notes and concerned that cardiac cath
19   not done -- TMO sent email last evening stating patient
20   requires this and has risk of death if not done.                            They
21   are holding off until hear from insurance."
22       A      Yes.    I believe those case notes go together.
23   So they were having a conversation with each other and
24   then they each documented the conversation.
25       Q      Okay.     If we go to Case Note 138, you see here,

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 1   "RN reviewed med report in Case Note 135.                           SGRN."   Do you
 2   know what that refers to?
 3       A      Yes.    Susan Gabriel, Registered Nurse.
 4       Q      Okay.     That makes sense.                      And she is reviewing
 5   this communication from the doctor regarding Mr. Antl; is
 6   that correct?
 7       A      Yes, it is.
 8       Q      After this, I guess, my question is:                         You have
 9   both Susan Gabriel and Miss Linda Bergeron reviewing --
10   or sorry -- you have both Miss Gabriel and Miss Linda
11   Bergeron reviewing these notes at this point in time.
12   What is -- I mean, what is the purpose of the review?
13       A      So my assumption would be from my experience of
14   working here so they could come up with a plan to move
15   forward.    So, like, Myra put in her note, "CM advised
16   will move forward and verify with agent."                           So the
17   conversation -- so the medical staff would be updating
18   what they reviewed, and then they would be coming up with
19   a plan to move forward.
20       Q      After this is reviewed -- you have this email
21   from the medical staff directly from the treating doctor
22   at the medical treating facility.                           Why would AGA not
23   email the guaranteed coverage letter just back to that
24   email account?
25              MS. LUETTO:           Can I have that question back

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 1   again?
 2   BY MR. BARNES:
 3       Q      Yeah.     You were directly communicating with the
 4   doctor and you had their email address.
 5              My question is:               Why didn't AGA just send the
 6   guaranteed coverage letter to this email account?
 7              MS. LUETTO:           Calls for speculation.             Vague.   You
 8   can respond.
 9              THE WITNESS:            So the guarantee letter as you
10   have pulled up and shown is actually not written to the
11   treating doctor.        So the guarantee letter, if you look on
12   there, it's written as an agreement between ourselves and
13   our agent, and then the agent places it with the
14   hospital, and who the agent places it with at the
15   hospital, that contact, I don't have that information in
16   front of me.
17              So we don't typically send a guarantee letter to
18   the doctor, and in this case it wouldn't be appropriate
19   because that guarantee letter was intended as an
20   agreement between us and the agent.
21   BY MR. BARNES:
22       Q      Is there any reason why AGA wouldn't email both
23   the agent and the hospital at the same time in saying
24   this coverage is approved, it's guaranteed, please
25   proceed?

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 1       A      Yes, because our --
 2              MS. LUETTO:           Go ahead.
 3              THE WITNESS:            Yes.         Our contact was the
 4   hospital.     So the agent was responsible in this case for
 5   the relationship -- the billing relationship between us
 6   and the hospital.
 7   BY MR. BARNES:
 8       Q      If the agent is responsible for the payment, why
 9   isn't the agent included in the conversation between the
10   hospital and AGA?
11              MS. LUETTO:           Calls for speculation.                 Vague.
12              THE WITNESS:            I don't have the information as to
13   why the doctor sent that to us instead of the agent.                             I
14   don't have that information.
15   BY MR. BARNES:
16       Q      Do you know if the agent was communicating
17   directly with the hospital?
18              MS. LUETTO:           Overbroad.                Vague.   Calls for
19   speculation.      You can respond.
20              THE WITNESS:            Because the transportation took
21   place as we guaranteed and then I do believe they placed
22   the first guarantee letter.                     I don't have any reason to
23   believe that they weren't in communication with them, but
24   I don't have that information as to the agent's
25   conversation with outside parties.

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 1   the placement of the guarantee?
 2              MS. LUETTO:           Calls for speculation.                   Vague.    You
 3   can respond.
 4              THE WITNESS:            No, I don't.
 5   BY MR. BARNES:
 6       Q      Did you review these case notes with respect to
 7   the communications for the placement of this guaranteed
 8   coverage letter with the agent?
 9       A      Yes.    I did review these notes, yes.
10       Q      Okay.     And were there a few back and forths
11   regarding whether or not it got accomplished?
12       A      Yes.    Yes, there was.
13       Q      And do you know what happened and why that
14   resulted?
15              MS. LUETTO:           I am sorry.                You trailed off on
16   that last -- the end of that question.                              Would you mind
17   repeating it or having the reporter read it back?
18   BY MR. BARNES:
19       Q      Yeah.     Do you know why this happened?
20              MS. LUETTO:           Vague and ambiguous.                   Asked and
21   answered.     Calls for speculation.                        You can respond.
22              THE WITNESS:            No, I don't.                 I didn't have any
23   reason when I left my shift to have any doubt that they
24   got my guarantee letter, and then as you probably saw, I
25   also -- I didn't send a copy of the guarantee letter to

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 1   Mr. Antl, but I did send him an email and also let him
 2   know that I had send it.
 3              So I had been successful in the past.                    I had no
 4   reason to believe neither one of them had received my
 5   correspondence.
 6   BY MR. BARNES:
 7       Q      We are on cell -- Case Note 141, Miss Kovacs.
 8   In column D, it says, "We wanted to make sure the
 9   hospital did receive the guarantee of coverage regarding
10   our patient, Mr. Boris Antl, as we have been informed
11   that he is going to need a procedure done right away, and
12   we do not want this to be held."
13              This is an email from Miss Kovacs to the agent;
14   is that correct?
15       A      Yes, it is.
16       Q      Okay.     And then the next case note, you have an
17   email from the agent to Miss Kovacs; correct?
18       A      Technically, it was to the assistance group,
19   but, yes, I think they were trying to get their message
20   back to her, yes.
21       Q      And then we have another email from Miss Kovacs
22   to the agent; correct?
23       A      Yes, that's right.
24       Q      Okay.     And then following that entry, we have
25   another email from you to the agent; is that correct?

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                                   Valerie Zhou
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 1       Q      Okay.     Case Note 148, Miss Kovacs, "Hospital
 2   billing rep advised still have not received the GTE for
 3   sub."
 4              Do you know what she's referring to with GTE
 5   here?
 6       A      I am assuming guarantee letter.                          I don't know if
 7   it's a typo or an abbreviation I am not familiar with.
 8   So, no, I am not sure exactly what that means.
 9       Q      Okay.     Next email, next entry, email from you, I
10   believe, to the agent indicating that the hospital is not
11   working directly with you; correct?
12       A      Correct.
13       Q      Okay.     Had there been any prior conversations,
14   if you recall, with the agent about the hospital not
15   working directly with you?
16       A      I don't recall if there was a direct
17   conversation, but this is not the first time we have
18   worked with this agent, and when a guarantee letter is
19   sent from us to the agent, they become our representative
20   for the billing.        So that -- that is -- I don't want to
21   say assumed, but that's part of the relationship, so
22   that's why I am not sure why they asked that, and it's
23   not usually needed to be clarified.
24       Q      So would it be safe to say it's typical
25   operating procedure that AGA isn't making a payment

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                                   Valerie Zhou
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 1   directly?
 2              MS. LUETTO:           Objection.                Vague.
 3              THE WITNESS:            When an agent is involved.
 4   BY MR. BARNES:
 5       Q      Do you know if this is part of the relationship
 6   that's established between AGA and its agent that that is
 7   known from the beginning?
 8              MS. LUETTO:           Overbroad.                Vague.   Incomplete
 9   hypothetical.      You can respond.
10              THE WITNESS:            I guess I don't have that in
11   writing, but that is a typical protocol with our agents.
12   BY MR. BARNES:
13       Q      Okay.     And if we go down to Case Note 150, now
14   we have confirmation that the CGL -- or sorry -- the GOP,
15   which I am assuming is guarantee of payment, was received
16   by the hospital; is that correct?
17       A      Yes, that's correct.
18       Q      Okay.     If we go on the time stamps in Case Note
19   150, we have 10:48 a.m. on 12-11-2014, and then if we go
20   back to -- I believe it was Miss Kovacs' email, we are
21   about an hour, hour and a half between these email
22   exchanges for the guarantee letter to be submitted to the
23   hospital.     Is that accurate?
24       A      Yes.
25              MS. LUETTO:           Misstates the documents.

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                                             8-18-23 V.ZHOU   ANTL_00037
                                   Valerie Zhou
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 1   employee or attorney or counsel of any of the parties,
 2   nor am I a relative or employee of such attorney or
 3   counsel, nor am I financially interested in the outcome
 4   of this action.
 5              IN WITNESS WHEREOF, I have subscribed my name
 6   this 5th day of September, 2023.
 7

 8                      ______________________________________
                          MONICA SCHOONOVER, CSR No. 10220
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                   EXHIBIT B
                                  Maryann Fraser
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 1                  UNITED STATES DISTRICT COURT
 2                  EASTERN DISTRICT OF CALIFORNIA
 3

 4   BORIS ANTL, an individual;   )
                                  )
 5             Plaintiff,         )
                                  )
 6   v.                           )                            Case No.
                                  )                            2:22-cv-00504-KJM-AC
 7                                )
     AGA SERVICE COMPANY, a       )
 8   Virginia Corporation;        )
     JEFFERSON INSURANCE COMPANY, )
 9   a Virginia Corporation, and )
     DOES 1-10, inclusive,        )
10                                )
               Defendants.        )
11   _____________________________)
12

13

14               VIDEOTAPED DEPOSITION VIA ZOOM OF
15            AGA SERVICE COMPANY'S 30(b)(6) WITNESS
16                               MARYANN FRASER
17                     Thursday, August 24, 2023
18

19

20

21

22

23

24   Reported by:       Monica Schoonover
                        CSR No. 10220
25   Job No.:           7534

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                                  Maryann Fraser
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 1                  UNITED STATES DISTRICT COURT
 2                  EASTERN DISTRICT OF CALIFORNIA
 3

 4   BORIS ANTL, an individual;   )
                                  )
 5             Plaintiff,         )
                                  )
 6   v.                           )                            Case No.
                                  )                            2:22-cv-00504-KJM-AC
 7                                )
     AGA SERVICE COMPANY, a       )
 8   Virginia Corporation;        )
     JEFFERSON INSURANCE COMPANY, )
 9   a Virginia Corporation, and )
     DOES 1-10, inclusive,        )
10                                )
               Defendants.        )
11   _____________________________)
12

13

14

15
           VIDEOTAPED REMOTE DEPOSITION OF MARYANN FRASER,
16         taken on behalf of the Plaintiff, beginning at
           7:56 a.m. and ending at 1:07 p.m., on Thursday,
17         August 24, 2023, via Zoom videoconference
           before Monica Schoonover, Certified Shorthand
18         Reporter No. 10220.
19

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                                  Maryann Fraser
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 1                           INDEX OF EXHIBITS
 2   EXHIBIT:                                                           MARKED
 3   Exhibit 1            Plaintiff Boris Antls                                 11
                          Rule 30(b)(6) Notice of
 4                        Deposition of Defendant
                          AGA Service Company
 5
     Exhibit 2            Allianz Letter of                                     31
 6                        Confirmation and Certificate
                          of Insurance
 7
     Exhibit 3            Case Notes                                            66
 8
     Exhibit 4            Superior Medical Case                                 73
 9                        Management Quick Reference
                          Guide, Bates ANTL_00428
10                        to ANTL_00434
11   Exhibit 5            Guarantee of Coverage Letter                     103
                          Bates ANTL_000700
12
     Exhibit 6            Guarantee of Coverage Letter                     104
13                        Bates ANTL_000698
14   Exhibit 7            Guarantee of Coverage Letter                     142
                          Bates ANTL_00034 to ANTL_00035
15
     Exhibit 8            Assitance, Reference Documents                   143
16                        Bates ANTL_00442 to ANTL_00492
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 1               THE WITNESS:             Yes, I am.
 2   BY MR. BARNES:
 3       Q       Okay.     What was the purpose just in a
 4   general sense of the emergency medical treatment
 5   aspect of the policy?
 6               MS. LUETTO:            Calls for speculation.
 7   Overbroad.      Vague.         Beyond the scope of this
 8   witness's designation.                  You can respond.
 9               THE WITNESS:             Okay.           Can you ask the
10   question again?         I am not sure what you are asking
11   specifically.
12   BY MR. BARNES:
13       Q       Yeah.     Just, generally, what was the
14   purpose of the emergency medical treatment part of
15   the policy?
16               MS. LUETTO:            Same objections.
17               THE WITNESS:             It's to help customers when
18   they travel outside of their state.
19   BY MR. BARNES:
20       Q       And when you say "help," are you referring
21   to receiving medical treatment?
22               MS. LUETTO:            Vague.            Overbroad.
23               THE WITNESS:             In assistance, we would help
24   with many things, so it all depends upon what the
25   request was.

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                                  Maryann Fraser
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 1       A       Yes.
 2       Q       And for emergency medical and/or dental
 3   care on page 34 of the document or of the --
 4   sorry -- the policy, 21 of the PDF, it says,
 5   "Medical and dental services, supplies, and charges
 6   that are for a health emergency."
 7               In your understanding of the policy, is
 8   there any other definition or limitations on what
 9   constitutes an emergency -- what constitutes
10   emergency medical and/or dental care?
11               MS. LUETTO:            Overbroad.                 Vague.   Compound.
12   You can respond.
13               THE WITNESS:             The policy is set for
14   coverage for any unforeseen medical care or
15   diagnosis.
16   BY MR. BARNES:
17       Q       Okay.     How would you define a health
18   emergency?
19               MS. LUETTO:            Objection.                 Vague.
20               THE WITNESS:             I am trying to understand
21   what you are asking.
22   BY MR. BARNES:
23       Q       So the definition says emergency medical --
24   the definition -- or the word being defined is
25   "emergency medical and/or dental care."                                Within that

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 1   definition, it also uses the word "emergency"
 2   itself.     I am trying to understand exactly what is
 3   meant by the word "emergency" here.
 4       A       An emergency is a -- we would consider
 5   something that is not a preplanned event.
 6       Q       Would it be accurate to say it's something
 7   that should be addressed immediately?
 8               MS. LUETTO:            Overbroad.                 Calls for
 9   speculation.
10               THE WITNESS:             An emergency is
11   something -- it all depends upon the situation;
12   right?    An emergency is something that is
13   unforeseen.
14   BY MR. BARNES:
15       Q       I think I would kind of like to explore
16   this a little more.              It's unforeseen.                  I think
17   unforeseen doesn't necessarily mean it has to be
18   addressed immediately though.
19               In saying it's something that's unforeseen,
20   what do you mean by that in applying the policy?
21       A       So on page 34, an elective cosmetic surgery
22   is something that's preplanned.                             An emergency is
23   something that you don't expect happening.
24       Q       Okay.     Is an emergency something that
25   requires being addressed?

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 1               MS. LUETTO:            Overbroad.                 Vague.   Calls for
 2   speculation.
 3               THE WITNESS:             An emergency is something
 4   that should be treated, yes.
 5   BY MR. BARNES:
 6       Q       Is there an urgency in an emergency
 7   situation?
 8               MS. LUETTO:            Same objections.
 9               THE WITNESS:             It's all about the timing.
10   BY MR. BARNES:
11       Q       Could you give me any examples of a medical
12   emergency that wouldn't have to be addressed
13   immediately?
14               MS. LUETTO:            Calls for speculation.
15   Overbroad.      Vague.         You can respond.
16               THE WITNESS:             I am trying to understand
17   what you are asking.
18   BY MR. BARNES:
19       Q       I am just trying to see if you could give
20   me any examples of emergency situations that
21   wouldn't be addressed as quickly as possible.
22               MS. LUETTO:            Calls for speculation.                 Vague
23   and ambiguous.
24               I am sorry.            Go ahead, MaryAnn.
25               THE WITNESS:             Okay.           So an emergency --

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 1   let's say, just an example to be vague, somebody is
 2   in a car accident and that's an emergency.                              It's up
 3   to the paramedics to get them to the hospital so
 4   they can be treated.               It's still an emergency, but
 5   it's for -- it's for those people on ground to the
 6   paramedics to treat that initial care to get them
 7   better.
 8   BY MR. BARNES:
 9         Q     In -- have you ever received calls for
10   emergency medical treatment that involved car
11   accidents?
12         A     Yes.
13         Q     Okay.     Would a situation that had a high
14   possibility of death or serious injury be considered
15   an emergency?
16               MS. LUETTO:            Overbroad.                 Vague.   You can
17   respond.
18               THE WITNESS:             Yes.
19   BY MR. BARNES:
20         Q     Would a heart attack be considered an
21   emergency?
22               MS. LUETTO:            Overbroad.                 Vague.   Calls for
23   speculation.
24               THE WITNESS:             Yes.
25   ///

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 1   BY MR. BARNES:
 2       Q       Okay.     Would it be accurate to say here
 3   that emergency is intended in its normally
 4   understood sense?
 5               MS. LUETTO:            Vague.            Compound.
 6               THE WITNESS:             What do you mean by "its
 7   understood sense"?
 8   BY MR. BARNES:
 9       Q       In a general definition that you would find
10   in a dictionary?
11       A       Yes.
12       Q       Okay.     If we go back up to page 17 of the
13   PDF, 27 of the document, it says -- sorry.                           I am
14   finding my place here.                  It says, "You have to pay
15   for emergency medical and/or dental care for one of
16   the following covered reasons:                            you have a sudden,
17   unexpected illness or injury during your trip that's
18   either life threatening or could cause serious and
19   irreparable harm if it isn't treated; you have an
20   injury or infection, a lost filling or a broken
21   tooth during your trip that requires immediate
22   treatment by a dentist."
23               We also have this definition of covered
24   reasons, and we go down and it says the specific
25   or -- "The specific situations or events that are

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 1               THE WITNESS:             I am sorry, Mr. Barnes.                 I
 2   don't know.       You are asking me if this policy
 3   provides coverage before it happened?                              I don't
 4   understand what you are asking.
 5   BY MR. BARNES:
 6       Q       My question is more, if a request for
 7   assistance is made and treatment is intended but not
 8   yet happened because, you know, payment has not been
 9   made or guaranteed, would this policy still apply to
10   provide coverage if under one of the covered
11   reasons?
12               MS. LUETTO:            Oh, wow.               Vague and ambiguous.
13   Overbroad.      Compound.            Calls for speculation.
14   Beyond the scope of this witness's designation.
15               You can respond if you can.
16               THE WITNESS:             I am trying to understand
17   your question.
18   BY MR. BARNES:
19       Q       Yeah, sure.            No problem.
20               This policy isn't only for reimbursement of
21   payments; is that accurate?
22               MS. LUETTO:            Vague and ambiguous.
23   Overbroad.
24               THE WITNESS:             The policy -- the policy is
25   set up where when the claim is processed that it

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 1   would pay the policyholder.
 2   BY MR. BARNES:
 3       Q       Okay.     If a policyholder hadn't incurred a
 4   charge yet, could they still request a guarantee of
 5   coverage?
 6               MS. LUETTO:            Objection.                 Vague.   Overbroad.
 7               THE WITNESS:             A guarantee of coverage is
 8   something that we do in the assistance department to
 9   help the customer when they are traveling.                              It's
10   part of the benefit that we supply here in
11   Allianz.
12   BY MR. BARNES:
13       Q       And why would a guarantee of coverage be
14   made?
15       A       Well, when a customer is traveling and they
16   have a medical emergency, some customers do not have
17   thousands of dollars to provide to the hospital up
18   front.
19       Q       And in that instance, AGA would guarantee
20   that payment so that the customer could receive
21   treatment; is that correct?
22               MS. LUETTO:            Overbroad.
23               THE WITNESS:             Hospitals will -- many
24   hospitals outside the U.S. will treat the customer
25   whether they have the payment or not.                              We help them

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 1   BY MR. BARNES:
 2       Q       AGA has agents available 24 hours a day to
 3   provide assistance; is that correct?
 4       A       Correct.
 5       Q       Okay.     And is that in any way affected by
 6   working hours?
 7               MS. LUETTO:            Vague.
 8               THE WITNESS:             What do you mean "affected
 9   by"?
10   BY MR. BARNES:
11       Q       Are agents involved -- sorry.                           Let me
12   rephrase.
13               In providing assistance 24 hours a day, do
14   agents change off on shift changes?
15               MS. LUETTO:            Objection.                 Vague.
16               THE WITNESS:             I am not sure what you are
17   asking.     Would we activate a different agent because
18   of the time change?
19   BY MR. BARNES:
20       Q       Yeah.     So if an agent worked from 9:00 to
21   5:00 and they received a claim for assistance at
22   noon and then some follow-up had to happen at 7:00
23   p.m., what would happen in that situation?
24               MS. LUETTO:            Overbroad.                 Vague.   Compound.
25               THE WITNESS:             Are you asking -- are you

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 1   the second shift?
 2       A       Well, we would speak verbally.                             We could
 3   communicate correspondingly.
 4       Q       I guess my question more, and I think you
 5   answered it, is just it's not necessarily limited to
 6   the case summary; is that correct?
 7               MS. LUETTO:            Objection.                 Vague.
 8               THE WITNESS:             Correct.
 9   BY MR. BARNES:
10       Q       Thank you.
11               Is there a way to indicate any urgency in
12   the case summary?
13               MS. LUETTO:            Objection.                 Vague and
14   ambiguous.      Overbroad.              Incomplete hypothetical.
15               THE WITNESS:             Are you asking -- I am not
16   sure what you are asking.
17   BY MR. BARNES:
18       Q       If a case needs some immediate attention,
19   how would that be documented or how would that be --
20   sorry.    Not documented.                 Let me strike that.
21               How would that be communicated to the
22   person coming on the next shift?
23               MS. LUETTO:            Incomplete hypothetical.
24   Vague.    Overbroad.
25               THE WITNESS:             We would let the associate

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 1   know what had been done on that case and the next
 2   steps needed to have it move forward.
 3   BY MR. BARNES:
 4         Q     Are there any specific designations -- you
 5   know that "important" aspect of an email that we
 6   get?      We get a little red exclamation point in some
 7   systems.     Are you familiar with that?
 8         A     Are you asking me if I would send an email
 9   with an exclamation?
10         Q     No.    I am familiar -- I am asking if you
11   are familiar with indicating different importance in
12   emails that you can receive.                         Outlook, as one
13   aspect, uses a red exclamation point for high
14   priority emails.          Are you familiar with that?
15         A     Sending a high priority email, yes.
16         Q     Okay.     Kind of in a similar sense, does AGA
17   have any method within their case summary of
18   indicating whether something is a high priority or
19   not?
20               MS. LUETTO:            Overbroad.                 Vague.   Incomplete
21   hypothetical.
22               THE WITNESS:             That's hard for me to answer,
23   Mr. Barnes, because it's a very broad question
24   because every case that we look at is a priority to
25   us.

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 1   BY MR. BARNES:
 2       Q       Okay.     That's fair.
 3               All right.           One second.
 4       A       You're okay.
 5       Q       Why don't we go into the case notes?                         I am
 6   going to introduce Exhibit 3.                             Let me share this in
 7   the chat first.
 8               (Exhibit 3 marked for identification.)
 9               MR. BARNES:            That is not what we want.
10   Sorry.    One second.
11               MS. LUETTO:            You showed us your emails.
12               MR. BARNES:            I am not trying to do that.
13   Not at all.
14               There we go.             I think that's the one I
15   want.
16               MS. LUETTO:            That's it.
17   BY MR. BARNES:
18       Q       Miss Fraser, are you familiar with this
19   document?
20       A       Yes.
21       Q       Okay.     Have you reviewed this document?
22       A       With counsel, yes.
23       Q       How -- have you reviewed every entry in
24   this document?
25       A       Specifically, is there a specific entry you

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 1   are asking?
 2       Q       I am just trying to understand if, you
 3   know, you read through every last thing that
 4   happened in this case.
 5               MS. LUETTO:            Overbroad.                 Vague.
 6               THE WITNESS:             I did review the case, yes.
 7   BY MR. BARNES:
 8       Q       Okay.     We are going to go through the
 9   cells, so if you don't remember something or, you
10   know, anything like that, it's not a problem.                               I
11   just kind of wanted to get your initial
12   understanding.
13               It's correct that Mr. Antl made the first
14   request for emergency medical assistance at about
15   3:00 p.m. on December 12th; is that correct?
16               MS. LUETTO:            Objection.                 Vague and
17   ambiguous.      Misstates the document.                            Misstates the
18   evidence.
19               THE WITNESS:             So from the case note, it is
20   stating that either the patient or the ambulance
21   representative reached out to Allianz.
22   BY MR. BARNES:
23       Q       Good point.            It might not have been Mr.
24   Antl.
25               My question is:                 Would AGA have recorded

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 1   the telephone number from which they received that
 2   phone call?
 3               MS. LUETTO:            Objection.                 Vague.
 4               THE WITNESS:             So if I can recall correctly,
 5   when the call came in, it doesn't record the phone
 6   number on our phone.
 7   BY MR. BARNES:
 8       Q       Do you know if AGA had caller ID?
 9       A       I could only guess in 2014.                            I don't
10   remember.
11       Q       Okay.
12       A       Yeah.
13       Q       Under Case Note 3, this is documenting an
14   email that AGA had sent to Mr. Antl in response to
15   the call; is that correct?
16       A       I am sorry.            Can you repeat the question?
17       Q       Case Note 3, does that refer to an email
18   that AGA sent to Mr. Antl in response to the call
19   they received?
20       A       That is correct.                  We were reaching out to
21   Mr. Antl.
22       Q       Okay.     And if you go down to Case Note 5,
23   section B says "OUTCL."                   Do you know what that's
24   referring to?
25       A       That means that we made an outbound call.

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 1   BY MR. BARNES:
 2       Q       If we look at Case Note 8 at C, it says,
 3   "AC dialed with Maggie on the line.                                Clinica Los
 4   Andes de Puerto Montt at all the numbers below
 5   several times.        No one is picking up, but it rings
 6   as normal."
 7               Does that change your prior response?
 8       A       No.
 9       Q       Isn't it correct that no one at AGA had
10   spoke with anyone at Clinica Los Andes de Puerto
11   Montt?
12       A       In that note, it appears they didn't.
13       Q       So Clinica Los Andes de Puerto Montt
14   wouldn't have been able to call back AGA if Mr. Antl
15   arrived; correct?
16               MS. LUETTO:            Objection.                 Argumentative.
17   Overbroad.      Vague.
18               THE WITNESS:             It's a possibility, but they
19   could also have caller ID.
20   BY MR. BARNES:
21       Q       The next contact in Mr. Antl's case
22   actually came from the doctor treating him.                                Do you
23   see that in Case Note 11?
24       A       I do.
25       Q       Okay.     And at that point, AGA was informed

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 1   that Mr. Antl had a heart attack; is that correct?
 2       A       Yes.
 3       Q       They were also informed that the present
 4   location he was at could not treat him.                              Is that
 5   your understanding as well?
 6               MS. LUETTO:            Objection.                 The document
 7   speaks for itself.             Calls for speculation.
 8               You can respond.
 9               THE WITNESS:             It says right there, "They
10   are unable to treat him and have no more beds."
11   BY MR. BARNES:
12       Q       Okay.     And this was at 12:33 a.m. in the
13   morning; correct?
14       A       Approximately, yes.
15       Q       Okay.     That's fair given that the case
16   notes might not be contemporaneous because they were
17   recorded.
18               If we go down to -- sorry.
19               If we go down to Case Note 17, you have an
20   entry at 8:39 a.m. the next day -- sorry -- 8:39
21   a.m. that day since we were past midnight December
22   8th; is that correct?
23       A       Yes.
24       Q       And it says, "We need to know hospital that
25   patient is currently at.                    Then facility review for

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 1               MS. LUETTO:            Overbroad.                 Vague and
 2   ambiguous.      Calls for speculation.
 3               THE WITNESS:             When the nurse took the call
 4   and she had the conversation with the ICU nurse,
 5   that was the information that she was provided.
 6   BY MR. BARNES:
 7       Q       Okay.     It wasn't until about 12:26 p.m.
 8   Chile time that AGA was able to contact the hospital
 9   Mr. Antl needed to be transferred to; is that
10   correct?
11               MS. LUETTO:            Objection.                 Vague and
12   ambiguous.      The document speaks for itself.
13               THE WITNESS:             Can you ask me that question
14   again, Mr. Barnes?
15   BY MR. BARNES:
16       Q       Yeah.     If this case note was recorded
17   around the same time as it indicates, AGA had not
18   been able to contact the receiving hospital until
19   about 12:30 p.m. Chile time; is that correct?
20       A       So that looks like we spoke to the -- let's
21   see.    That's the sending hospital.                               That's the
22   original hospital that Mr. Antl was at.
23       Q       Okay.     So if we go to 23, is this the
24   contact for the receiving hospital?
25               MS. LUETTO:            Objection.                 Vague and

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 1   ambiguous.      The document speaks for itself.
 2               THE WITNESS:             It appears that was the
 3   receiving hospital.
 4   BY MR. BARNES:
 5       Q       Okay.     And that note indicates that AGA was
 6   informed that the receiving hospital would need a
 7   letter of guarantee before Mr. Antl was admitted?
 8               MS. LUETTO:            Same objections.
 9               THE WITNESS:             It's stating that they need
10   the letter of guarantee and they are able to receive
11   the patient and she doesn't know the quote for that
12   kind of admission.             So they are -- they are looking
13   to find out what the patient's benefits are.
14   BY MR. BARNES:
15       Q       Okay.     It indicates the billing department
16   was closed that day; right?
17               MS. LUETTO:            Same objections.
18               THE WITNESS:             That's what it appears on the
19   note, yes.
20   BY MR. BARNES:
21       Q       Do you know what Case Note 24 is referring
22   to, "AAMED sent to PT with TMO's email address"?
23       A       So it looks like our AAMED's were sent to
24   the patient with the doctor's email address.
25       Q       Is that referring to Case Note 25 or

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 1   medical@mok.cl?
 2       A       It appears to be, yes.
 3       Q       Okay.     We have a difference in time entries
 4   from 33 which is 12:33 p.m. to 21 which was 9:21
 5   p.m.; is that correct?
 6       A       That's what it has, yes.
 7       Q       Okay.     In between these two entries, it
 8   appears that AGA had spoken to the treating medical
 9   officer for Mr. Antl at the first hospital.                                  Is that
10   what you see in Case Note 22?
11       A       Uh-huh.
12       Q       Okay.
13               MS. LUETTO:            Is that a "yes"?
14   BY MR. BARNES:
15       Q       And the notes record, "Patient needs to be
16   transported ASAP maybe today."                            Do you see that?
17       A       I see that.
18       Q       Okay.     And if we go down to Case Note 30,
19   it appears we have another recording of a discussion
20   between the case manager and the treating medical
21   officer informing AGA that the second hospital can
22   receive Mr. Antl.           Is that what you see?
23               MS. LUETTO:            I am sorry.                     Wait, wait,
24   MaryAnn.     Can I have that question read back,
25   please?

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 1       A       Yes.     They have confirmed receipt of our
 2   email.
 3       Q       Okay.
 4       A       And our request.
 5       Q       And they create a new case for themselves
 6   internally.       Is that the 299605?
 7               MS. LUETTO:            Misstates the document.
 8               THE WITNESS:             Yes.          They created their own
 9   case number for their tracking purposes.
10   BY MR. BARNES:
11       Q       Okay.     If we go down to Case Note 43, this
12   is December 8th at 1:13 p.m.                         AGA receives an email
13   from the agent.         It says, "The patient needs a
14   medical procedure within the next two hours.                        Please
15   let us know as soon as possible if we can arrange
16   the ambulance."
17               And at that same point in time, AGA is also
18   informed of the cost of the ambulance and the
19   admission for the new hospital; is that correct?
20       A       Yes.
21               MS. LUETTO:            I would object as vague.
22   BY MR. BARNES:
23       Q       Do you recall the case notes before from a
24   doctor indicating that the transport needed to be
25   done as soon as possible?

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 1               MS. LUETTO:            Objection.                 Misstates
 2   testimony.      Calls for speculation.
 3   BY MR. BARNES:
 4       Q       If we go to Case Note 32, there's an email
 5   from a case manager to the AGA nurse; is that
 6   correct?
 7       A       Yes.     That's an email, uh-huh.
 8       Q       And the case manager is informing the nurse
 9   that the doctor they spoke to indicated that Mr.
10   Antl needed to be transported -- sorry -- needed to
11   be transferred as soon as possible; is that
12   correct?
13       A       That's what's stated.
14               MS. LUETTO:            The document speaks for
15   itself.
16   BY MR. BARNES:
17       Q       Okay.     After these conversations, after AGA
18   receives an email from its local agent informing it
19   of the price -- informing it of the cost of the
20   ambulance and the admission, there is an
21   entry -- sorry.
22               In Case Note 43, following this email that
23   is from a Dr. Syverud -- sorry -- that it's -- it
24   appears from the nurse department to Dr. Syverud
25   that says, "We have activated our agent as well but

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 1   no reply from them yet."
 2               MS. LUETTO:            What note are you on?
 3               MR. BARNES:            47.
 4               MS. LUETTO:            Thank you.
 5   BY MR. BARNES:
 6       Q       Do you know why it would have said there
 7   was no reply for them when four case note entries
 8   before there was a reply documented?
 9               MS. LUETTO:            Calls for speculation.
10   Assumes facts.
11               THE WITNESS:             I am sorry.                   Can you repeat
12   that question?
13   BY MR. BARNES:
14       Q       Yeah.     Do you know why Case Note 47 would
15   say there was no reply received from the agent when
16   Case Note 43 was a reply?
17       A       Well, that goes back to earlier.                             We are
18   working the case real time, and the nurse was
19   probably speaking with the doctor before the
20   information was added to the case, or the nurse
21   didn't see that information in the case while she
22   was speaking to the doctor.
23       Q       Okay.     Do you know if this entry in Case
24   Note 47, column C, indicates a phone call or an
25   in-person discussion?                Excuse me.

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 1       A       It was most likely a phone call.
 2       Q       Okay.     Do you know who Dr. Syverud is, what
 3   his position in AGA is?
 4               MS. LUETTO:            Assumes facts.                  Vague.
 5               THE WITNESS:             He was one of the medical
 6   doctors at University of Virginia that the nurses
 7   would speak to to discuss cases.
 8   BY MR. BARNES:
 9       Q       Okay.     Was he an employee of AGA, if you
10   know?
11       A       He was employed with -- he was our consult
12   for AGA, and he also worked at University of
13   Virginia.
14       Q       Okay.     At this point in time, Dr. Syverud
15   had agreed that Mr. Antl needed both the
16   ambulance -- sorry -- needed the ambulance transfer
17   for a cardiac catheter.                   Do you see that?
18       A       Yes.
19       Q       Then approximately -- sorry -- less than
20   ten minutes later in the Case Notes 51 through 53,
21   these are entries where the nurse approves --
22   sorry -- where the nurse recommends Mr. Antl's
23   ground transport for an ICU bed and cardiac
24   catheter, the stay at the first hospital, as well as
25   a stay at the second hospital for December 8th and

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 1   9th.    Do you see those?
 2       A       Yes.     I see them.
 3       Q       Do you know if Mr. Antl was transferred at
 4   this point?
 5               MS. LUETTO:            Objection.                 Vague.
 6               THE WITNESS:             From what I could see in the
 7   case note in front of me, it doesn't appear he has
 8   been transported yet.
 9   BY MR. BARNES:
10       Q       Okay.     If we come down to 56, in column C,
11   it says, "Rafael to AGA."
12               Do you know who Rafael is?
13       A       It looks like that's the agent reaching out
14   to us.
15       Q       Would this have been a phone call or an
16   email?    Can you tell either way?
17       A       Well, from the case note, it says, "Calling
18   to find," so I would assume it was a phone call.
19       Q       That's a good point.                          Thank you.
20       A       I don't mean that in a bad way.
21       Q       No, no.       You're fine.                     You're fine.   That
22   was my oversight.
23               As part of the case note here, it says,
24   "Easier to email than call."
25               Am I correct in assuming that this was

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 1   BY MR. BARNES:
 2         Q     Okay.     I think I just recognized your name
 3   here in the case notes.                   Is this you on Case Note
 4   65?
 5         A     That is me.
 6         Q     Okay.     "Reassigned case to Valerie."
 7               I am assuming that means Miss Valerie
 8   Zhou?
 9         A     Yes.
10         Q     Do you know why -- sorry.                              Let me strike
11   that.
12               I am going to go back up a little bit.
13               Okay.     Actually, I will strike that
14   question or nonquestion.
15               Sorry.      One second.
16               If we go to Case Note 69, AGA indicates to
17   its agents that -- to its agent that it is sending a
18   guarantee letter for the ambulance as well as
19   another guarantee for $2,500.                             Do you see that?
20         A     Yes.     I see it.
21         Q     Okay.     And it says, "We may extend for more
22   money once we see how long the patient will be in
23   the hospital."
24               Sorry.      Do you see that too?
25         A     Yes.     I see that too.

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 1   an outgoing call in column B?
 2       A       Yes, it does.
 3       Q       And that happened approximately 90 minutes
 4   after Miss Zhou emailed the local agent?
 5       A       That's what it has on there, yes.
 6       Q       Okay.     And if you review Case Note 72,
 7   73 -- sorry -- Case Note 72 through 75 -- no.                                    Let
 8   me strike that.
 9               If you review Case Note 72 through 76,
10   those are the remaining entries for Mr. Antl's case
11   for December 8th.           Do you see that?
12       A       Yes.     I see that.
13       Q       Okay.     And then the next morning on
14   December 9th, we have in Case Note 85, "BU to CM."
15               Do you know what that's referring-- or what
16   that indicates?
17               MS. LUETTO:            I am sorry.                     Wait, wait.
18   Which case note again?
19               MR. BARNES:            85, column C.
20               MS. LUETTO:            Right.            Misstates -- misstates
21   the document.
22   BY MR. BARNES:
23       Q       Do you know what this is indicating, Miss
24   Fraser, "BU to CM"?
25               MS. LUETTO:            Misstates the document.                       It's

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 1   "CM to BU."
 2   BY MR. BARNES:
 3         Q     Miss Fraser, is that CM to BU or BU to
 4   CM?
 5         A     It's stating the case manager reached out
 6   to the BU.
 7         Q     Okay.     And who is BU?
 8         A     That's also known as the agent.
 9         Q     Okay.     And in the notes here, it indicates,
10   "Requesting urgent update on transport"; is that
11   correct?
12         A     Uh-huh.       That's correct.
13         Q     And this is more than 12 hours after AGA
14   had provided the guarantee letter to its local agent
15   for the cost of transport; is that correct?
16               MS. LUETTO:            It may call for speculation.
17   Overbroad.
18               THE WITNESS:             That looks like the case note
19   at 9:02 a.m.
20   BY MR. BARNES:
21         Q     Okay.     Do you know what -- why this entry
22   would have been listed as urgent and the prior ones
23   would not have been?
24               MS. LUETTO:            Vague and ambiguous.
25   Overbroad.      Calls for speculation.                             Assumes facts.

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 1               THE WITNESS:             Can you rephrase the
 2   question?
 3   BY MR. BARNES:
 4       Q       Yeah.     Do you know why this entry was
 5   recorded as urgent but others weren't?
 6               MS. LUETTO:            Same objections.
 7               THE WITNESS:             I don't know why others were
 8   not recorded as urgent.
 9   BY MR. BARNES:
10       Q       Okay.     And the next entry in the case notes
11   are -- is -- sorry.
12               The next entry in the case note is a call
13   from Mr. Antl to AGA; is that correct?
14       A       Yes.
15               MS. LUETTO:            That's Case Note 86?                    I am
16   just trying to keep us so we know where we are.
17               MR. BARNES:            That's fine.                    No problem.
18   BY MR. BARNES:
19       Q       Case Note 87, this indicates when Mr. Antl
20   was -- sorry.        Let me restart that question.
21               Case Note 87 indicates that the transport
22   of Mr. Antl from the first to second hospital is now
23   occurring.      Do you see that?
24               MS. LUETTO:            The document speaks for
25   itself.     Calls for speculation.

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 1               THE WITNESS:             Yes.          I see Case Note 87.
 2   BY MR. BARNES:
 3       Q       Okay.     Go down to Case Notes 92 to 94.                         In
 4   column C, they will indicate, "Provider request
 5   decision," and then column -- sorry.                               92, column D,
 6   says, "Provider request was denied."
 7               Do you know what this is referring to?
 8       A       So what that means is that we have a team
 9   that reviews the hospital information that's put in
10   the case because it's cross-referenced between
11   assistance and the claims department, and while it's
12   saying it was denied, it doesn't mean we denied them
13   going to that facility.                   It just means that it was
14   denied because the information that was inputted --
15   was put in the case may have been off by a character
16   or a number, so it was fixed properly.
17       Q       Okay.
18       A       That has nothing to do with the denial of
19   the facility.        It's for internal reasons.
20       Q       Okay.     It's more of a recordkeeping aspect
21   rather than -- rather than a implementation of a
22   case aspect?
23       A       Yes.     So from what Case Note 92 is stating
24   that the -- whoever put in the hospital information,
25   we already had that hospital in the case, so they

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 1   reactivated the hospital number of 11897 for that
 2   facility that we have on file.
 3       Q       Okay.     Thank you.
 4               Here in Case Note 96, it appears that this
 5   is a communication from Mr. Antl to -- sorry.                             Let
 6   me re-ask that question.
 7               What is this case note indicating?
 8               MS. LUETTO:            Objection.                 Vague.
 9               THE WITNESS:             Incoming call.
10   BY MR. BARNES:
11       Q       Okay.     It appears that this is from Mr.
12   Antl to AGA.       Is that what you see as well?
13       A       Yes.
14       Q       Okay.     So all of these -- all of this
15   description in column D would be what Mr. Antl
16   communicated; is that correct?
17               MS. LUETTO:            Overbroad.                 Vague.
18               THE WITNESS:             Right.               That would be the
19   summary of the call.
20   BY MR. BARNES:
21       Q       Okay.     It says, "TMO advised sub that he
22   will probably be staying in the hospital for up to
23   five day, but depending on recovery it may only be
24   three days."
25               So at that point in time, the $2,500

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 1   guaranteed coverage letter wouldn't -- wouldn't
 2   cover these additional days; is that correct?
 3               MS. LUETTO:            Vague.            Assumes facts.      Calls
 4   for speculation.
 5               THE WITNESS:             Right.               So the letter of
 6   guarantee that we sent out was for the admission and
 7   up to the $2,500.           So once we reviewed the medical
 8   report, we could go ahead and extend it.
 9   BY MR. BARNES:
10       Q       Okay.     Could it be possible that Mr. Antl
11   would have -- I guess my question is this:                             The
12   $2,500 GCL had a date range of 12-8 to 12-9, but it
13   also had an amount of $2,500.                             Would the coverage be
14   limited to the dates, or could those dates be
15   extended as long as the amount remained -- as long
16   as there remained some amount of coverage?
17               MS. LUETTO:            Vague.            Calls for speculation.
18               THE WITNESS:             So we -- in assistance, we
19   would work with the billing office, and the billing
20   office would give us the new estimated cost for the
21   procedures, for the ongoing treatment for Mr. Antl.
22   BY MR. BARNES:
23       Q       Okay.     Is it fair to say then that -- or is
24   it accurate to say then that the $2,500 GCL wasn't
25   intended to cover treatment beyond admission?

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 1               MS. LUETTO:            Overbroad.                 Calls for
 2   speculation.
 3               THE WITNESS:             I am not understanding what
 4   you are saying.
 5   BY MR. BARNES:
 6       Q       Did AGA expect to provide another GCL for
 7   any treatment that Mr. Antl required beyond
 8   admission to the second hospital?
 9               MS. LUETTO:            Objection.                 Vague.
10               THE WITNESS:             Are you asking if we were
11   limiting his benefits for 2,500 or if we had
12   intended to continue?
13   BY MR. BARNES:
14       Q       I am asking whether or not AGA expected --
15   sorry -- whether or not AGA -- yeah, whether or not
16   AGA expected to issue another GCL for any treatment
17   that Mr. Antl would receive at the second hospital
18   beyond admission.
19               MS. LUETTO:            Overbroad.                 Vague.   Calls for
20   speculation.
21   BY MR. BARNES:
22       Q       Let me rephrase.
23               What was the $2,500 GCL intended to
24   cover?
25       A       So that was to get him admitted into the

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 1   second facility, and then once we got a medical
 2   update, the hospital and the agent understood that
 3   that letter of guarantee would be extended.
 4         Q     Okay.     So the $2,500 GCL was not intended
 5   to cover surgery if he needed it?
 6               MS. LUETTO:            Objection.                 Vague.   Calls for
 7   speculation.
 8               THE WITNESS:             Yeah.           We moved him to the
 9   facility so he could get the treatment needed.                              It
10   wasn't to stop any treatment.
11               I don't understand what you are asking
12   me.
13   BY MR. BARNES:
14         Q     Sure.     Sure.
15         A     We would not send him to a facility where
16   they wouldn't treat him.                    If the bill hit $2,500, we
17   would work with the hospital and get medical updates
18   and send a letter of guarantee as needed so he could
19   get his treatment.
20         Q     Okay.     And I think we are on the same page.
21   I am just trying to kind of narrow this down in that
22   whether it was expected when that $2,500 guarantee
23   was sent that there would need to be another one
24   sent.
25               Did AGA have that understanding at that

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 1   point?
 2         A     Well, yeah, because the hospital was going
 3   to continue treatment.
 4         Q     Okay.
 5         A     And they were to supply us with the next
 6   steps.
 7         Q     Okay.     The $2,500 guarantee letter was
 8   never expected to be the last one to be issued?
 9         A     If the hospital was going to continue
10   medical care, we were going to extend that letter.
11   That's what Valerie had said to the agent.                               The
12   agent was relaying that to the hospital.
13         Q     Okay.     If we go to Case Note 99 -- sorry.
14   Not 99.     I don't think any of us are going to be
15   able to understand that completely.                                Maybe some of
16   us.
17               If we go to Case Note 100, we have an email
18   from the nurse to the agent asking for an updated
19   medical report; is that correct?
20         A     Yes.
21         Q     Okay.     At this point in time, was there any
22   dispute that Mr. Antl needed a cardiac catheter?
23               MS. LUETTO:            Assumes facts.                  Vague.   Calls
24   for speculation.
25               THE WITNESS:             Are you asking me if we

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 1   denied that he needed services at this hospital?
 2   BY MR. BARNES:
 3       Q       No.    I am asking whether AGA had known what
 4   treatment Mr. Antl required prior to being
 5   transferred to the second hospital.
 6       A       So the medical team had spoken with the
 7   doctor in the beginning of the case, and that was
 8   relayed to the medical team.
 9       Q       Okay.     I believe before you had indicated
10   that AGA staff could use Google Maps to -- excuse
11   me -- to determine distance between hospitals.                                  Here
12   we have a email from the hospital to AGA in Case
13   Note 104 in Spanish.               Do you see that?
14               MS. LUETTO:            I am sorry.                     Where are you
15   looking?     What note?
16               MR. BARNES:            104.
17               MS. LUETTO:            Thank you.
18               THE WITNESS:             Yes.          I see that.
19   BY MR. BARNES:
20       Q       Does AGA ever use Google translate to
21   translate documents?
22       A       I am sorry?
23       Q       Are there any Internet translation services
24   that AGA uses in this type of case?
25               MS. LUETTO:            Objection.                 Vague.      Incomplete

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 1   hypothetical.
 2               THE WITNESS:             We have various ways to get
 3   information translated.
 4   BY MR. BARNES:
 5       Q       Have you ever used an Internet translation
 6   service in a case?
 7               MS. LUETTO:            Objection.                 Vague.
 8               THE WITNESS:             Have I personally?                I don't.
 9   The medical team would translate it.
10   BY MR. BARNES:
11       Q       Okay.     Reading this case note, do you
12   understand how much the services that Mr. Antl
13   needed would cost?
14       A       Saying about 8,600.
15       Q       Just kind of going back a little bit to the
16   description in column C, it says, "Email from
17   hospital with att hosp invoice."
18               Do you think that was recorded correctly?
19   It appears that this came from the agent, if I am
20   reading it or as I read it.
21       A       Yes.     It looks like it came from the agent.
22       Q       Okay.
23       A       It's noting --
24       Q       Sorry.
25       A       You're fine.

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 1       Q       If we go down to Case Note 106, this
 2   appears to be a translation request from the case
 3   manager to a translator; is that correct?
 4       A       Yes.
 5       Q       And do you see that it was marked as
 6   non-urgent?
 7       A       Yes.
 8       Q       Okay.     And this was at 9:23 p.m.                    Do you
 9   see that?
10       A       Yes.
11       Q       The next entry that we have in Case Note
12   107 is an email from the translator to AGA
13   confirming receipt of the translation request; is
14   that correct?
15       A       Yes.     That's what I see.
16       Q       That didn't come in until the next morning;
17   right?
18       A       Yes.
19       Q       If this has been marked urgent, would it
20   have been translated immediately; do you know?
21               MS. LUETTO:            Calls for speculation.            Vague.
22               THE WITNESS:             If I recall, the way the time
23   for a translation request for urgent requests, it
24   would be within 24 hours, and this one here, because
25   the report was probably one or two pages, non-urgent

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 1   Case Note 109 has the same subject as the email that
 2   Miss Zhou sent to the agent in Case Note 110; is
 3   that correct?
 4       A       It has what?             I am sorry.
 5       Q       The same subject line.
 6       A       It looks like it, yes.
 7       Q       Okay.     Do you know what Miss Zhou meant
 8   when she said, "We will review the report to confirm
 9   that we can extend the guarantee letter"?
10       A       I don't know what you are asking me.
11       Q       From the prior testimony today, the
12   impression that I got was that AGA was -- sorry.
13   Let me strike all of that.
14               Is there any reason that AGA wouldn't have
15   extended the guarantee letter at this point?
16               MS. LUETTO:            Calls for speculation.
17   Overbroad.      Incomplete hypothetical.
18               THE WITNESS:             As long as it's medically
19   necessary to continue the treatment, the letter of
20   guarantee would continue.
21   BY MR. BARNES:
22       Q       Okay.     I am sorry.                  Can we go to Case Note
23   121?    This is where AGA receives the translated
24   report; is that correct?
25       A       Yes.

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 1   Mr. Antl's treatment at this point?
 2       A       That would be more of the expertise of the
 3   medical team.
 4       Q       Okay.     It was known that Mr. Antl needed a
 5   cardiac catheter at this point; is that correct?
 6               MS. LUETTO:            Objection.                 Vague.   Calls for
 7   speculation.       Assumes facts.
 8               THE WITNESS:             We know that we got him to
 9   this facility so he could get the treatment, yes.
10   BY MR. BARNES:
11       Q       I guess my question more is:                           If he was
12   intended to receive treatment at this facility, why
13   would there need to be further evaluation in order
14   for that treatment to go forward?
15               MS. LUETTO:            Calls for speculation.
16   Overbroad.      May be beyond the scope of the witness's
17   deposition.       Also, assumes facts.
18               THE WITNESS:             So I -- I am not a medical
19   expert, but I would think that the doctor at the
20   receiving hospital would want to evaluate the
21   patient and let our medical team know of the next
22   steps that are needed to help Mr. Antl.
23   BY MR. BARNES:
24       Q       Okay.     Then on December 10 at 3:19, the
25   nurse recommends Mr. Antl stay from 12-9 to 12-11;

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 1   is that correct?
 2               MS. LUETTO:            Sorry.            What note?
 3               MR. BARNES:            125.
 4               THE WITNESS:             That's correct.
 5   BY MR. BARNES:
 6       Q       Was there a reason -- sorry.                           Let me
 7   restart.
 8               Do you think it was an error to approve a
 9   day in the past?
10       A       To approve what?                  I am sorry.
11       Q       The day before?                 Do you understand my
12   question?      Sorry.       She approved 12-9, but it was
13   already 12-10.
14               MS. LUETTO:            Calls for speculation.                   May be
15   beyond the scope of this witness's deposition.
16               THE WITNESS:             I would have to look at the
17   previous letter of guarantee, but I believe it said
18   from 12-8 to 12-9, so this would be a continuance of
19   that original letter that was sent out, the
20   guarantee letter.
21   BY MR. BARNES:
22       Q       Okay.     In Case Note 132, for December 10th,
23   5:30 p.m., AGA has approved two more days under
24   another guarantee letter; is that correct?
25       A       Yes, that's correct.

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 1         Q     Okay.      And this was 5:30 p.m., 12-10?
 2         A     Yes.
 3         Q     If we go down to Case Note 135, we are at
 4   7:56 p.m., 12-10.            AGA receives an email from the
 5   treating doctor.           Do you see that?
 6         A     Yes.     I see it.
 7         Q     Okay.      And do you see that in the email, it
 8   says, "If the blood vessel that is not completely
 9   open suffer a new lesion, he probably will die
10   because we are talking of a lesion in the anterior
11   descendent artery in it proximal part," and then the
12   nurse or the doctor continues in the email that
13   says, "I hope you understand how serious is the
14   situation."       In case of emergency, I will
15   call -- I'm sorry.              "In case of emergency, pain and
16   new myocardial infarction, I will call the
17   cardiologist for an emergency procedure."
18               In reviewing the notes, do you know if this
19   doctor had spoken to anyone at AGA before this?
20               MS. LUETTO:             Calls for speculation.
21               THE WITNESS:              This is Mayra Valenzuela, and
22   I thought the email said Mayra Fuentes; right?
23   Yeah, Dr. Mayra Fuentes.
24               Okay.      So Case Note 135?
25   ///

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 1   BY MR. BARNES:
 2        Q      Yeah.
 3        A      Okay.      So I am sorry.                      I see that.
 4        Q      Do you know if there was any prior
 5   communication with this doctor?
 6        A      Oh, I would have to look through the case.
 7        Q      Okay.      Did you review this entry in your
 8   review of the case notes prior to the deposition?
 9   Do you recall this one?
10        A      Yeah, I see it.                  Uh-huh.
11        Q      Okay.      And then it appears that Mr. Antl
12   forwards this same email in the next case note
13   entry.     Do you see that?
14        A      Yes.     I see it.
15        Q      Okay.      Right about 8:00 o'clock p.m. on
16   December 10th.         And then there's two more entries
17   that night in the case notes.
18               One is Case Note 137, email to RN and CM.
19   See Case Note 135 for email from treating medical
20   officer.      Note 138, nurse review of medical report
21   in Case Note 135.            These were both referring to that
22   email that we just reviewed.
23               My question is:                  For the next 12 hours
24   nothing happens in the case.                          The RN, Susan Gabriel,
25   reviewed the medical report from the email that came

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                                  Maryann Fraser
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 1   in at 7:56, approximately 20 minutes later.                                There's
 2   no communication within AGA, outside of AGA to its
 3   agents, AGA to the hospital.
 4               Do you know why -- do you know why there's
 5   no communication within this time period?
 6               MS. LUETTO:             Overbroad.                 Vague.   Assumes
 7   facts.     Calls for speculation.
 8               THE WITNESS:              Well, can you go back a
 9   little bit, please?
10               You can go back a little more.                              I am sorry.
11               So I see in Case Note 133, Valerie updated
12   Mr. Antl that the letter of guarantee was sent.
13               Can we go up one more?                           We also authorized
14   to the agent in Case Note 132 that the letter of
15   guarantee was sent.
16               So the steps were taken to proceed with
17   next steps.       The communication with the agent has
18   been consistent on the case, and we also let Mr.
19   Antl know that that letter was sent as well, so...
20   BY MR. BARNES:
21        Q      Is there any means of a nurse alerting a
22   case manager of the urgency of a matter at any point
23   in time?
24               MS. LUETTO:             Objection.                 Vague.   May be
25   beyond the scope of the witness's deposition or call

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                                  Maryann Fraser
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 1   letter of guarantee in proceeding with Mr. Antl
 2   being treated.
 3   BY MR. BARNES:
 4        Q      Yeah.      My question was more just whether
 5   someone was available.                   Someone would have been
 6   available at that time to respond to the doctor;
 7   correct?
 8               MS. LUETTO:             Asked and answered.                  And
 9   assumes facts.
10               THE WITNESS:              So there is somebody
11   available 24/7 is what you are asking.                                There is
12   staff there, yes.
13   BY MR. BARNES:
14        Q      Thank you.
15               Was the agent available 24 hours?
16               MS. LUETTO:             Asked and answered.
17               THE WITNESS:              I can't recall.                 I would have
18   to -- I don't know.
19   BY MR. BARNES:
20        Q      Are there situations where an agent isn't
21   available 24 hours?
22               MS. LUETTO:             Overbroad.                 Vague and
23   ambiguous.       Incomplete hypothetical.                           Calls for
24   speculation.
25               THE WITNESS:              Yeah.           There are certain

                           Boris Antl vs. AGA Service Company, et. al.                Page: 134
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 1               I further certify that I am not a relative
 2   or employee or attorney or counsel of any of the
 3   parties, nor am I a relative or employee of such
 4   attorney or counsel, nor am I financially interested
 5   in the outcome of this action.
 6               IN WITNESS WHEREOF, I have subscribed my
 7   name this 11th day of September, 2023.
 8

 9
                          ___________________________________
10                        MONICA SCHOONOVER, CSR No. 10220
11

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                   EXHIBIT C
                                  Melissa Castro
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 1                       UNITED STATES DISTRICT COURT
 2                     EASTERN DISTRICT OF CALIFORNIA
 3

 4

 5   BORIS ANTL, an individual,
 6                    Plaintiff,
 7   vs.                                                        Case No.
                                                                2:22-cv-00504-KJM-AC
 8   AGA SERVICE COMPANY, a
     Virginia Corporation;
 9   JEFFERSON INSURANCE COMPANY,
     a Virginia Corporation, and
10   DOES 1-10, inclusive,
11                    Defendants.
                                                     /
12

13

14

15     REMOTE RULE 30(B)(6) DEPOSITION BY VIDEOCONFERENCE OF
16                 AGA SERVICE COMPANY, MELISSA CASTRO
17

18

19   DATE:                FRIDAY, SEPTEMBER 29, 2023
20   TIME:                4:08 p.m. BST
21

22

23   REPORTED BY:         KIMBERLY J. WALDIE,
                          CSR No. 8696, RPR
24

25

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 1                                     I N D E X
 2                                                                           PAGE
 3   EXAMINATION BY MR. ABBOTT                                                    5
 4

 5

 6

 7

 8                                 E X H I B I T S
 9   Exhibit 1         Plaintiff Boris Antl's Rule 30(b)(6)                      112
                       Notice of Deposition of Defendant
10                     AGA Service Company
11   Exhibit 2         Allianz Global Assistance policy and                      112
                       related documents
12
     Exhibit 3         Notes                                                     112
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 1   if you know?
 2                MS. LUETTO:          Overbroad.               Compound.
 3                Let me just ask are you talking about
 4   specifically -- what -- what time frame?                            Because that's
 5   pretty -- that's a pretty broad time frame.                            Are we
 6   limiting it to Mr. Antl's time or some other time?
 7                MR. ABBOTT:          Yeah.         Let's please limit this to
 8   Mr. Antl's time unless --
 9                MS. LUETTO:          Okay.         So we are talking about
10   December of 2014 --
11                MR. ABBOTT:          Yeah --
12                MS. LUETTO:          -- approximately?
13                MR. ABBOTT:          -- December of 2014.
14                MS. LUETTO:          Thank you.
15                THE WITNESS:           In December of 2014, the staff in
16   Canada, to my knowledge, was nurses and, essentially, a
17   senior nurse or senior nurses.
18          Q     MR. ABBOTT:          And do you know about how large
19   that team was, how many individuals were on it?
20                MS. LUETTO:          Overbroad.               Vague.
21                THE WITNESS:           I have no idea, Mr. Abbott.                 I
22   don't have that information.
23          Q     MR. ABBOTT:          Fair enough.
24          A     I do know that we would have enough staff to
25   provide 24/7 coverage, but I don't know the -- the

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                                  Melissa Castro
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 1                You can respond.
 2                THE WITNESS:           In regards to the medical -- let
 3   me rephrase that.
 4                The case manager or assistance coordinator
 5   take -- seeks a recommendation from the medical team.
 6   The medical team's recommendation is taken by the case
 7   manager/assistance coordinator, and they make their
 8   determinations or whatever process they follow on their
 9   side in regards to the patient's plan.
10                But I can't speak any further to that because,
11   realistically, I don't -- I am not an assistance
12   coordinator.        I -- I don't speak to their processes and
13   procedures.
14          Q     MR. ABBOTT:          Okay.         So if we go to Case Note 11
15   here, "Dr. Lopez contacted AGA with the following
16   information:        SUB has had a heart attack - came in on
17   12/07 at 1949."
18                So is that Mr. Antl's treating physician
19   informing Allianz that Mr. Antl has had a heart attack?
20                MS. LUETTO:          The document speaks for itself.
21                You can respond.
22                THE WITNESS:           Yes, that would be my
23   interpretation of it.
24          Q     MR. ABBOTT:          And at that point, would the
25   diagnosis have been accepted or would Allianz have had

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 1   to do any additional diligence?
 2                MS. LUETTO:          Objection.               Vague and ambiguous.
 3                THE WITNESS:           I'm not sure I understand the
 4   question.
 5          Q     MR. ABBOTT:          Sure.
 6                So is being told by Mr. Antl's treating
 7   physician that he's had a heart attack enough for you --
 8   for the medical team to accept his diagnosis as a heart
 9   attack, or would they have needed any additional
10   information?
11          A     The medical team would have accepted the
12   diagnosis as a heart attack at this point.
13          Q     Do you know who JL Pressley is who it says
14   added this note here in Column E?
15          A     I don't know.            I -- my interpretation is it's a
16   case manager/assistance coordinator.                               But I -- I don't
17   know specifically who he is.
18          Q     Is that -- okay.               Fair enough.
19          A     And, sorry to interrupt.                        Is there a way to
20   make the text bigger or -- sorry.                            It's -- just on my
21   screen, it looks very small.
22          Q     Is that helpful?
23          A     Yes.    Much better.               Thank you.
24          Q     Sure.
25                And I -- I know we talked about the time

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 1          Q     MR. ABBOTT:          And here in Case Note 14, another
 2   medical case note, it looks like -- do you know who Don
 3   O'Connor is?
 4                MS. LUETTO:          Objection.               Vague.
 5                THE WITNESS:           My understanding is that Don was
 6   an RN for the medical team at that time.
 7          Q     MR. ABBOTT:          And then case note here says,
 8   "S/W."     Is that "spoke with"?
 9          A     Yes, that's "spoke with," shorthand, just note
10   summary.
11          Q     "Spoke with Dr. Lopez who --" I guess I should
12   just ask to be clear -- "ADV."                        Is that "advised"?
13          A     Yes, that's "advised."
14          Q     And "PT," is that shorthand for "patient"?
15          A     Yes.
16          Q     "Spoke with Dr. Lopez who advised that patient
17   is stable but will need transfer to other hospital for
18   ICU bed.      No beds available at current hospital.                         RN
19   asked if patient required cardiac cath.                             Dr. Lopez
20   advised that patient will need cardiac cath at some
21   point, but there is no urgency to be now."
22                So would the medical team have accepted that
23   statement from Mr. Antl's treating physician, that he
24   needed a cardiac catheterization, or would they have
25   needed to do -- would they have needed additional

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                                  Melissa Castro
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 1   information?
 2                MS. LUETTO:          Overbroad.               Assumes facts.
 3   Compound.      Vague.
 4                You can respond.
 5                THE WITNESS:           Based on the information in
 6   context and the fact that it was being provided by what
 7   we interpret as the treating -- treating physician of
 8   Mr. Antl, we would understand that, yes, he would
 9   require a transfer and a cardiac cath at some point.
10          Q     MR. ABBOTT:          And was the medical group at this
11   time asked to make a recommendation on whether a cardiac
12   catheterization was necessary?
13                MS. LUETTO:          Calls for speculation.                Vague.
14                THE WITNESS:           I'm sorry.               Asked by whom?
15          Q     MR. ABBOTT:          Let me -- let me rephrase that
16   question.
17                Is there a reason -- if there was an acceptance
18   that Mr. Antl needed a transfer and a cardiac
19   catheterization, is there a reason that Allianz didn't
20   simply approve those expenses at this time?
21                MS. LUETTO:          Beyond the scope of this witness's
22   deposition.       Argumentative.                Assumes facts.         Overbroad.
23   Compound.      Incomplete hypothetical.
24                You can respond.
25                THE WITNESS:           I can't speak to approving

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                                  Melissa Castro
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 1   point.
 2          Q     MR. ABBOTT:          And would there ever be an
 3   instance if a treating physician recommended a
 4   catheterization, that the medical team might not
 5   recommend a catheterization for a patient having a
 6   myocardial infarction?
 7                MS. LUETTO:          Overbroad.               Vague.   Incomplete
 8   hypothetical.        Calls for speculation.
 9                You can respond.
10                THE WITNESS:           In my experience as chief medical
11   officer, during my tenure as chief medical officer, I
12   did not encounter any cases where we would not recommend
13   a cardiac catheterization.
14                I think it -- again, I'm speaking to my
15   experience, to the experience and recommendations of
16   medical teams that was under me at that time.
17   Realistically, I don't see -- a situation does not come
18   to mind where we would not recommend a cardiac
19   catheterization.
20          Q     MR. ABBOTT:          Why is it -- why is a cardiac
21   catheterization -- let me start generally.
22                Why is a cardiac catheterization important for
23   a patient having a heart attack?
24                MS. LUETTO:          Overbroad.               Vague and ambiguous.
25   Beyond the scope of this witness's deposition.                            Calls

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 1   for an expert opinion.                It's an incomplete hypothetical.
 2   Sorry.     Excuse me.
 3                Go ahead.
 4                THE WITNESS:           No worries.                I am not going to
 5   respond to that question.                   I'm a GP.              It's out of my
 6   area of specialty.            I am not a cardiologist or a cardiac
 7   interventionist.
 8                I know that some heart MIs require cardiac
 9   cath; some might not.               So I -- I can't speak to the
10   details as to why a case would or would not require one.
11          Q     MR. ABBOTT:          Do you know specifically why
12   Mr. Antl needed a cardiac catheterization?
13                MS. LUETTO:          Assumes facts.                   Overbroad.   Beyond
14   the scope of this witness's deposition.                               Calls for
15   expert opinion.
16                You can respond.
17                THE WITNESS:           Again, I am not a cardiologist.
18   I'm not a cardiac interventionist.                             So I wouldn't be
19   able to be the most suited to respond to that question.
20          Q     MR. ABBOTT:          And do you know if -- well,
21   scratch that.
22                Would you agree generally with the proposition
23   that someone's treating physicians are in a better
24   position to determine what's medically necessary for
25   them than -- scratch that question too.

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                                  Melissa Castro
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 1   40 minutes of that time stamp.                        They were trying to call
 2   the information (verbatim), to get more information.
 3                However, at the end of the day, this
 4   information is also being provided to us by an agent,
 5   not by a hospital, physician, or any -- and there's no
 6   context being provided as to where the agent is getting
 7   this information from.
 8                So the medical team is working on it.                         They are
 9   trying to call to get information.                             They are already
10   working.      And I believe a few short notes after that,
11   the RN actually speaks with Dr. Syverud or the guy who
12   whose name I'm going to butcher -- I believe his first
13   name is Scott; so we will stick with Dr. Scott
14   Syverud -- and is discussing the case based on the
15   medical review of the report that she's just been
16   reading in the previous notes and so forth.
17                So the two hours is taken, observed by the
18   medical team.        They review it.                  They contact the
19   hospital, attempt to try and get that information and
20   keep the case moving with their medical recommendation.
21          Q     Got it.
22                So then we see here at 47, "M.D."                         "Dr. S at
23   UVA to RN department."                And this is 1:38 Eastern Time.
24                So it says here, "Dr. S agreed patient requires
25   ground ambulance transfer for cardiac catheterization."

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                                  Melissa Castro
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 1                So does this mean -- well, would this have
 2   meant that the medical team would have asked him for a
 3   recommendation about ground transportation and a
 4   catheterization?
 5                MS. LUETTO:          Calls for speculation.           Vague.
 6                THE WITNESS:           The medical team would have
 7   contacted him to discuss what was being received via the
 8   medical record.         They probably -- but, again, I can't
 9   speak to if they mention the two hours or any other
10   information.        I don't -- I wasn't on the call.                 I don't
11   have the call.        I don't know what they spoke to in
12   detail.
13                But, essentially, they're discussing the case
14   with him, advising him this case might require a cardiac
15   catheterization, and he is giving his expert
16   recommendation that, yes, the patient is stable to
17   transport from one hospital to another based on the
18   medical records that we have and that a cardiac
19   catheterization is medically appropriate.
20          Q     MR. ABBOTT:          So if Dr. S agreed that a cardiac
21   catheterization was appropriate, would anyone at Allianz
22   have disagreed with that?
23                MS. LUETTO:          Calls for speculation.           Incomplete
24   hypothetical.        Overbroad.             Vague.
25                THE WITNESS:           There's no reason per my

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                                  Melissa Castro
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 1   understanding of the processes that anybody would
 2   medically disagree with his recommendations on the
 3   Allianz side.
 4          Q     MR. ABBOTT:          So would a catheterization be
 5   considered, you know, recommended by the medical group
 6   at this point in time?
 7                MS. LUETTO:          Objection.               Vague.   Compound.
 8                THE WITNESS:           The medical team is recommending
 9   a cardiac catheterization.                    I believe if you scroll down
10   one or two more notes, there's a recommendation.                            And
11   the medical team clearly states -- yeah, hold on just a
12   second.      Case Note 51 on line 565, "RN medically
13   recommends ground ambulance transfer to second hospital
14   for ICU bed and cardiac catheterization."
15                The medical team is recommending it.                        It's just
16   a few moments after RN Linda speaks with -- with
17   Dr. Scott.
18          Q     MR. ABBOTT:          Got it.
19                And so that is a recommendation for both the
20   transport and the ICU admission and the catheterization.
21   Correct?
22          A     That is correct.
23          Q     And when it says here in Case Note 49, which is
24   an RN note, "Sending hospital does not have available
25   ICU beds and wishes patient to have cath today, if

                          Boris Antl vs. AGA Service Company, et. al.                  Page: 81
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                                  Melissa Castro
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 1            STATE OF CALIFORNIA                      )
 2                                                     )        ss.
 3            COUNTY OF EL DORADO                      )
 4                 I hereby certify that the witness in the
 5   foregoing Rule 30(b)((6) deposition of AGA Service
 6   Company, Melissa Castro, was by me duly sworn to testify
 7   to the truth, the whole truth, and nothing but the
 8   truth, in the within-entitled cause; that said
 9   deposition was taken at the time and place herein named;
10   that the deposition is a true record of the witness's
11   testimony as reported by me, a duly certified shorthand
12   reporter and a disinterested person, and was thereafter
13   transcribed into typewriting by computer.
14                I further certify that I am not interested in
15   the outcome of the said action, nor connected with, nor
16   related to any of the parties in said action, nor to
17   their respective counsel.
18                IN WITNESS WHEREOF, I have hereunto set my hand
19   this 10th day of October, 2023.
20   Reading and Signing was:
21         requested               waived            X     not requested
22

23

24                                 -----------------------------
25                                 KIMBERLY J. WALDIE, CSR 8696, RPR

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                   EXHIBIT D
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                                                                     Page 1
                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA


            BORIS ANTL, an individual,
                                   Plaintiff,
                  V.                                2:22-cv-00504-KJM-AC
            AGA SERVICE COMPANY, a Virginia
            corporation, JEFFERSON INSURANCE
            COMPANY, a Virginia corporation,
            and DOES 1-10, inclusive,
                                   Defendants.
            ________________________________/


                        VIDEOTAPED DEPOSITION OF BORIS ANTL
                 APPEARING REMOTELY FROM PRAGUE, CZECH REPUBLIC
                    _______________________________________
                        FRIDAY, APRIL 7, 2023; 10:02 A.M.




            REPORTED BY:     DONNA J. WILLIAMS, CSR NO. 11133
            JOB NO.:    954335
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                                                                     Page 3
       1                               I N D E X
       2                                                                 PAGE
       3    PROCEEDINGS                                                    4
       4    EXAMINATION OF BORIS ANTL
       5          BY MS. LUETTO                                            6
       6
       7
       8                           E X H I B I T S
       9    EXHIBIT             DESCRIPTION                        PAGE
      10
      11                                 (NONE)
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                                                                    Page 100
         1   he said, well, that's what we're here for.           And I
         2   felt fantastic.     I felt better than I felt in many,
         3   many years.
12:34    4         Q.   Okay.   Did the doctor explain to you why you
         5   felt better?
12:34    6         A.   Yes.
12:34    7         Q.   What did he tell you?
12:35    8         A.   He said, you know, your blood is flowing
         9   normally the way it should.
12:35 10           Q.   Did he indicate to you any opinion that
        11   you'd had an occluded artery before the heart attack?
12:35 12           A.   Well, there were several doctors.         There was
        13   doctors and there were guy who performed the surgery.
        14   The one who performed the surgery, he didn't really
        15   say almost a word.      But the doctors before and after,
        16   they talked to me about things.
12:35 17           Q.   What did -- what did they tell you?
12:35 18           A.   Well, before the surgery they told me as I
        19   told you before, that I needed the surgery right
        20   away, and it was being delayed, delayed, delayed, and
        21   after the surgery, that's what I mentioned earlier
        22   and I said I feel fantastic.
12:35 23           Q.   My question was a little bit different.           It
        24   was did anyone offer the opinion that you had
        25   probably had an occluded artery before you had the
 Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 123 of 204
                                                                    Page 104
12:40    1         Q.   Okay.   What were you told --
12:40    2              Okay.   What did Myra tell you about the need
         3   for the procedure?      And by Myra I'm talking about
         4   this physician.     I think her name is Dr. Myra
         5   Valenzuela Fuentes.      What did she tell you about your
         6   need for the procedure?
12:40    7         A.   Well, No. 1, she was there for, you know,
         8   several days.      So I saw her several times.       And she
         9   was the one who was, I believe, in touching with
        10   Allianz quite a bit, because when I started writing
        11   she said, no, I will take care of it because I could
        12   not write anything consistent an more.          And she told
        13   me things are bad, I need a surgery immediately, and
        14   she's trying to get authorization.          And she also told
        15   me that the administration at the hospital is trying
        16   to get at least a guarantee of payment so they could
        17   proceed.    And she told me things are very serious.           I
        18   could be dying any moment.
12:41 19           Q.   Okay.   Did any other physician tell you
        20   about your condition --
12:41 21           A.   Go ahead.    Sorry.
12:41 22           Q.   I'm sorry.    Let me ask again so it's a clean
        23   question.
12:41 24                Did any other physician tell you about your
        25   medical condition before the procedure?
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12:43    1         Q.   Did you have the financial ability to pay
         2   for that procedure notwithstanding how much cash you
         3   were carrying?
12:43    4         A.   Not at all.    I had a few hundred dollars.
12:43    5         Q.   Did you have a credit card?
12:43    6         A.   Yes.
12:43    7         Q.   Okay.   Could you have paid -- could you have
         8   paid for that medical care with a credit card?
12:43    9              MR. ABBOTT:    Objection.     Sorry.    Objection;
        10   calls for speculation.
12:43 11                You can answer, Boris.
12:43 12                THE WITNESS:     I'm sorry, what was question
        13   again?
12:43 14     BY MS. LUETTO:
12:43 15           Q.   Could you have paid for the medical care at
        16   Clinica de Los Andes?
12:43 17           A.   Personally, no.     I had no money.
12:43 18           Q.   Did you have a credit card available to you
        19   for use?
12:44 20           A.   Yes.
12:44 21           Q.   Could you have used that credit card?
12:44 22           A.   I never asked about it.
12:44 23                MR. ABBOTT:    Sorry.    Again, calls for
        24   speculation, and then you can answer.
12:44 25                THE WITNESS:     I'm sorry, I don't understand
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         1   what's going on.
12:44    2              MR. ABBOTT:    Sorry.    So I haven't objected
         3   in a while or really at all, but please let her
         4   finish her question, then give me a chance to make an
         5   objection, and then, unless I instruct you not to
         6   answer, please answer the question she asked.
12:44    7              THE WITNESS:     Which was the question again
         8   please?
12:44    9              MS. LUETTO:    I'll ask the question again.
12:44 10           Q.   I understand you weren't carrying much cash,
        11   but could you have used your credit card if they
        12   accepted a credit card to pay for your procedure?
12:44 13                MR. ABBOTT:    And, objection, calls for
        14   speculation.
12:44 15                MS. LUETTO:    You can respond.
12:44 16                THE WITNESS:     Should I answer?
12:44 17                MR. ABBOTT:    Yes, answer please.
12:44 18                THE WITNESS:     Well, the limit on my credit
        19   card was probably some $5,000, which wouldn't pay for
        20   anything except the room maybe.
12:44 21     BY MS. LUETTO:
12:44 22           Q.   So you're telling me --
12:45 23           A.   And I didn't even ask if I could use it
        24   because I knew the limit I had was a fraction of what
        25   the cost would be.
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12:45    1         Q.   Okay.   So your testimony is your credit card
         2   had only a $5,000 limit?
12:45    3         A.   I do not know exactly the limit, but
         4   something like that.      I do not know exactly.
12:45    5         Q.   What credit --
12:45    6              Go ahead, finish your answer.
12:45    7         A.   I don't know exactly, but it was not, you
         8   know, I had no idea how much it would cost, No. 1,
         9   and, No. 2, the limit I had was definitely not enough
        10   to pay for it.
12:45 11           Q.   Do you know how much -- do you know how much
        12   it cost after the fact?
12:45 13           A.   After the fact I do, yeah, yeah.
12:45 14           Q.   What's your understanding of what -- what
        15   your stay at Clinica de Los Andes cost and your
        16   procedure?
12:45 17           A.   If I remember correctly from the records I
        18   received, somewhere between 15 and 16 thousand
        19   dollars.
12:46 20           Q.   All right.    Were you carrying only a single
        21   credit card with you?
12:46 22           A.   Probably.
12:46 23           Q.   Do you recall one way or the other?
12:46 24           A.   I don't remember, no.
12:46 25           Q.   So is it your testimony --
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12:46    1              Let me just make sure we're really clear.
         2   You recall only a single credit card.          Right?
12:46    3         A.   Yes, uh-huh.
12:46    4         Q.   And it's your testimony that your single
         5   credit card had a limit of around $5,000?
12:46    6         A.   That's speculation.      I don't know how much
         7   it was, but it was not -- I assumed that it's going
         8   to cost another 10, 20, 30 thousand dollars, and I
         9   had no -- no limit, no access to such money through a
        10   credit card.       And I didn't ask.    I don't think they'd
        11   accept a credit card, to be honest, but something --
        12   that's, again, that's my impression.
12:46 13           Q.   What credit card --
12:46 14           A.   They didn't ask for it.       They would have
        15   asked if it was possible.
12:46 16           Q.   Is it possible they asked you and you don't
        17   recall that?
12:47 18           A.   No, they did not ask me.       For sure they
        19   didn't ask me.
12:47 20           Q.   Okay.    What credit card were you carrying?
12:47 21           A.   I think it was a Visa from Bank of America.
        22   But, again, I should say I changed credit cards a few
        23   times over the last ten years, so I don't know what
        24   which card I had.
12:47 25           Q.   Okay.    Was it your custom and practice to
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         1   travel with a credit card with a fairly -- with a
         2   limit of around $5,000 while being away from home for
         3   months on end?
12:47    4         A.   At the time traveling in Argentina having a
         5   few thousand dollars in cash and credit card and a
         6   debit card was absolutely enough.
12:47    7         Q.   Okay.   You were carrying a debt card as
         8   well?
12:48    9         A.   Yes.
12:48 10           Q.   Could you have paid for a medical procedure
        11   with money in the bank, that you had in the bank?
12:48 12           A.   I'm sorry, again?
12:48 13           Q.   Could you have personally paid for that
        14   procedure with money that you had in the bank?
12:48 15                MR. ABBOTT:    And, objection, calls for
        16   speculation.
12:48 17                You can answer.
12:48 18                THE WITNESS:     I possibly had enough money in
        19   the bank, but I do not remember.         It might be
        20   invested.    It might be in my IRA.       I don't know.
        21   But, again, I don't carry balances of thousands and
        22   thousands of dollars in my bank.
12:48 23     BY MS. LUETTO:
12:48 24           Q.   Let me put it this way.       Is it possible, did
        25   you have the financial ability to have paid for that
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         1   procedure yourself regardless of how you accessed the
         2   money?      Whether it's a credit card or debit card or
         3   something like that, did you have the financial
         4   wherewithal to pay for that procedure yourself?
12:49    5          A.   Yes, if I liquidated some of my investments,
         6   yes.
12:49    7          Q.   And it's my understanding that you didn't
         8   make any effort to try to pay for that procedure
         9   yourself.     Correct?
12:49 10            A.   Correct, I didn't try because I had
        11   insurance.     I had a policy from you to pay for it.
        12   It never even occurred to me I should be paying for
        13   it.    It didn't occur to me it was going to take you
        14   five days to authorize it.
12:49 15            Q.   Okay.   And when you're referring to me,
        16   you're talking about Allianz?
12:49 17            A.   Yes.    Of course.   I'm sorry.
12:49 18            Q.   All right.   Did anyone tell you you could
        19   not pay for the treatment yourself?
12:50 20            A.   Again please?
12:50 21            Q.   Did anyone at Clinica de Los Andes tell you
        22   that you were not allowed to pay for your own medical
        23   care?
12:50 24            A.   It was never discussed.
12:50 25            Q.   All right.   Did anyone at Clinica de Los
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12:51    1         A.   I do not know.
12:51    2         Q.   Okay.
12:51    3         A.   I don't know.
12:51    4         Q.   Okay.   Did you understand it to mean that if
         5   your situation got worse, they would perform surgery
         6   on you without regard to Allianz and your insurance
         7   because it was an emergency?
12:52    8         A.   Again please the question?
12:52    9              MS. LUETTO:    Donna, would you mind reading
        10   that back please?
12:52 11                (Record read.)
12:52 12                THE WITNESS:     Yes, the way I would answer
        13   it, it's was the first time I had heard that, but,
        14   No. 2, immediately -- I was immediately very shortly
        15   after this letter was sent -- Allianz provided a
        16   guarantee to pay so that I didn't have to think about
        17   it.
12:52 18     BY MS. LUETTO:
12:52 19           Q.   But to be very clear, you did understand
        20   what she meant.     Right?
12:52 21           A.   I don't know what she meant, no.         I don't
        22   know she meant that I'm going to die if nothing is
        23   done.
12:53 24           Q.   Let me ask the question just one more --
12:53 25                I'm sorry, Donna, would you mind reading the
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         1   until I read the medical reports that came, I
         2   believe, from Allianz.       I was never given a report.
         3   If so, I need a doctor to understand it especially
         4   since it was in Spanish.
13:02    5   BY MS. LUETTO:
13:02    6         Q.   It's my understanding that you could read
         7   Spanish however.     Is that correct?
13:02    8         A.   Correct, but, you know, specialized
         9   medicine, you know, medical terms, no.
13:02 10           Q.   Did you read -- did you ever read your
        11   medical records from Hospital Puerto Montt?
13:02 12           A.   I never got too much.       I got to the EKG's
        13   and I got the echocardiograms and I got the -- from
        14   the surgery I got the video which they made a
        15   pictures of it what happened.        So I got this, but I
        16   never got anything else.
13:03 17           Q.   You mentioned you got the video.         What -- do
        18   you have something separate from the video?            Do you
        19   have still photographs from that video?
13:03 20           A.   To be honest, I never looked at the video.
        21   I just gave it to my cardiologist in Prague, and I
        22   also gave it to my counsel.
13:03 23           Q.   A moment ago you said pictures.         Did you get
        24   pictures as well?
13:03 25           A.   I don't think so.
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         1   obtain medical care?
13:57    2         A.   Again, question please?
13:57    3         Q.   Did you understand that there was a plan in
         4   place to provide medical care to you?
13:57    5         A.   Of course.    He was driving to the hospital
         6   to get medical care, yes.
13:57    7         Q.   To take care -- to take care of you because
         8   of your heart attack.       Is that your understanding?
13:57    9         A.   Yes, yes, yeah.
13:57 10           Q.   So my question is what were you waiting for
        11   Allianz to call and tell you about your medical care
        12   at that point?
13:58 13           A.   Well, when you read the contract they said
        14   that they will assist me finding the best doctor and
        15   responding.       Here they didn't do anything.      And they
        16   could have called me right back and saying you should
        17   be going to this hospital here, arranged for the
        18   payment.    They didn't do any of that.        They just let
        19   go for five days.
13:58 20           Q.   Is it your understanding that they did
        21   nothing for five days?
13:58 22           A.   Yes.
13:58 23           Q.   What do you base that on?
13:58 24           A.   Well, because I had to wait five days for
        25   the surgery.
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13:59    1         Q.   When did you first learn that you needed a
         2   surgical procedure?
13:59    3         A.   I think in the first hospital.
13:59    4         Q.   After you received -- after you arrived at
         5   Hospital Puerto Montt?
13:59    6         A.   Yes.
13:59    7         Q.   Was it after they performed tests on you?
13:59    8         A.   I assume.
13:59    9         Q.   Do you know?     Do you know?
13:59 10           A.   I do not know, but they did some tests of --
        11   to see what's going on.
14:00 12           Q.   Do you have any information or facts that
        13   Allianz intentionally delayed to cause you harm?
14:00 14           A.   I don't know.
14:00 15           Q.   Do you have any information or facts that
        16   Allianz had any intention of causing you harm?
14:00 17           A.   Not really, no.
14:00 18           Q.   Do you have any facts or information that
        19   Allianz intended to be reckless with your -- with
        20   your claim or with your care?
14:00 21           A.   They were reckless.
14:00 22           Q.   How were they reckless?
14:01 23           A.   They didn't respond for five days.
14:01 24           Q.   When you say they didn't respond for five
        25   days, are you talking about responding to you or are
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                                                                    Page 153
         1   you talking about responding to anyone?
14:01    2         A.   To anyone, authorizing the surgery.
14:01    3         Q.   So you're not saying responding; you're
         4   saying not authorizing the surgery.          Is that correct?
14:01    5         A.   That's correct.
14:01    6         Q.   When you're saying responding, you're saying
         7   making a decision; you're not saying communicating.
         8   Is that correct?
14:01    9         A.   Yes.   There was some communication, but they
        10   did not -- when I say reckless, they did not
        11   authorize it, authorize the surgery or guarantee the
        12   payment.
14:02 13           Q.   How do you know that?
14:02 14                I'm sorry, did you not hear my question?          I
        15   said how do you know that?
14:02 16           A.   Well, it's a fact.      I mean, facts are
        17   speaking for themselves here.
14:02 18           Q.   What do you base that on?
14:02 19           A.   My knowledge.
14:03 20           Q.   And my question is -- strike that.
14:03 21                Do you have any facts or information that
        22   Allianz intentionally disregarded your safety and
        23   health to cause you harm?
14:03 24           A.   No.
14:03 25           Q.   Do you have any facts or information that
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         1   Allianz or any act or conduct by them was willful?
14:03    2              MR. ABBOTT:    Objection; calls for a legal
         3   conclusion.
14:03    4   BY MS. LUETTO:
14:03    5         Q.   You can respond.
14:03    6         A.   Could you repeat the question again please?
14:03    7         Q.   Of course.
14:03    8              Do you have any facts or information that
         9   any act or conduct by Allianz was willful?
14:03 10                MR. ABBOTT:    Same objection.
14:03 11                THE WITNESS:     Yes.   All they talked about in
        12   these logs is money, but not providing a service
        13   which I paid and putting my life in danger.
14:03 14     BY MS. LUETTO:
14:04 15           Q.   Do you understand what discussions about
        16   money in the log notes were about?
14:04 17           A.   I'm puzzled.     I do not understand it.          I
        18   don't understand how anybody could do anything like
        19   that.
14:04 20           Q.   Do you understand that the hospital was
        21   requesting a guarantee and those were the dollar
        22   figures being requested?
14:04 23           A.   There are two questions together.         Could you
        24   separate them?
14:04 25           Q.   Of course.
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        1    profession, but in my business dealings if anybody
        2    asked like this, I'd go this is fraud.           I paid -- I
        3    paid for something, and I didn't get it.
14:06   4          Q.   Your medical care was paid for.          Correct?
14:06   5          A.   Medical care where?
14:06   6          Q.   Everywhere.     Any place that requested
        7    payment for your -- for your medical.
14:06   8          A.   In Chile?
14:06   9          Q.   Yes, correct.
14:06 10           A.   In Chile, yes, everything was paid for,
        11   correct.
14:07 12           Q.   Do you have any information or facts that
        13   any act or conduct by Allianz was malicious?
14:07 14           A.   Same reply as before.       I purchased a
        15   service, I didn't get it, and I waited for five days
        16   and put my danger -- my life in danger.
14:07 17           Q.   What service did you not get for five days?
14:07 18           A.   Authorization to proceed with the surgery,
        19   or guarantee payment for it at least.
14:08 20           Q.   And when did you first know that -- we
        21   talked about it.       Strike that.
14:08 22                I'm trying to understand how you calculate
        23   the five days.
14:08 24           A.   Question?
14:08 25           Q.   No, I'll withdraw that question.
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14:17    1             MR. ABBOTT:     Objection; calls for
         2   speculation.
14:17    3             And you can answer.
14:17    4             THE WITNESS:      I have seen at least seven
         5   cardiologists following the -- following my stay at
         6   the Clinica de Los Andes --
14:18    7             (Reporter interruption.)
14:18    8             THE WITNESS:      I have seen about seven
         9   cardiologists following my treatment at Clinica de
        10   Los Andes, and all of those discussions were kind of
        11   positive saying you had a heart attack, your -- you
        12   have (inaudible) number, whatever it is called, of
        13   the heart running at 45 to 50 percent, but that's
        14   quite normal after heart attack, and you could lead a
        15   normal life.
14:18 16               And it was consistent --
14:18 17               Of course all the cardiologists, we then
        18   discussed life-style and, you know, taking the
        19   medicine and seeing other doctors until September of
        20   '20 -- '21, sorry, when I saw Dr. Chamik for my
        21   regular -- for my regular checkup, and he broke the
        22   news to me saying that my life-span is going to be
        23   shortened because of the delay in the surgery and the
        24   damage caused by it.
14:19 25               And I should add that I asked him again,
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16:28    1   STATE OF CALIFORNIA          )
16:28    2                                )
16:28    3   COUNTY OF SACRAMENTO         )
16:28    4
16:28    5             I, Donna J Williams, a Certified Shorthand
         6   Reporter, do hereby certify:
16:28    7             That prior to being examined, the witness in
         8   the foregoing proceedings was by me duly sworn to
         9   testify to the truth, the whole truth, and nothing
        10   but the truth;
16:28 11               That said proceedings were taken remotely
        12   before me at the time and places therein set forth
        13   and were taken down by me in shorthand and thereafter
        14   transcribed into typewriting under my direction and
        15   supervision;
16:28 16               I further certify that I am neither counsel
        17   for, nor related to, any party to said proceedings,
        18   not in any way interested in the outcome thereof.
16:28 19               In witness whereof, I have hereunto
        20   subscribed my name.
16:28 21
16:28 22                                  ___________________________
16:28 23                                        Donna J Williams
16:28 24                                        CSR No. 11133
16:28 25
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                   EXHIBIT E
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Note ID Note Type               Subject                           Description                         Added By      Datetime Added
                                               Warm transfer from TCSR Carol - Carol said that
                                               as we speak SUB is on his way to the hospital and
                                               SUB is having a heart attack, Carol doesn't know
                                               CURLO


                                               AC spoke to Maggie, the interpreter, someone
                                               (SUB or the ambulance - unknown at this stage)
                                               was on the line and the line is breaking and the
                                               only thing they relayed to Maggie was Puerto
                                               Montt possibly in Chile and who is paying the
                                               medical bill and then the call disconnected

     1 INCL         SUB OR AMBULANCE --> AGA   AC thanked Maggie for help                          Dina Berik    12/07/2014 3:03PM

                                               From: AssistanceGroup (Allianz Assistance USA)
                                               Sent: Sunday, December 07, 2014 3:40 PM
                                               To: 'AZGA-RN@allianz-assistance.ca'
                                               Subject: Case #3196098

                                               Greetings,


                                               FYI ¿ new intake ¿ case #3196098. At this stage
                                               we don¿t know very much apart from SUB
                                               having a heart attack and on his way to the
                                               hospital per the ambulance representative (?).
                                               Hospital is unknown. Possibly in Puerto Montt in
                                               Chile (?) and DX is heart attack ¿ it was all the
                                               interpreter told me that they have
                                               communicated with her on. I will try to find out
                                               today which hospital SUB is in.

                                               Thank you.

                                               Dina Berik
     2 OUTEM        AC --> RN                  Assistance Coordinator I, USA                       Dina Berik    12/07/2014 3:39PM

                                               From: AssistanceGroup (Allianz Assistance USA)
                                               Sent: Sunday, December 07, 2014 3:56 PM
                                               To: 'boris_antl@yahoo.com'
                                               Subject: Case #3196098

                                               Greetings Mr. Antl,


                                               We have received a phone call from an
                                               ambulance representative saying that you are on
                                               the way to the hospital. Unfortunately we didn¿t
                                               manage to speak as the line was bad and
                                               eventually the call has been disconnected.
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                                   If you need our assistance please call us back at
                                   +1 804.673.1173 (you can call collect from a
                                   hospital or a landline) and we are open 24/7. You
                                   can also e-mail us at
                                   assistance.group@allianzassistance.com ¿
                                   whenever you e-mail us or call us please
                                   reference your case #3196098.

                                   Thank you.

                                   Dina Berik
3 OUTEM   AC --> SUB               Assistance Coordinator I, USA                       Dina Berik       12/07/2014 3:56PM
                                   monitor for admission
                                   if admitted-need facility eval and new case
                                   procedures.
4 RN      Rn next steps            obrn                                                Borges,Orsoyla   12/07/2014 4:14PM
5 OUTCL   AC --> SUB               510/735-6462 - left VM                              Dina Berik       12/07/2014 4:41PM
                                   AC dialed the interpreter line and Paula will be
                                   assisting

                                   AC dialed:

                                   Hospital Puerto Montt
                                   +56 65 2 362698

                                   Karim says that SUB is not there

                                   Karim suggested we call:

                                   Clínica Los Andes de Puerto Montt
                                   Address: Avenida Bella Vista, 123, Puerto Montt,
                                   Los Lagos, Chile
                                   Phone:+56 65 228 9193

                                   or

                                   Clinica Puerto Montt
                                   Panamericana Sur
                                   Puerto Montt, Chile
                                   +56 65484800

                                   AC will try with Paula to call other hospitals

                                   AC told Paula to thank Karim for her help
          AC --> INTERPRETER -->
6 OUTCL   HOSPITAL                 Karim disconnected                                  Dina Berik       12/07/2014 5:09PM
                                   AC dialed

                                   Clinica Puerto Montt
                                   +56 65 2484830

                                   SUB is not there

          AC --> INTERPRETER -->   AC was going to dial the next hospital but Paula
7 OUTCL   HOSPITAL                 disconnected                                        Dina Berik       12/07/2014 5:10PM
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                                        AC dialed with Maggie on the line - Clinica Los
                                        Andes de Puerto Montt at all the numbers below
                                        several times:

                                        Informaciones 065 2289132
                                        Central Telefónica 065 2289142
                                        Ambulancia 065 2289911
                                        Urgencia Adultos 065 2289149

                                        Noone is picking up but it rings as normal

                                        AC thanked Maggie for her assistance
           AC --> INTERPRETER -->
 8 OUTCL   HOSPITAL                     Both disconnected                                 Dina Berik   12/07/2014 5:22PM
                                        - call all the hospitals once again tomorrow to
                                        see if SUB has been admitted
                                        - keep an eye on a response from SUB or a
 9 CASE    ***NEXT STEPS***             hospital about SUB's admission                    Dina Berik   12/07/2014 5:33PM
                                        Name of the product: Classic Plan

                                        Deposit Date: 07/18/2014
                                        Purchase Date: 10/03/2014
                                        Departure Date: 10/09/2014
                                        Return Date: 01/21/2015


                                        Emergency Medical Transportation $500,000.00

                                        Baggage Coverage $1,000.00
                                        Baggage Delay Coverage $300.00
                                        Change Fee Coverage $250.00
                                        Frequent Traveler/Loyalty Plan
                                        Coverage $250.00
                                        Missed Connection Coverage $800.00
                                        Emergency Medical and Dental $25,000.00
                                        Trip Cancellation Protection
                                        Travel/Trip Delay Coverage $800.00
                                        Trip Interruption Protection

                                        Emergency Medical and Dental benefits are
                                        primary and there is no deductible.
                                        There is a $750 maximum for all covered dental
                                        expenses.

                                        Pre-ex waiver available: N

                                        Purchased within 14 day of deposit: N
           ***VC***VC***VC***VC***VC
10 VC      ***                       Look back dates: 06/05/2014 - 10/03/2014         Dina Berik       12/07/2014 5:46PM
                                     Dr. Lopez contacted AGA with the following
                                     information:
                                     SUB has had a heart attack - came in on 12/07 at
                                     1949
                                     Chest pain has decreased - now stable
                                     Where the SUB is located now, they are unable
                                     to treat him and have no more beds
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 143 of 204


                                      SUB needs to be transported to Los Andes Clinic
                                      for more critical care
                                      Los Andes will not accept SUB until AGA contacts
                                      them with policy information
                                      Admission office is not open at the time of the
                                      call
                                      Can be reached at 9am (2 hr ahead of US)
                                      +56 65 228 9110, 9111, 9316
11 CASE   PH information              Dr. Lopez can be reached +56 65 236 2715         JL Pressley        12/08/2014 12:33AM
                                      Spoke with Don
                                      Advd of the case and the need for transport
                                      Verified he had Dr. Lopez's phone number
                                      Stated he would reach out to Dr for further
12 CASE   Outbound to AGA Nurse       information                                      JL Pressley        12/08/2014 12:41AM

                                      Called inform Rn that a Dr. Lopez called to adv
                                      that pt had MI and will need to be transferred to
                                      other hosp as there is no ICU bed available at
                                      current hosp. CM adv RN that receiving hosp will
                                      not accept pt until billing arranged, billing depart
13 RN     MAS to RN                   not open until 0900. Rn will contact Dr. Lopez.      Don O'Connor   12/08/2014 1:16AM
                                      S/w Dr. Lopez who adv that pt is stable but will
                                      need transfer to other hosp for ICU bed. No beds
                                      availabe at current hosp. Rn asked if pt required
                                      cardiac cath. Dr. Lopez adv that pt will need
                                      cardiac cath at some point but there is no
                                      urgency to be now. Dr. Lopez adv that they are
                                      capable of looking after pt at current location
                                      until can be transferred. Dr. lopez adv that
                                      receiving hosp Los Andes Clinic can send ground
                                      ambulance for pt to be transferred once we have
                                      contacted the hosp.
          RN to TMO Dr. Lopez with    Rn adv will contact hosp in am to arrange billing
14 RN     intrep (662413)             and ground transfer of pt.                        Don O'Connor      12/08/2014 1:22AM

                                      await transfer to Los Andes Clinic for ICU bed
15 RN     RN next steps               MC hosp tx, px, elos, stt/tn                      Don O'Connor      12/08/2014 1:24AM

                                      Don called to s/w JL. AC adv on another call. Don
                                      wanted to ensure we reach out to receiving hosp
                                      first thing this am when they open to arrange
                                      billing with them so sub can be received there.
16 INCL   Don w/AZGA--->AGA           AC adv would do. Thanked.                         Eric Lee          12/08/2014 1:48AM

                                      We need to know hospital that pt is currently at.
                                      Then facility review for both
                                      We need to know type of MI, current status-?
                                      CP, ? SOB -tx: medications/O2?. Blood values-
                                      troponin, etc.
                                      PMH -? pt has any cardiac hx-need to clear pre-
                                      ex
                                      We need to know how far away the receiving
                                      hospital is from current hospital.
                                      Need to review with UVA once we have more
17 RN     RN Review                   information                                       Bergeron,Linda    12/08/2014 8:39AM
                                      Shannon tried this number but did not go
                                      through.
          RN Shannon->CM->Dr. Lopez   CM called the number and conf'd Shannon once
18 INCL   +56 65 236 2715             connected.                                        Yoko Gary         12/08/2014 9:01AM
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                                          RN could not get call to engage to CN 11 #s- US
                                          treid and was able to engage call- s/w ICU nurse
                                          who adv pt has been already transferred to Los
                                          Andes clinic- gave # to there 011 56 65 22 89
           Rn to Dr Lopez, then Los Andes 142. Dr Lopez not there to s/w us.               Mangan,Shanno
19 RN      clinic                         SMRN                                             n             12/08/2014 9:13AM

                                            RN with voiance # 661236 to clinic- no reception
                                            avail- have to pick admitted, then intensive care,
                                            then tried to s/w ICU staff but they could not
                                            hear us. Tried to cb x3 but could not get through.
           RN to Los Andes Clinic 011 56    Need to activate an agent for med info.            Mangan,Shanno
20 RN      65 22 89 142                     SMRN                                               n             12/08/2014 9:16AM

                                            RN requested to activate agent- need facility
                                            review of both hosptials, and initial med info for
           RN to US - need to activate an   pt and pla of care. They will activate now.        Mangan,Shanno
21 RN      agent                            SMRN                                               n             12/08/2014 9:21AM
                                            Interpreter Maggie

                                            TMO Daniela Loeben on the phone, she is
                                            treating the PT.
                                            She is requesting an email for the medical
                                            report: Dani_loeben@yahoo.com
                                            The hosp doesn't provide the invoice before the
                                            PT is discharged.
                                            The name of the Hosp is: "Hospital Base de
                                            Puerto Montt",
                                            The phone number of the Hosp
                                            is:+56.65.490.206

                                            TMO will contact the second hosp to arrange the
                                            transfer.
                                            The phone number of the second Hosp is:
                                            +56.65.228.9142 (front desk).

                                            TMO is requesting to be reach at 2PM Chile time
                                            (+56 65 236 2715)

                                            PT needs to be transfer asap, maybe today.
                                                                                              Laurent
22 OUTCL   AC---> Interpreter--->TMO        PT's phone number is:+56.821.37.350               Beausergent   12/08/2014 10:26AM
                                            Interpreter Maggie

                                            Hospital's front desk: +65.228.9142
                                            Billing departement is closed for the day
                                            (holiday)
                                            Phone number: +65.289.166 or +65.289.112
                                            Contact:Rodriguo Abila

                                            Email address:admissionurgencia@clinicande.cl

                                            Today
                                            Contact:Marly Uribe
                                            Phone number: +65.289.149

                                            Email address is: urgenciaclinandes@gmail.com
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                                           She works until 8PM (chile time)

                                           She stated that the hospital needs AGA letter of
                                           guarantee before any admission. They are able
           AC--->Interpreter--->Hosp los   to receive the PT. She doesn't know a quote for Laurent
23 OUTCL   Andes                           this kind of admission.                          Beausergent   12/08/2014 10:31AM
24 CASE    email address                   .                                                Beausergent   12/08/2014 10:42AM
                                           From: Beausergent, Laurent (Allianz Global
                                           Assistance) On Behalf Of AssistanceGroup
                                           (Allianz Assistance USA)
                                           Sent: Monday, December 08, 2014 10:45 AM
                                           To: 'Dani_loeben@yahoo.com'
                                           Subject: #3196098 _ Boris Antl

                                           Hello Dr Loeben,
                                           Per our conversation, can you send the medical
                                           report regarding this patient:
                                           -Boris Antl
                                           -Date of Birth : 09 November 1945

                                           My email address is:
                                           assistance.group@allianzassistance.com

                                           Thank you very much and I will contact you this
                                           afternoon at 2PM (Chile time).

                                           Cheers
           Email to TMO: Medical report                                             Laurent
25 OUTEM   request                         Laurent Beausergent                      Beausergent           12/08/2014 10:45AM
                                           ________________________________________
                                           _____

                                           From: Mail Delivery Subsystem [mailto:MAILER-
                                           DAEMON@mailgw.allianz.de]
                                           Sent: Monday, December 08, 2014 10:46 AM
                                           To: Beausergent, Laurent (Allianz Global
                                           Assistance)

                                           Subject: Undeliverable: #3196098 _ Boris Antl



                                           Delivery has failed to these recipients or
                                           distribution lists:

                                           Dani_loeben@yahoo.com

                                           An error occurred while trying to deliver this
                                           message to the recipient's e-mail address.
                                           Microsoft Exchange will not try to redeliver this
                                           message for you. Please try resending this
                                           message, or provide the following diagnostic text
                                           to your system administrator.

                                           The following organization rejected your
                                           message: mta7.am0.yahoodns.net.
  Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 146 of 204




                                     Diagnostic information for administrators:

                                     Generating server: mailgw.allianz.de

                                     Dani_loeben@yahoo.com

                                     mta7.am0.yahoodns.net
                                     #<mta7.am0.yahoodns.net #5.0.0 SMTP; 554
                                     delivery error: dd This user doesn't have a
                                     yahoo.com account (dani_loeben@yahoo.com)
                                     [0] - mta1290.mail.bf1.yahoo.com> #SMTP#

                                     Original message headers:


                                     Received: from
                                     SW008410.wwg00m.rootdom.net
                                     (sw008410.wwg00m.rootdom.net
                                     [10.103.111.19] (may be forged)) by
                                     mailgw.allianz.de with ESMTP id sB8FjLEf009760
                                     for <Dani_loeben@yahoo.com>; Mon, 8 Dec
                                     2014 15:45:34 GMT
                                     Received: from
                                     WMUCV481.wwg00m.rootdom.net
                                     ([fe80::144e:cb76:5f3a:aee]) by
                                     SW008410.wwg00m.rootdom.net
                                     ([fe80::7c24:fcdb:3d8e:ff8b%13]) with mapi;
                                     Mon,
                                     8 Dec 2014 16:45:21 +0100
                                     From: "AssistanceGroup (Allianz Assistance
                                     USA)"
                                     <Assistance.Group@allianzassistance.com>
                                     To: "Dani_loeben@yahoo.com"
                                     <Dani_loeben@yahoo.com>
                                     Sender: "Beausergent, Laurent (Allianz Global
                                     Assistance)"

                                     <Laurent.Beausergent@allianzassistance.com>
                                     Date: Mon, 8 Dec 2014 16:45:16 +0100
                                     Subject: #3196098 _ Boris Antl
                                     Thread-Topic: #3196098 _ Boris Antl
                                     Thread-Index:
                                     AdAS/fS9muBQgs4qRKegy+XSdXmmEQ==

                                     Message-ID:
                                     <4A7BCF976C592547BF18ABD47F3C1401AE076
                                     087@WMUCV481.wwg00m.rootdom.net>
                                     Accept-Language: en-US, de-DE
                                     Content-Language: en-US
                                     X-MS-Has-Attach: yes
                                     X-MS-TNEF-Correlator:
                                     acceptlanguage: en-US, de-DE
                                     Content-Type: text/plain               Laurent
26 INEM   Undelivered email to TMO   MIME-Version: 1.0                      Beausergent   12/08/2014 10:51AM
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                        ________________________________________
                        _____

                        From: Mail Delivery Subsystem [mailto:MAILER-
                        DAEMON@mailgw.allianz.de]
                        Sent: Monday, December 08, 2014 10:51 AM
                        To: Beausergent, Laurent (Allianz Global
                        Assistance)

                        Subject: Undeliverable: #3196098 _ Boris Antl



                        Delivery has failed to these recipients or
                        distribution lists:

                        dani_loeben@yahoo.com

                        An error occurred while trying to deliver this
                        message to the recipient's e-mail address.
                        Microsoft Exchange will not try to redeliver this
                        message for you. Please try resending this
                        message, or provide the following diagnostic text
                        to your system administrator.

                        The following organization rejected your
                        message: mta5.am0.yahoodns.net.




                        Diagnostic information for administrators:

                        Generating server: mailgw.allianz.de

                        dani_loeben@yahoo.com

                        mta5.am0.yahoodns.net
                        #<mta5.am0.yahoodns.net #5.0.0 SMTP; 554
                        delivery error: dd This user doesn't have a
                        yahoo.com account (dani_loeben@yahoo.com)
                        [0] - mta1496.mail.gq1.yahoo.com> #SMTP#

                        Original message headers:

                        Received: from
                        SW008343.wwg00m.rootdom.net
                        (sw008343.muc.allianz [10.103.111.7]) by
                        mailgw.allianz.de with ESMTP id
                        sB8FoNkw032146 for
                        <dani_loeben@yahoo.com>; Mon, 8 Dec 2014
                        15:50:35 GMT
                        Received: from
                        WMUCV481.wwg00m.rootdom.net
                        ([fe80::144e:cb76:5f3a:aee]) by
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                                       SW008343.wwg00m.rootdom.net
                                       ([fe80::9d97:acee:1169:b0a5%13]) with mapi;
                                       Mon,
                                       8 Dec 2014 16:50:23 +0100
                                       From: "AssistanceGroup (Allianz Assistance
                                       USA)"
                                       <Assistance.Group@allianzassistance.com>
                                       To: "dani_loeben@yahoo.com"
                                       <dani_loeben@yahoo.com>
                                       Sender: "Beausergent, Laurent (Allianz Global
                                       Assistance)"

                                       <Laurent.Beausergent@allianzassistance.com>
                                       Date: Mon, 8 Dec 2014 16:50:18 +0100
                                       Subject: #3196098 _ Boris Antl
                                       Thread-Topic: #3196098 _ Boris Antl
                                       Thread-Index:
                                       AdAS/qj/7MQvkAG/Qtu72ImpAZrIIQ==

                                       Message-ID:
                                       <4A7BCF976C592547BF18ABD47F3C1401AE076
                                       08B@WMUCV481.wwg00m.rootdom.net>
                                       Accept-Language: en-US, de-DE
                                       Content-Language: en-US
                                       X-MS-Has-Attach: yes
                                       X-MS-TNEF-Correlator:
                                       acceptlanguage: en-US, de-DE
                                       Content-Type: text/plain                 Laurent
27 INEM    Undelivered email to TMO    MIME-Version: 1.0                        Beausergent              12/08/2014 10:51AM
                                       From: Daniela Loebel
                                       [mailto:dani_loebel@yahoo.com]
                                       Sent: Monday, December 08, 2014 11:27 AM

                                       To: AssistanceGroup (Allianz Assistance USA)
                                       Subject: Re: #3196098 _ Boris Antl

                                       hi
                                       i send the mediacl dignosis and threatment
                                       Daniela Loebel dani_loebel@yahoo.com

28 INEM    Email from Daniela Loebel   --------------------------------------------     Sarah Ntouskas   12/08/2014 11:32AM
29 CASE    Cm Notified                 Dina Verbally                                    Sarah Ntouskas   12/08/2014 11:33AM
                                       Interpreter: Salvatore

                                       TMO has contacted the second hospital and they
                                       can receive the PT.


                                       Her email address is: dani_loebel@yahoo.com

                                       Name of the first hospital:
                                       Nuevo Hospital de Puerto Montt

                                       AGA needs to arrange transfer with the second
                                       hospital.
           AC--->Interpreter--->TMO    TMO is requesting to be contacted when it is     Laurent
30 OUTCL   Loebel                      ready.                                           Beausergent      12/08/2014 11:38AM
31 OUTEM   email address               dani_loebel@yahoo.com                            Beausergent      12/08/2014 11:41AM
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                          From: Beausergent, Laurent (Allianz Global
                          Assistance) On Behalf Of AssistanceGroup
                          (Allianz Assistance USA)
                          Sent: Monday, December 08, 2014 11:59 AM

                          To: AZGA-RN <AZGA-RN@allianz-assistance.ca>
                          (AZGA-RN@allianz-assistance.ca)
                          Subject: #3196098

                          Hello
                          We got the medical report in Spanish from the
                          first hospital (CN28).

                          DT Loebel is treating the patient and she told me
                          that the PT needs to be transferred asap.
                          Thanks
                          Laurent
                                                                              Laurent
32 OUTEM   Email to RN    Laurent Beausergent                                 Beausergent   12/08/2014 12:09PM

                          From: AssistanceGroup (Allianz Assistance USA)
                          Sent: Monday, December 08, 2014 12:33 PM
                          To: 'medical@mok.cl'
                          Cc: 'asistenciamok@mok.cl'
                          Subject: Case #3196098


                          Greetings from Allianz Global Assistance USA,

                          With reference to patient listed below:

                          Patient: Boris Antl
                          Diagnosis: Heart Attack
                          Date of Admission: 12/7/14
                          City: Puerto Montt, Chile

                          Date of Birth: 11/08/1945


                          Sending Hospital Details: Hospital Base de Puerto
                          Montt or Nuevo Hospital Puerto Montt
                          TEL: 065 2 362000 / 001 / 338 / 340 / 065 490
                          206 / 065 2 36200 (-1)

                          Treating Doctor: Dr. Daniela Loebel
                          TEL: 065 2 362715

                          Receiving hospital: Clínica Los Andes de Puerto
                          Montt ¿ Mary Uribe (065 2 89149)
                          TEL: 065 2 289193 / 065 2 289142

                          Can you please assist us with the following:

                          - estimate bill for the Sending hospital
                          - for the Receiving Hospital: we need to know
                          the amount of money required to get patient
                          admitted
  Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 150 of 204


                                    - can patient be moved to the receiving hospital
                                    today?
                                    - how much is the transport fee from Sending to
                                    Receiving Hospital
                                    - get updated Medical Report for the patient
                                    - have the patient fill in our Medical Release
                                    Form which we will send to you on a separate
                                    email
                                    - monitor patient¿s care

                                    Thank you for your assistance.

                                    Dina Berik
33 OUTEM   AC --> AGENT             Assistance Coordinator I, USA                        Dina Berik       12/08/2014 12:33PM
                                    AC dialed the interpreter line and interpreter
                                    Uma will be assisting

                                    AC dialed +56 65 228 9110, 9111, 9316 and 65
                                    236 2715 - no response
           AC --> INTERPRETER -->
34 OUTCL   HOSPITAL                 AC thanked Uma and all disconnected                  Dina Berik       12/08/2014 12:41PM
35 OUTCL   AC --> SUB               AC dialed +56.821.37.350 - busy signal               Dina Berik       12/08/2014 12:42PM
                                    From: Mail Delivery Subsystem [mailto:mailer-
                                    daemon@googlemail.com]
                                    Sent: Monday, December 08, 2014 12:34 PM

                                    To: AssistanceGroup (Allianz Assistance USA)

                                    Subject: Delivery Status Notification (Failure)


                                    Hello assistance.group@allianzassistance.com,

                                    We're writing to let you know that the group you
                                    tried to contact (asistenciamok) may not exist, or
                                    you may not have permission to post messages
                                    to the group. A few more details on why you
                                    weren't able to post:

                                    * You might have spelled or formatted the group
                                    name incorrectly.
                                    * The owner of the group may have removed
                                    this group.
                                    * You may need to join the group before
                                    receiving permission to post.
                                    * This group may not be open to posting.

                                    If you have questions related to this or any other
                                    Google Group, visit the Help Center at
                                    http://support.google.com/a/mok.cl/bin/topic.p
                                    y?topic=25838.

                                    Thanks,

36 INEM    Mailer Daemon            mok.cl admins                                        Sarah Ntouskas   12/08/2014 12:54PM
37 CASE    CM notified              Dina verbally of mailer daemon                       Sarah Ntouskas   12/08/2014 12:55PM
                                    From: Rodrigo Urbina
                                    [mailto:rodrigo.urbina@grupomok.com]
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                             Sent: Monday, December 08, 2014 12:40 PM

                             To: AssistanceGroup (Allianz Assistance USA)

                             Cc: medical@mok.cl; asistenciamok@mok.cl
                             Subject: Re: Case #3196098

                             Dear team:

                             We have created a new medical case number
                             2099605. As soon as we get further information
                             we will let you know.

                             Regards.



                             Atte.,

                             RODRIGO URBINA BRIONES
                             Coordinador Asistencia en Viaje



                             Av. El Bosque 90, Piso 13
                             Las Condes, Santiago, Chile
                             Mesa Central: +56(2) 433 4500
                             Directo: +56(2) 433 0000
38 INEM   Email from Agent   medical@grupomok.com                                Sarah Ntouskas   12/08/2014 12:56PM

                             From: AssistanceGroup (Allianz Assistance USA)
                             Sent: Monday, December 08, 2014 12:57 PM
                             To: 'wsanchez@mok.cl'; 'adonoso@mok.cl';
                             'gbesnier@mok.cl';
                             'jose.monsalve@grupomok.com'
                             Subject: Case #3196098


                             Greetings from Allianz Global Assistance USA,

                             With reference to patient listed below:

                             Patient: Boris Antl
                             Diagnosis: Heart Attack
                             Date of Admission: 12/7/14
                             City: Puerto Montt, Chile

                             Date of Birth: 11/08/1945


                             Sending Hospital Details: Hospital Base de Puerto
                             Montt or Nuevo Hospital Puerto Montt
                             TEL: 065 2 362000 / 001 / 338 / 340 / 065 490
                             206 / 065 2 36200 (-1)

                             Treating Doctor: Dr. Daniela Loebel
                             TEL: 065 2 362715
  Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 152 of 204


                           Receiving hospital: Clínica Los Andes de Puerto
                           Montt ¿ Mary Uribe (065 2 89149)
                           TEL: 065 2 289193 / 065 2 289142

                           Can you please assist us with the following:

                           - estimate bill for the Sending hospital
                           - for the Receiving Hospital: we need to know
                           the amount of money required to get patient
                           admitted
                           - can patient be moved to the receiving hospital
                           today?
                           - how much is the transport fee from Sending to
                           Receiving Hospital
                           - get updated Medical Report for the patient
                           - have the patient fill in our Medical Release
                           Form which we will send to you on a separate
                           email
                           - monitor patient¿s care

                           Thank you for your assistance.

                           Dina Berik
39 OUTEM   AC --> AGENT    Assistance Coordinator I, USA                      Dina Berik       12/08/2014 12:57PM

                           From: Mail Delivery Subsystem [mailto:MAILER-
                           DAEMON@mailgw.allianz.de]
                           Sent: Monday, December 08, 2014 12:57 PM

                           To: AssistanceGroup (Allianz Assistance USA)
                           Subject: Undeliverable: Case #3196098



                           Delivery has failed to these recipients or
                           distribution lists:

                           wsanchez@mok.cl


                           The recipient's e-mail address was not found in
                           the recipient's e-mail system. Microsoft
                           Exchange will not try to redeliver this message
                           for you. Please check the e-mail address and try
                           resending this message, or provide the following
                           diagnostic text to your system administrator.

                           adonoso@mok.cl


                           The recipient's e-mail address was not found in
                           the recipient's e-mail system. Microsoft
                           Exchange will not try to redeliver this message
                           for you. Please check the e-mail address and try
                           resending this message, or provide the following
                           diagnostic text to your system administrator.

                           The following organization rejected your
40 INEM    Mailer Daemon   message: aspmx.l.google.com.                       Sarah Ntouskas   12/08/2014 12:59PM
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41 CASE   ***AAMED***                   sent by AC to rodrigo.urbina@grupomok.com          Dina Berik    12/08/2014 1:03PM
                                        Very difficult to translate report - 12/07 pt went
                                        in for cp- oppressive vegatative for 40 min, ecg
                                        showed SDST, thrombolysis given, killip 1, to be
                                        transferred to the Andes for poss angiography.
                                        Pt is hemodyanically stable, enzyme curvee with
                                        positive trops.

                                        63X 124/75 36 | FR 18X SAT 96% O2 2L / MIN
                                        VIGIL GL 15 Clote
                                        ASYMPTOMATIC IDLE
                                        PERFUNDICO well hydrated.
                                        NECK JUGULAR NEGATIVE
                                        CARDIAC RR2TSS
                                        SRA MP + BILAT PULM
                                        ABD BDIRHA + BLUMBERG-
                                        TIPS WITHOUT SIN SG EDEMA OF DVT
                                        INDICATIONS:
                                        1 ABSOLUTE REST semisitting
                                        2 SYSTEM ZERO
                                        3 O2 2L / MINUTE
                                        4 PHYSIOLOGICAL SERUM 84ML / H
                                        5 RANITIDINE 50MG / 8H EV
                                        6 Clopidogrel 75mg / DAY VO
                                        7 ACIDOACETILSALICILICO 250MG / DAY VO
                                        8 ATORVASTATIN 80MG / DAY VO
                                        Fragmin September 7500 SC / 12H
                                        10 CURVE ENZYME AND ECG
                                        11 MONITORING.
                                        CONTROL 12 SOS.

                                        Currently awaiting transfer to clinical Andes.
                                        It was reported to appropriate insurance.

                                        Phone hospital emergency homeport Montt:
                                        0652652715.
                                        UCI Phone 0652289361 Andes clinical medical
          RN reviewed google translated resident Dr. Perez                                 Mangan,Shanno
42 RN     med report                    SMRN                                               n             12/08/2014 1:09PM
                                        From: Rodrigo Urbina
                                        [mailto:rodrigo.urbina@grupomok.com]
                                        Sent: Monday, December 08, 2014 1:10 PM

                                        To: AssistanceGroup (Allianz Assistance USA)

                                        Cc: medical@mok.cl; asistenciamok@mok.cl
                                        Subject: Re: Case #3196098

                                        Dear team:

                                        We spoke with the Receiving Clinic and they gave
                                        us the following amounts:


                                        -Ambulance: 60.000 Chilean pesos (=98.28 USD)
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                                         -Admission Day at Clinic (without drugs) 580.000
                                         Chilean pesos (=950.04 USD)

                                         If you approve these amounts we can place a
                                         GOP for the transportation of the patient for the
                                         total amount 1048.32 USD (=640.000 chilean
                                         pesos).


                                         The patient needs a medical procedure within
                                         the next two hours. Please let us know as soon
                                         as possible if wwe can arrange the ambulance.

                                         Regards.




                                         Atte.,

                                         RODRIGO URBINA BRIONES
                                         Coordinador Asistencia en Viaje



                                         Av. El Bosque 90, Piso 13
                                         Las Condes, Santiago, Chile
                                         Mesa Central: +56(2) 433 4500
                                         Directo: +56(2) 433 0000
43 INEM   Email from Agent               medical@grupomok.com                               Sarah Ntouskas   12/08/2014 1:13PM
44 CASE   CM Notified                    Dina verbally                                      Sarah Ntouskas   12/08/2014 1:13PM
                                         City is not on marco polo
                                         Information on internet all in spanish -some sites
                                         blocked.

45 RN     RN facility review-sending hosp Unable to determine capabilites of sending hosp Bergeron,Linda     12/08/2014 1:13PM
          AAMED sent one more time to                                                     Laurent
46 CASE   Nuevo Hospital                  dani_loebel@yahoo.com                           Beausergent        12/08/2014 1:34PM
                                          Discussed case with him. Adv'd we only just
                                          found out name of hosp today and dr is
                                          recommending transfer to clinica Los Andes de
                                          Puerto Montt for cardiac cath.
                                          Pt admitted with opressive cp yesterday.
                                          Adv'd EKG reading. TMo recommending trans for
                                          angiography.
                                          We have activated our agent as well, but no
                                          reply from them yet.
                                          Dr. Syverud agreed pt requires ground
47 MD     1325. Dr. Syverud UVA>RN dept ambulance transfer for cardiac cath.              Bergeron,Linda     12/08/2014 1:38PM
                                          Interpreter: Salvatore

                                         Tried 10 different phone numbers.

                                         "Informaciones" phone number:
                                         +56.65.2.362715
                                         Transfer to TMO Loebel. She said that we cannot
                                         speak with the PT. He is waiting to be transfered
                                         to the second facility.
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                                             TMO said that the direct line is +56.65.2.652.715


           AC--Interpreter--->Hosp (Nuevo TMO stated that she didn't get the AAMED for           Laurent
48 OUTCL   Hospital)                      the PT. AC stated that he will send it out now.        Beausergent      12/08/2014 1:40PM
                                          STT TO Los Andes Clinic via Ground Amb for ICU
                                          bed and cardiac cath.

                                             Sending hosp does not have available ICU beds
                                             and wishes pt to have cath today if possible.
           HANDOFF FOR TRANSPORT             Discussed w/UVA: Dr. Syverud who is in
49 RN      ARRANGEMENTS                      agreement with ground ambulance transfer.           Bergeron,Linda   12/08/2014 1:42PM
50 RN      PT CLEARS PRE-EX                  S&U-AS PER MED REPORT-NO HX.                        Bergeron,Linda   12/08/2014 1:44PM
           RN medically recommend
51 GC      ground amb trans to 2nd           /                                                   Bergeron,Linda   12/08/2014 1:45PM
           RN medically recommend cov
52 GC      for inpt stay 12/07-12/08 1st     /                                                   Bergeron,Linda   12/08/2014 1:46PM
           RN medically recommend cov
53 GC      for inpt stay at receiving hosp   /                                                   Bergeron,Linda   12/08/2014 1:46PM
                                             AC spoke to RN Debbie and then RN Linda

                                             AC explained the Agent's request

                                             RN Linda put CNs in the case

54 OUTCL   AC --> RN                         Both thanked and disconnected                       Dina Berik       12/08/2014 1:48PM

                                             RN with voiance # 661652- RN called to all 7 #s
                                             for the hosp and Dr Loebel but all rang until hung
                                             up, RN then called to the receiving hosp- Dr
                                             Perez- the Dr comes on the line but she can't
           RN with voiance # 661652-to       hear the interpretor. Had to abandon call.         Mangan,Shanno
55 RN      sending and rec hosps             SMRN                                               n             12/08/2014 1:52PM
                                             Calling to find out if AGA has received the emails
                                             with the rates for the hospital
                                             Please email back -
                                             medical@mok.cl or medical@grupomok.cl

                                             Easier to email than to call

                                             They are looking for GCL                           Sharon
56 INCL    Rafael -->> AGA                   Both thanked.                                      Turkelson     12/08/2014 1:58PM
                                             RN requesting to be conferenced into the call
                                             when CM is speaking with Dr Loebel- as RN has
                                             not been successful- CM advised it is not possible
                                             as when he and interpretor and Dr are on line- A
           RN requesting to be               4TH CANT be conferenced into the
           conferenced into the call with    converstation.                                     Mangan,Shanno
57 RN      Laurent CM                        SMRN                                               n             12/08/2014 2:04PM

                                             From: AssistanceGroup (Allianz Assistance USA)
                                             Sent: Monday, December 08, 2014 2:05 PM
                                             To: 'medical@mok.cl'
                                             Subject: case 3196098

                                             Good afternoon,
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                                           We have received your emails ¿ we will be in
                                           touch with you shortly with confirmation.

                                           Best Regards,

                                           Sharon Turkelson                                  Sharon
58 OUTEM   AGA email -->>                  Assistance Coordinator                            Turkelson      12/08/2014 2:05PM
           CM checked the distance         CM checked the distance between CURLO and
           between CURLO and next          next hospital
59 CASE    hospital                        514 km, 9 hours 31 mins by ground                 Zhou,Valerie   12/08/2014 2:08PM
           CM sr. Kim approves ground      CM sr. Kim approves ground ambulance $100
60 AU      ambulance $100 USD              USD                                               Zhou,Valerie   12/08/2014 2:16PM

                                           From: AssistanceGroup (Allianz Assistance USA)
                                           Sent: Monday, December 08, 2014 2:20 PM
                                           To: 'Rodrigo Urbina'

                                           Cc: medical@mok.cl; asistenciamok@mok.cl
                                           Subject: RE: Case #3196098

                                           Thank you for your email. I am working on this.
                                           Could you please provide me with the receiving
                                           clinic¿s address and the amount of time that it
                                           will be to get there?



           Might not be the correct        Sincerely,
           hospital listed in interested
61 OUTEM   parties/ emailed agent         Valerie Zhou                                       Zhou,Valerie   12/08/2014 2:19PM
                                          +56-652-652-715 busy signal 2xs
                                          +56-652-61100 recording said that this number
                                          is not working
           CM tried to reach sub to       +56-652-715 does not go through
62 OUTCL   explain benefits               +56-652-652-61100 does not go through              Zhou,Valerie    12/08/2014 2:25PM
63 CASE    #1 (ground)                    audit prepared for treatment #1 (ground)           Zhou,Valerie    12/08/2014 2:32PM
64 CASE    2 (2nd hosp)                   audit prepared for treatment # 2 (2nd hosp)        Zhou,Valerie    12/08/2014 2:33PM
65 CASE    **reassigned case to Valerie** /                                                  Mary Ann Fraser 12/08/2014 2:34PM
                                          Confirm distance to second hospital
                                          Send GCLs the agent for the transport and 2nd
                                          hospital
                                          Does the first hospital need a GCL?
                                          Explain benefits to sub

                                           Obtain passport info, height, weight for later
                                           Obtain existing ticket info for later
                                           Confirm if he is traveling alone
                                           Review for companion to bedside if he meets
                                           T&C
                                           Obtain aameds
                                           Confirm if there is any other insurance
66 CASE    *** CM next steps ***           EMTT Summary for evac                             Zhou,Valerie   12/08/2014 2:41PM

                                           From: Raphael Hormazabal
                                           [mailto:raphael.hormazabal@grupomok.com]
                                           Sent: Monday, December 08, 2014 2:35 PM

                                           To: AssistanceGroup (Allianz Assistance USA)
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                                            Cc: Rodrigo Urbina; medical@mok.cl;
                                            asistenciamok@mok.cl
                                            Subject: Re: Case #3196098

                                            Dear Colleagues

                                            The reciving clinic is in Avenida Bella Vista, 123,
                                            Puerto Montt, Los Lagos. It would take
                                            approximately 35 minutes from where Mr. Boris
          Email from the agent - clarifying is right now.
          the address (not the one that I
67 INEM   thought)                        Best regards                                            Zhou,Valerie   12/08/2014 2:50PM
68 CASE   to send GCLs                    Reviewed with CM sr Kim - ok to send GCLs               Zhou,Valerie   12/08/2014 2:51PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Monday, December 08, 2014 2:55 PM
                                            To: 'Raphael Hormazabal'
                                            Cc: Rodrigo Urbina; medical@mok.cl;
                                            asistenciamok@mok.cl
                                            Subject: RE: Case #3196098


                                            Thank you. We accept our assistance and would
                                            like for you to tell the hospital that they can
                                            proceed with the ground ambulance. I have
                                            attached our guarantee letter for this.


                                            We are also sending you the guarantee letter for
                                            the receiving hospital. I have attached this here.
                                            We are sending the guarantee for $2500.00 USD.
                                            We may extend for more money once we see
                                            how long the patient will be in the hospital.

                                            Please confirm receipt of the attachments and
                                            our email. Please confirm what time will the
                                            patient be picked up and taken to the receiving
                                            hospital.

                                            Thank you.



                                            Sincerely,


          Emailed the agent - this is a GO - Valerie Zhou
          manually attached GCL              Assistance Coordinator II, USA
69 GC     treatment 1 & 2                    Collect: 804-673-1173                                Zhou,Valerie   12/08/2014 2:54PM

                                            Bienvenidos a Clínica Los Andes Puerto Montt
                                            www.clinandes.cl/¿CachedSimilar
                                            Avenida Bella Vista, 123, Puerto Montt, Los
                                            Lagos, Chile
70 EMTT   Receiving Hospital Info           +56 65 228 9193                                       Zhou,Valerie   12/08/2014 2:57PM

                                            Called agent using phone number from CN 43
                                            +56(2) 433 4500 rang without answer

                                            +56(2) 433 0000 rang and then disconnected
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           CM tried to reach agent to
71 OUTCL   confirm transport details      +56(2) 2433 0000 phone number does not work Zhou,Valerie         12/08/2014 4:26PM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Monday, December 08, 2014 4:28 PM
                                          To: 'Raphael Hormazabal'
                                          Cc: 'Rodrigo Urbina'; 'medical@mok.cl'
                                          Subject: RE: Case #3196098

                                          Please confirm that you received the attached
                                          email. Please let us know if you have questions
                                          and keep us updated.



                                          Sincerely,

                                          Valerie Zhou
           Emailed the agent again        Assistance Coordinator II, USA
           (attached CN 69) and asked for Collect: 804-673-1173
72 OUTEM   update                         Fax: 804-673-1510                                 Zhou,Valerie   12/08/2014 4:27PM
                                          From: Rodrigo Urbina
                                          [mailto:rodrigo.urbina@grupomok.com]
                                          Sent: Monday, December 08, 2014 4:33 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Cc: Raphael Hormazabal; medical@mok.cl;
                                          asistenciamok@mok.cl
                                          Subject: Re: Case #3196098

                                          Dear team:

                                          We have placed the GOP at the Clinica los Andes
                                          and the y confirm the coordination of the
                                          ambulance. As soon as we get more information
                                          we will let you know.

                                          Regards.



                                          Atte.,

                                          RODRIGO URBINA BRIONES
                                          Coordinador Asistencia en Viaje



                                          Av. El Bosque 90, Piso 13
                                          Las Condes, Santiago, Chile
                                          Mesa Central: +56(2) 433 4500
           Email from the agent - email   Directo: +56(2) 433 0000
73 INEM    rcvd                           medical@grupomok.com                              Zhou,Valerie   12/08/2014 4:47PM
                                          CSA at the 2nd hospital
                                          EMTT Summary for evac
                                          Does the first hospital need a GCL?
                                          Explain benefits to sub once he is at the 2nd
                                          hospital
                                          Confirm if he is traveling alone
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                                            Confirm if there is any other insurance
                                            Obtain aameds

                                            Obtain passport info, height, weight for later
                                            Obtain existing ticket info for later
                                            Review for companion to bedside if he meets
74 CASE    ** CM next steps **              T&C                                                    Zhou,Valerie     12/08/2014 4:48PM
75 CASE    Rn review case                   .                                                      Don O'Connor     12/08/2014 7:19PM
           MAS-Troy---------> Clinica Los
76 OUTCL   Andres 011 56 65 228 9193        Line rang a long time then disconnected.               Troy Wells       12/08/2014 9:35PM

                                         EMAIL agent for med update-pt transferred to
77 RN      RN NEXT STEPS                 another facility yesterday for cath/icu bed.              Bergeron,Linda   12/09/2014 8:07AM
           8:10am CM >> Rcvng +56 65
78 OUTCL   228 9193 - 3 attempts made to fast busy signal                                          Karla Muroski    12/09/2014 8:11AM
                                         # found on web site :
           8:19am CM > Clinica Los Andes http://www.clinandes.cl/index.php/servicio-
           Puerto Montt Informaciones    hospitalizacion
79 OUTCL   065 2289132                   fast busy signal                                          Karla Muroski    12/09/2014 8:25AM
                                         # found on web site :
                                         http://www.clinandes.cl/index.php/servicio-
                                         hospitalizacion
                                         CM sw male in ICU - who could not find sub; he
                                         transferred to ER

           8:20 am CM > Clinica Los Andes CM s/w Jenny who said sub is not in this
           Puerto Montt Central           department, she also checked other possible
80 OUTCL   Telefónica 065 2289142         departments but did not find the patient                 Karla Muroski    12/09/2014 8:27AM
                                          fast busy signal
81 OUTCL   8:42am CM BU+56(2) 433 0000 2 attempts made                                             Karla Muroski    12/09/2014 8:42AM
           8:43 am CM >> PT's phone
82 OUTCL   number is:+56.821.37.350       fast busy signal                                         Karla Muroski    12/09/2014 8:43AM
83 OUTCL   CM >> SUB 510/735-6462         lm on vm                                                 Karla Muroski    12/09/2014 8:44AM
           8:46am & 8:55am CM >>
84 OUTCL   Hospital Base de Puerto Montt the code dialed does not exist                            Karla Muroski    12/09/2014 8:55AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Tuesday, December 09, 2014 9:01 AM
                                            To: 'Rodrigo Urbina'
                                            Cc: Raphael Hormazabal; medical@mok.cl;
                                            asistenciamok@mok.cl
                                            Subject: RE: Case #3196098 * URGENT *
                                            Importance: High

                                            Dear Mr. Urbina,

                                            Would you please be so kind to provide us with
                                            an update on this medical transport as soon as
                                            possible?
                                            Was this patient transferred? Would you please
                                            provide us with a medical update?


           CM >> BU [requesting urgent      Thank you very much for your assistance.
           update on transport / med
85 OUTEM   update]                          Karla Muroski                                          Karla Muroski    12/09/2014 9:02AM
                                            /b # 56 821 373 50

                                            Sub said he's still at the first hospital. Sub tried
                                            calling aga, e-mailing aga but no response.
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                                           CM relayed that we did try calling your cell but it
                                           does not go thru.
                                           Sub said lines are not great in Chile.
                                           CM needs to review case and call sub back.
                                           If sub does not receive a call within 30 min, CM
86 INCL    9am Sub->AGA                    asked sub to call aga.                              Yoko Gary      12/09/2014 9:17AM
                                           From: David Jara
                                           [mailto:david.jara@grupomok.com]
                                           Sent: Tuesday, December 09, 2014 9:04 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Cc: Rodrigo Urbina; Raphael Hormazabal;
                                           medical@mok.cl
                                           Subject: Re: Case #3196098 * URGENT *

                                           Dear colleagues:

                                           The trasnfer is still in process and once done
                                           we'll let you know.
           BU >> AGA [ transport is still in
87 INEM    process - no details ]            Best regards                                     Karla Muroski   12/09/2014 9:18AM
           9:24am CM>> BU+56(2) 433          unable to connect
88 OUTCL   0000                              3 attempts made                                  Karla Muroski   12/09/2014 9:29AM
                                             CM s/w David who adv will call Clinica Los Andes
                                             who is making transport arrangements to find
                                             out details. He will notify us as soon as he has
                                             info. via e-mail.
                                             He also confirmed that GCL was sent to hospital
                                             already

           9:27am CM >> BU +56             CM adv this is an URGENT request and need to
89 OUTCL   224334734                       know why the patient has not been transported. Karla Muroski       12/09/2014 9:31AM
90 OUTCL   373 50                          fast busy signal                               Karla Muroski       12/09/2014 9:35AM
                                           From: David Jara
                                           [mailto:david.jara@grupomok.com]
                                           Sent: Tuesday, December 09, 2014 9:43 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Cc: Rodrigo Urbina; Raphael Hormazabal;
                                           medical@mok.cl
                                           Subject: Re: Case #3196098 * URGENT *

                                           Estimados colegas:


                                           Tomamos contacto con la clínica los Andes y su
                                           ambulancia ya esta retirando el cliente en estos
                                           momentos del hospital base de Puerto Montt.


                                           Según nos informa la clínica,este traslado se
                                           debía hacer ayer, pero no existió respuesta del
                                           hospital para confirmar el traslado.

                                           Una vez recepcionando el primer IM se lo
                                           enviaremos.

                                           Saludos cordiales cordiales
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                                          2014-12-09 11:04 GMT-03:00 David Jara
                                          <david.jara@grupomok.com>:
                                          Dear colleagues:

                                          The trasnfer is still in process and once done
                                          we'll let you know.
          BU >> AGA [ SUB is being pu
91 INEM   from Hosp Base at this time]    Best regards.                                      Karla Muroski    12/09/2014 10:13AM
                                          Provider Request was Denied.
92 PNRD   Provider Request Decision       The denial reason is: 11897 Reactivated            Sarah Ntouskas   12/09/2014 10:15AM
                                          Provider Request was approved by: SSCHMIRL,
93 PNRD   Provider Request Decision       Scan date: , Document page:                        Sarah Ntouskas   12/09/2014 10:24AM
                                          Provider Request was approved by: SSCHMIRL,
94 PNRD   Provider Request Decision       Scan date: , Document page:                        Sarah Ntouskas   12/09/2014 10:28AM
                                          Dr. Denis Crunk
                                          760-934-2551
95 CASE   **PCP ***                       Mammoth Lake Hospital                              Myra Kovacs      12/09/2014 10:39AM
                                          thru tests..TMO advised sub that he will probably
                                          be staying in the hospital for up to 5 day, but
                                          depending on recovery it may only be 3days. CM
                                          advised will continue to monitor and cb soon as
                                          we have stt. Sub questioned regards his flights as
                                          he was to return in Jan 2015. CM advised the
                                          airline will need to be notified prior to original
                                          return date in order to use for future tvl. CM
                                          advised our hands our tied until we have stt from
                                          TMO. Sub question hospitals near home
                                          residence that have cardio. CM advised...if TMO
                                          feels that he will need to be readmitted then
                                          ...family is responsible to confirm bed, but
                                          advised sub all is depending on his recovery and
                                          what TMO feels is necessary. CM advised ...sub's
                                          PCP can also assist if needed. CM also went over
                                          repat w/escort and that it would be door to
                                          door, but again all depending on TMO decision.
                                          Sub understood. Sub would like for us to ctc
                                          Mammoth hospital just to check if they have a
                                          cardio unit. CM advised will do. Sub questioned
                                          cruise reimbursement. CM advised unable to
                                          confirm claim over the phone, but will conf
                                          w/TCS. Sub wanted to be conf w/TCS....conf
                                          w/TCS Ms. Joy....she pulled policy, but policy
                                          provided expired. Ms. Joy found an existing
                                          policy of #US03427363. CM thanked for
          Sub>MAUSA>arrived at 2nd        information and will update existing policy
          hosp Clínica Los Andes Puerto   attachment. Sub stated the best way to ctc him
96 INCL   Montt>3rd floor                 back is thru hosp or email. CM released call       Myra Kovacs      12/09/2014 11:19AM
                                          Sent: Tuesday, December 09, 2014 11:46 AM
                                          To: 'AZGA RN'
                                          Subject: Medical Case #3196098
                                          Morning Team,

                                          Just an FYI¿sub just called in and advised ¿just
                                          admitted about 15min ago to new hospital
                                          location (Clínica Los Andes Puerto Montt). Sub
                                          advised may be in the hospital for up to 5 days.
                                          Sub advised he is on the 3rd floor.
          CM >Emailed AZGA >sub           Thanks,
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97 OUTEM   advised at new hospital        Myra Kovacs                                          Myra Kovacs      12/09/2014 11:46AM

                                          CM ctc hosp per sub's request and verify if they
                                          have a cardio unit. Hosp rep advised they don't,
                                          but have a doctor come from Reno, NV once a
                                          month. She stated they would normally refer
           CM -->Mammoth Hospital, CA     clients to Renown Hospital located in Reno, NV
98 OUTCL   >per sub rqst                  that is 3 hours away.                                Myra Kovacs      12/09/2014 11:54AM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Tuesday, December 09, 2014 2:16 PM
                                          To: 'David Jara'
                                          Cc: Rodrigo Urbina; Raphael Hormazabal;
                                          medical@mok.cl
                                          Subject: RE: Case #3196098

                                          Hola David,

                                          Muchas gracias por toda tu ayuda!

                                          El paciente nos confirmó hace 3 horas que él
                                          está en la Clinica Los Andes.

                                          Por favor podrían aydarnos a envia el documento
                                          anexo a la Clinica? El paciente debe completar
                                          estos formatos.
                                          Una vez que esten completos favor de enviarlos
                                          de regreso a nuestra oficina.

                                          Saludos cordiales,
           CM >BU[attached AAMEDs
           request assistance / sub
99 OUTEM   notified us he arrived to rcvgn] Karla Muroski                                      Karla Muroski    12/09/2014 2:16PM
                                            From: AZGA RN [mailto:azga-rn@allianz-
                                            assistance.ca]
                                            Sent: Tuesday, December 09, 2014 4:10 PM
                                            To: medical@mok.cl
                                            Cc: 'asistenciamok@mok.cl'

                                          Subject: Case # 3196098 Your Case # 2099605
                                          Importance: High

                                          Greetings,

                                          Would you be able to obtain a medical update
                                          for us now that pt has been transferred to Clinica
                                          Los Andes?
                                          Patient: Boris Antl

                                          Sincerely,

                                          Linda Bergeron
                                          SRRN Case Manager
100 RN     RN EMAILED MAG AGENT:          Medical Department                                   Bergeron,Linda   12/09/2014 4:10PM
                                          RN emailed Agent for med update now that pt
                                          has been transferred to another facility.
101 RN     RN NEXT STEPS                  AW reply                                             Bergeron,Linda   12/09/2014 4:11PM
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102 MED    Medrx in file                .NEEDS translation please                          Groves,Deborah 12/09/2014 8:42PM
103 MED    Rn adv Mausa medrx in file   REQ translation please dyg rn                      Groves,Deborah 12/09/2014 8:43PM
                                        From: David Jara
                                        [mailto:david.jara@grupomok.com]
                                        Sent: Tuesday, December 09, 2014 2:36 PM

                                        To: AssistanceGroup (Allianz Assistance USA)
                                        Cc: Rodrigo Urbina; Raphael Hormazabal;
                                        medical@mok.cl
                                        Subject: Re: Case #3196098

                                        Estimados colegas:

                                        La clínica esta pidiendo confirmación de
                                        presupuesto por $ 5.268.666 - 8600 USD ya que
                                        necesita múltiples procedimientos según el
                                        equipo medico de la clínica.


                                        Adjuntamos información enviada por la clínica.
           Email from Hosp w/att hosp
104 INEM   invoice                      Favor informar como proceder.                      Troy Wells      12/09/2014 8:45PM
                                        From: AZGA-RN [mailto:AZGA-RN@allianz-
                                        assistance.ca]
                                        Sent: Tuesday, December 09, 2014 8:44 PM

                                        To: AssistanceGroup (Allianz Assistance USA)
                                        Subject: FW: Case # 3196098 Your Case #
                                        2099605 (Thread:812954)

                                        Hello attached in case is the medrx ¿ however it
                                        should be translated
                                        thank you
           AZGA--->AGA ** Med Report
105 INEM   Translation request **       Deborah Young-Groves                               Walter Rebola   12/09/2014 9:09PM
                                        Sent to: agaassistance@sajan.com;

                                        CC's to: assistance.group@allianzassistance.com
                                        Sent and Signed by:
                                        assistance.group@allianzassistance.com
                                        On: December 09, 2014 at: 21:21:27 (Eastern
                                        Standard Time)
                                        Subject: Case 3196098 Spanish Translation
                                        needed

                                        - Allianz Dept: Assistance
                                        - Case Number:3196098
                                        - Source Language: Spanish
                                        - Target Language: English
                                        - Number of Pages: 1
                                        - Requested Delivery Date: 12/10/14
                                        - Medical Linguist needed: _x____ Yes ______
                                        No
                                        - Assistance Urgent Request: _____ Yes ____x__
           CM--->SAJAN * Translation    No
106 TRSL   request 1 page **            - Additional Notes:                            Walter Rebola       12/09/2014 9:23PM
                                        -----Original Message-----
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                                           From: agaassistance@sajan.com
                                           [mailto:agaassistance@sajan.com]

                                           Sent: Wednesday, December 10, 2014 12:42 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Subject: ZIX: RE: Case 3196098 Spanish
                                           Translation needed

                                           -----------------------------------------------------------

                                           The attached file is a ZixMail message.

                                           MS-Outlook users - click the red "Z" on the
                                           toolbar above to open.

                                           Lotus Notes users - click the "Read ZixMail"
                                           button above to open.

                                           Others - open the attached .zix file by clicking or
                                           double clicking it.
                                           -----------------------------------------------------------

                                           -----Original Message-----
                                           From: agaassistance@sajan.com
                                           [mailto:agaassistance@sajan.com]

                                           Sent: Wednesday, December 10, 2014 12:42 AM

                                           To: assistance.group@allianzassistance.com
                                           Subject:

                                           Dear Assistance team,

                                           We confirm safe receipt of this request and
                                           estimate 300 words for this translation. We will
                                           deliver by 10th Dec.


           SAJAN >> AGA [ confirmed rcpt Best,
107 TRSL   rqst - will deliver by 12/10/14] Trina                                            Karla Muroski    12/10/2014 7:23AM
                                            Med report rec'd and aw translation today. RN to
108 RN     RN NEXT STEPS                    review.                                          Bergeron,Linda   12/10/2014 7:52AM
                                            From: David Jara
                                            [mailto:david.jara@grupomok.com]

                                           Sent: Wednesday, December 10, 2014 7:18 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Cc: Rodrigo Urbina; Raphael Hormazabal;
                                           medical@mok.cl
                                           Subject: Re: Case #3196098

                                           Estimados colegas:

                                           La clínica Los Andes esta consultando por la
                                           aprovacion del presupuesto enviado por
                                           atención de su cliente.
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                                           Favor informar si autorizaran el monto.

                                           Saludos cordiales.

                                           2014-12-09 16:35 GMT-03:00 David Jara
                                           <david.jara@grupomok.com>:
                                           Estimados colegas:

                                           La clínica esta pidiendo confirmación de
                                           presupuesto por $ 5.268.666 - 8600 USD ya que
                                           necesita múltiples procedimientos según el
                                           equipo medico de la clínica.


                                           Adjuntamos información enviada por la clínica.

109 INEM    Email from HOSP requesting gcl Favor informar como proceder.                        Sarah Ntouskas   12/10/2014 8:15AM

                                           From: AssistanceGroup (Allianz Assistance USA)

                                           Sent: Wednesday, December 10, 2014 10:15 AM
                                           To: 'David Jara'
                                           Cc: Rodrigo Urbina; Raphael Hormazabal;
                                           medical@mok.cl
                                           Subject: RE: Case #3196098


                                           We have sent the medical report to translations;
                                           once the report is translated, we will review the
                                           report to confirm that we can extend the
                                           guarantee letter. I will keep you updated.



                                           Sincerely,
            Emailed our agent to advise
            that we will review once the   Valerie Zhou
110 OUTEM   translation is complete        Assistance Coordinator II, USA                       Zhou,Valerie     12/10/2014 10:14AM

                                           From: AssistanceGroup (Allianz Assistance USA)

                                           Sent: Wednesday, December 10, 2014 10:18 AM
                                           To: 'David Jara'
                                           Cc: 'Rodrigo Urbina'; 'Raphael Hormazabal';
                                           'medical@mok.cl'
                                           Subject: RE: Case #3196098

                                           We also require that the patient fill out and sign
                                           the attached release form.
                                           Could you assist with getting this to the hospital
                                           to give to the patient?



                                           Sincerely,

                                           Valerie Zhou
            Emailed the agent with a blank Assistance Coordinator II, USA
111 OUTEM   aamed form                     Collect: 804-673-1173                                Zhou,Valerie     12/10/2014 10:18AM
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                                           Renown Hospital
                                           901 E 2nd St Ste 307, Reno, NV 89502
112 CASE    Possible Rcvd bed for later    Phone: (775) 982-4100                             Zhou,Valerie   12/10/2014 10:19AM
                                           Case Number: 3196098
                                           From: Puerto Montt, Chile
                                           To: Puerto Montt, Chile
                                           Date of Transport: 12/09/2014
                                           Type: EVAC
                                           Mode: GT

                                           Pathology: Cardiology
                                           Sub¿s Age: 69

                                           Total Cost of Transport: $100.00
                                           Total Covered Amount/Payer (AGA Pays):
                                           $100.00/AGA
                                           Total Amount Paid by Sub/TC: 0

                                           Mgt Approval: CN 60/Kim
                                           MD Approval: CN 47/Dr. Syverud
                                           CM Benefit Verification: CN 10/Dina
                                           Benefit Level:

                                           Emergency Medical Transportation: $500,000.00
                                           Emergency Medical and Dental: $25,000.00
                                           Trip Cancellation Protection: 0
                                           Trip Interruption Protection: 0

                                           Notes: Agent and the hospital assisted with the
113 EMTT    EMTT Summary - ground          arrangements                                      Zhou,Valerie   12/10/2014 10:26AM
                                           Debra at TCS was going to transfer a call to CM
114 INCL    Sub-.>AGA                      but the line was disconnected.                    Yoko Gary      12/10/2014 10:40AM
                                           GCL extension for 2nd hospital
                                           Obtain aameds
                                           Does the first hospital need a GCL?
                                           Confirm if there is any other insurance
                                           Confirm why he is traveling to country

                                           Obtain passport info, height, weight for later
                                           Obtain existing ticket info for later
                                           Confirm if he is traveling alone and review for
115 CASE    *** CM next steps ***          companion to bedside if he meets T&C              Zhou,Valerie   12/10/2014 10:41AM

116 OUTCL   CM->Sub's cell: N/a            line does not go thru. got fast pitch busy signal Yoko Gary      12/10/2014 10:44AM
                                           Sub questioned regards release of medical
                                           forms, as he has not yet rcvd. Sub advised to
                                           send AAmes via his email. CM advised for every
                                           new facility a new release form will need to be
                                           signed. CM sent AAmeds via his personal email
            Sub at Hosp +56 65 228 9361 -- boris_antl@yahoo.com. Sub did rcv and will print
117 INCL    >MAUSA                         and fill out.                                     Myra Kovacs    12/10/2014 10:56AM
                                           From: David Jara
                                           [mailto:david.jara@grupomok.com]

                                           Sent: Wednesday, December 10, 2014 10:33 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
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                                            Cc: Rodrigo Urbina; Raphael Hormazabal;
                                            medical@mok.cl
                                            Subject: Re: Case #3196098

                                            Dear colleagues:

                                            We'll proceed to send the attached file to the
                                            clinic to forward to the client.

118 INEM    Email from Agent                Best regards.                                        Sarah Ntouskas   12/10/2014 11:01AM

                                            From: AssistanceGroup (Allianz Assistance USA)

                                            Sent: Wednesday, December 10, 2014 12:12 PM
                                            To: 'boris_antl@yahoo.com'
                                            Subject: Allianz Assistance case 3196098

                                            Hello Mr. Antl,

                                            I wanted to introduce myself; I am assigned to
                                            your case while you are in the hospital. I am
                                            sorry to hear what happened and I hope you
                                            make a full recovery. Are you traveling alone or
                                            there visiting someone?




                                            When you left the first hospital, did they require
                                            any payment from you? I am just trying to
                                            confirm what assistance may be needed there. I
                                            also saw where you spoke with my co-worker
                                            Myra about the benefits on the policy and about
                                            getting home. If we do assist with helping you
                                            get home, I wanted to let you know that we will
                                            need to get your passport information (name the
                                            way it is listed, your passport number, date of
                                            birth listed, and the date issued and expired)
                                            plus your existing ticket information (the airline
                                            name, confirmation, and method of purchase
                                            such as credit or frequent flyer miles). You are
                                            welcome to email this to us when you have time.

                                            Please let me know if you have any questions
                                            about filling out the release form. You can send
                                            back by email or fax.

                                            Thank you!

                                            Sincerely,

                                            Valerie Zhou
119 OUTEM   Emailed sub to introduce self   Assistance Coordinator II, USA                       Zhou,Valerie     12/10/2014 12:12PM
120 CASE    $499,900                        Remaining transport benefit $499,900                 Zhou,Valerie     12/10/2014 12:13PM
                                            From: Allianz Global Assistance
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                                          To: SecureEmailReply@zixmessagecenter.com;
                                          AGAassistance; AssistanceGroup (Allianz
                                          Assistance USA)
                                          (Assistance.Group@allianzassistance.com)

                                          Subject: RE: Case 3196098 Spanish Translation
                                          needed - Translated Delivery file
                                          Attachments: INGRESO boris antl_EN.pdf




                                          Hi,

                                          Attached is the translated delivery file. The final
                                          word count is: 272

                                          Thanks,

                                          Lucas


           Translated medical report rcvd Lucas Knutson | Project Coordinator | Office
121 TRSL   via email from Sajan           715.426.9505 Ext.173 | www.sajan.com                  Zhou,Valerie   12/10/2014 3:00PM

                                          From: Boris Antl [mailto:boris_antl@yahoo.com]

                                          Sent: Wednesday, December 10, 2014 2:46 PM

                                          To: AssistanceGroup (Allianz Assistance USA)

                                          Subject: Re: Allianz Assistance case 3196098

                                          Hello Valery,
                                          Yes, I am travelling alone but may be joined by a
                                          friend or relative, depending on the test results,
                                          the doctor's recommendations and any
                                          necessary follow-up.
                                          I have not make any payments to the hospital
                                          where I was before this Clinic. Neither did I make
                                          any payments to the Emergency room in
                                          Hornopiren (where I had the attack) or the
                                          ambulance that took me from there to the first
                                          Puerto Montt hospital (3 hour drive plus boat).
                                          But I was in such a state that I do not remember
                                          much and payment was probably not discussed.
                                          In the meanwhile please make sure you have
                                          sent to the Clinic des Andes an AUTHORIZATION
                                          to proceed with the tests as recommended by
                                          the cardiologist here. From what they told me
                                          this morning, they have not received this
                                          authorization from you yet. And I have signed
                                          the releases you had sent this morning. I hope
                                          you got it.
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                                            Once the tests are completed and we know what
                                            needs to be done, I will start planning the return.
                                            So PLEASE do whatever needs to be done to start
                                            the tests. I am not in a position to be under any
                                            more stress at this point, as I am sure you will
                                            appreciate.
            Email from the sub asking for   Thanks and regards,
122 INEM    AGA to confirm authorization    Boris Antl                                          Zhou,Valerie    12/10/2014 3:01PM

                                            From: AssistanceGroup (Allianz Assistance USA)

                                            Sent: Wednesday, December 10, 2014 3:11 PM
                                            To: 'Boris Antl'

                                            Subject: RE: Allianz Assistance case 3196098


                                            We sent the guarantee/authorization letter
                                            yesterday to our agent who said that they gave
                                            this to the hospital; the guarantee was for 1 day,
                                            just to get you in and give us time to get an
                                            update. We have gotten a medical report which
                                            we translated for internal purposes; this is being
                                            reviewed by our medical team now.


                                            I have not been able to locate the release form
                                            yet; do you know if they were going to fax or
                                            email this to us? If they faxed the form, then
                                            they would need to put 001 at the beginning of
                                            our fax number for the US country code.


                                            We are willing to extend the guarantee letter
                                            once we have finished the medical report and
                                            have gotten the release form as part of our
                                            process here. I will continue being in contact
                                            with you and our agent to get this done.

                                            Sincerely,

                                            Valerie Zhou
                                            Assistance Coordinator II, USA
123 OUTEM   Emailed sub for follow up       Collect: 804-673-1173                                Zhou,Valerie   12/10/2014 3:10PM
                                            DX: ST-segment elevation MI, Killip Class 1
                                            thrombolysis basedon reperfusion therpay
                                            Chronic HTN recently diagnosed
                                            Untreated dyslipidemia

                                            Patient reports that he does sport on a regular
                                            basis, with scarce cardiovascular risk factors.
                                            He further reports that he has been recently
                                            diagnosed with mild hypertension with
                                            indication to
                                            change his habits. Dyslipidemia was also
                                            diagnosed, for which he did not receive any
                                            medication.
                                            While patient was sightseeing, he reported
                                            suffering a sudden precordial pain with an
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                                         intensity of 6¿7/10, together with nausea and
                                         vomits. Therefore, patient went to a Family
                                         Health
                                         Center (CESFAM) and then he was referred to
                                         HBPM, where an EKG was performed, which
                                         showed
                                         ST¿segment elevation in the anterior side of the
                                         heart. Patient received thrombolytic therapy
                                         based
                                         on reperfusion criteria.
                                         Patient received standard treatment with no
                                         evidence of pump failure.
                                         Patient was referred for preventive reasons.

                                         BP 137/90 MAP 105 HR 74 T 36.4° C RR 10 per
                                         min Oxygen Sat at 97% in 1 L

                                         PLANS
                                         Secondary prevention therapy
                                         Evaluating the possibility of performing Coronary
          RN REVIEWED TRANSLATED         Angiography
124 MED   MED REPORT                     Echocardiogram                                    Bergeron,Linda     12/10/2014 3:18PM
          RN medically recommend cov
125 GC    inpt stay 12/09-12/11, subj T&C /                                                  Bergeron,Linda   12/10/2014 3:19PM
                                          From: AZGA RN [mailto:azga-rn@allianz-
                                          assistance.ca]

                                         Sent: Wednesday, December 10, 2014 3:24 PM
                                         To: 'medical@mok.cl'

                                         Cc: 'AssistanceGroup (Allianz Assistance USA)'
                                         Subject: Subject: Case # 3196098 Your Case #
                                         2099605

                                         Greetings from Allianz Global Assistance,

                                         Can you contact the hospital and obtain a
                                         medical update for us for Thursday 12/11?
                                         We will need to know what medical treatment
                                         the patient is currently receiving and if he has
                                         had a cardiac catheterization?
                                         If he had a catheterization, we will need the
          RN EMAILED AGENT --            results.
          >requested med update for
126 RN    12/11                          Is there an estimated length of stay in hospital?   Bergeron,Linda   12/10/2014 3:23PM
127 RN    RN NEXT STEPS                  AW med update from agent on 12/11                   Bergeron,Linda   12/10/2014 3:23PM
                                         From: David Jara
                                         [mailto:david.jara@grupomok.com]

                                         Sent: Wednesday, December 10, 2014 3:29 PM
                                         To: AZGA RN
                                         Cc: Medical; AssistanceGroup (Allianz Assistance
                                         USA)
                                         Subject: Re: Subject: Case # 3196098 Your Case #
                                         2099605

                                         Dear colleagues:

                                         We'll proceed to request this detail.
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                                           Here we have attached the release form signed
                                           by the client.
            aameds rcvd via email from the
128 INEM    agent (not witnessed)          Best regards.                                      Zhou,Valerie     12/10/2014 3:34PM
129 CASE    audit prepared (treatment #2) audit prepared (treatment #2)                       Zhou,Valerie     12/10/2014 3:35PM
                                           In regards to another update 12/11
                                           Dear colleagues:

                                           We'll proceed to request this detail.

            Received email reply from      Here we have attached the release form signed
130 RN      agent/along with AAMED         by the client.                                     Bergeron,Linda   12/10/2014 3:48PM
131 RN      REC'D emailed AAMED            /                                                  Bergeron,Linda   12/10/2014 3:49PM

                                           From: AssistanceGroup (Allianz Assistance USA)

                                           Sent: Wednesday, December 10, 2014 5:17 PM
                                           To: 'David Jara'
                                           Cc: Rodrigo Urbina; Raphael Hormazabal;
                                           medical@mok.cl
                                           Subject: RE: Case #3196098

                                           We are authorizing for 2 days, and we can
                                           extend for more days when we get a medical
                                           update.
                                           Please see the attached guarantee letter and
                                           please confirm once you have sent this to the
                                           hospital.




                                           Sincerely,

                                           Valerie Zhou
132 GC      Sent the GCL extension         Assistance Coordinator II, USA                     Zhou,Valerie     12/10/2014 5:30PM

                                           From: AssistanceGroup (Allianz Assistance USA)

                                           Sent: Wednesday, December 10, 2014 5:32 PM
                                           To: 'Boris Antl'

                                           Subject: RE: Allianz Assistance case 3196098

                                           We did get the release form and have sent a
                                           guarantee for 2 days (12/09/2014 ¿ 12/11/2014);
                                           we will extend this as we get an additional
                                           medical report from the agent who is helping us.
                                           Thank you!



                                           Sincerely,

                                           Valerie Zhou
                                           Assistance Coordinator II, USA
133 OUTEM   Emailed the patient too        Collect: 804-673-1173                              Zhou,Valerie     12/10/2014 5:31PM
                                           Does the first hospital need a GCL?
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                                 Confirm why he is traveling to country

                                 Obtain passport info, height, weight for later
                                 Obtain existing ticket info for later
                                 Review for companion to bedside if he meets
134 CASE   ** CM next steps **   T&C                                                   Zhou,Valerie   12/10/2014 5:31PM
                                 From: MAYRA VALENZUELA
                                 [mailto:mlvalenz@uc.cl]

                                 Sent: Wednesday, December 10, 2014 7:20 PM
                                 To: AssistanceGroup (Allianz Assistance USA);
                                 boris_antl@yahoo.com
                                 Subject: Patient Mr Boris Antl

                                 Dear Valerie:

                                 I¿m Dr. Mayra Valenzuela, the physician on
                                 charge of Mr. Boris Antl. He is in the Intensive
                                 Care Unit of Clinica Los Andes de Puerto Montt ,
                                 Chile.
                                 His case number is 3196098.

                                 He suffered a heart attack and he needs a
                                 coronariography, an intravascular procedure
                                 absolutely necesary to precise how are the
                                 coronary arteries and open the guilty blood
                                 vessel.
                                 His electrocardiogram and cardiac
                                 ultrasonography reveals a high risk of new heart
                                 attack, with an extense lesion and decreased
                                 contractility of the heart.


                                 If the blood vessel that is not completily open
                                 suffer a new lesion he probably will die, because
                                 we are talking of a lesion in the anterior
                                 descendent artery in it proximal part.

                                 I hope you understand how serious is the
                                 situation. In case of emergency (pain and new
                                 myocardial infarction) I will call the cardiologist
                                 for an emergency procedure.


                                 Please send soon the Insurance confirmation for
                                 do what we have to do for the patient.

                                 Regars

                                 Dr. Mayra Valenzuela Fuentes
                                 Medico Unidad de Cuidados Intensivos
                                 Clinica Los Andes Puerto Montt
                                 Chile
135 INEM   EML FROM MD           Cell Phone: 56-9-98886387                             Teresa Faber   12/10/2014 7:56PM

                                 From: Boris Antl [mailto:boris_antl@yahoo.com]

                                 Sent: Wednesday, December 10, 2014 7:39 PM
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                                            To: AssistanceGroup (Allianz Assistance USA)
                                            Subject: Case # 3196098 - Boris Antl

                                            See below.
                                            Sent from Yahoo Mail on Android

                                            From:"MAYRA VALENZUELA" <mlvalenz@uc.cl>
                                            Date:Wed, Dec 10, 2014 at 21:19
136 INEM    EML from SUB                    Subject:Patient Mr Boris Antl                         Teresa Faber    12/10/2014 8:04PM

                                            From: AssistanceGroup (Allianz Assistance USA)

                                            Sent: Wednesday, December 10, 2014 8:07 PM
                                            To: AZGA-RN@ALLIANZ-ASSISTANCE.CA
                                            Cc: Zhou, Valerie (Allianz Global Assistance)
                                            Subject: AGA US Case 3196098

                                            Greetings,

                                            Please see CN 135 for email from TMO.

                                            Regards,

137 OUTEM   EML TO RN AND CM                Teresa Faber                                       Teresa Faber       12/10/2014 8:07PM
138 RN      135                             sgrn                                               Gabriel,Susan      12/10/2014 8:16PM
                                            Adv'd that I just read last notes and concerned
                                            that cardiac cath not done--TMO sent email last
                                            evening stating pt requires this and has risk of
                                            death if not done--they are holding off until hear
                                            from insurance.
            0832. RN Dept>MAUSA CM
139 RN      Myra.                           Myra stated she will look into this and the billing. Bergeron,Linda   12/11/2014 8:38AM
                                            Concern regards sub treatment. CM advised will
                                            move forward and verify w/agent if hosp rcvd gcl
140 INCL    RN/Linda -->MAUSA               for sub procedure.                                   Myra Kovacs      12/11/2014 8:53AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Thursday, December 11, 2014 8:53 AM
                                            To: 'david.jara@grupomok.com'
                                            Cc: 'medical@mok.cl'; Zhou, Valerie (Allianz
                                            Global Assistance)
                                            Subject: ***URGENT ***Subject: Case # 3196098
                                            Your Case # 2099605
                                            Importance: High
                                            Hello from USA,
                                            URGENT Assistance.

                                            We wanted to make sure the hospital did receive
                                            the guarantee of coverage regarding our patient
                                            Mr. Boris Antl, as we have been informed that he
                                            is going to need a procedure done right away,
                                            and we do not want this to be held.
                                            Please let us know if they have received it, and if
                                            they are going to proceed with the treatment
                                            our client is desperately needing?
                                            I look forward to hearing back from you?
            CM ->Emailed Agent >verify if
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                           g           y
            hosp rcvd gc and will proceed   Sincerely,
141 OUTEM   w/sub treatment                 Myra Kovacs                                         Myra Kovacs   12/11/2014 8:56AM
                                            From: David Jara
                                            [mailto:david.jara@grupomok.com]
                                            Sent: Thursday, December 11, 2014 8:57 AM

                                            To: AssistanceGroup (Allianz Assistance USA)
                                            Cc: medical@mok.cl; Zhou, Valerie (Allianz
                                            Global Assistance)
                                            Subject: Re: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605
                                            Dear colleagues:
                                            We sent to you the estimate cost and we haven't
                                            received any response from you.
                                            Please let us know if you cover the cost requeted
                                            by the clinic.
142 INEM    Inbound email from agent        Best regards.                                     Myra Kovacs     12/11/2014 9:07AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Thursday, December 11, 2014 9:24 AM
                                            To: 'David Jara'; AssistanceGroup (Allianz
                                            Assistance USA)
                                            Cc: medical@mok.cl; Zhou, Valerie (Allianz
                                            Global Assistance)
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Dear colleagues,


                                            Yes¿we are covering the patient. Mr. Boris Antl¿s
                                            maximum medical benefit is $25,000.00. We
                                            have already sent you the guarantee of coverage
                                            for $12,500.00 (via email: medical@mok.cl).
                                            Anything above maximum benefit would be the
                                            patient¿s responsibility.

                                            Inform the hospital this is a legal document,
                                            stating we would cover his medical expense
                                            while he is admitted.

                                            I look forward to hearing back from you.

                                            Sincerely,



143 OUTEM   CM >outbound email to agent     Myra Kovacs                                         Myra Kovacs   12/11/2014 9:26AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Thursday, December 11, 2014 9:26 AM
                                            To: 'David Jara'
                                            Cc: medical@mok.cl
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            We have sent the guarantee letter twice
                                            yesterday to your email address. I will resend to
                                            you in a separate email.
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                                            Sincerely,

                                            Valerie Zhou
                                            Assistance Coordinator II, USA
144 OUTEM   Emailed agent about the GCL     Collect: 804-673-1173                               Zhou,Valerie   12/11/2014 9:40AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Thursday, December 11, 2014 9:39 AM
                                            To: 'David Jara'
                                            Cc: medical@mok.cl
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Please see the attached email that I sent last
                                            night with the cost guarantee.
                                            Please urgently confirm receipt of the guarantee
                                            letter as soon as possible. We want our customer
                                            to get treatment.



                                            Sincerely,

                                            Valerie Zhou
            Emailed the agent again - CN    Assistance Coordinator II, USA
145 OUTEM   132 attached                    Collect: 804-673-1173                               Zhou,Valerie   12/11/2014 9:40AM
                                            From: David Jara
                                            [mailto:david.jara@grupomok.com]
                                            Sent: Thursday, December 11, 2014 9:33 AM

                                            To: AssistanceGroup (Allianz Assistance USA)
                                            Cc: medical@mok.cl; Zhou, Valerie (Allianz
                                            Global Assistance)
                                            Subject: Re: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Dear colleagues.

                                            Do you need from us to send your GOP form to
                                            the clinic? Are you going to pay directly?
            Email from the agent asking for
146 INEM    instructions                    Best regards.                                       Zhou,Valerie   12/11/2014 9:41AM

                                            From: Zhou, Valerie (Allianz Global Assistance)
                                            Sent: Thursday, December 11, 2014 9:40 AM
                                            To: 'David Jara'
                                            Cc: medical@mok.cl
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Please place our guarantee letter to the hospital
                                            for up to $10,000 USD. We will extend for more
                                            days and more funds once we have gotten
                                            additional medical updates. Please help with this
                                            urgently.
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                                            Sincerely,


            Emailed the agent to confirm    Valerie Zhou
            they should send GCL to         Assistance Coordinator II, USA
147 OUTEM   hospital                        Collect: 804-673-1173                                Zhou,Valerie   12/11/2014 9:41AM
                                            Hosp billing rep advised still not have yet rcvd
                                            the gte for sub. Mr. Avila sated they do not work
                                            with Allianz, but working with Multi Assit. CM
                                            obtained email and phone (ravila@clinanes.cl) ,
                                            so Multi Assist can give them a call or email. Mr.
                                            Avila stated the bill is a little bit more. CM
                                            advised to just send updated invoice w/new
                                            amount and we can adjust as needed. CM
            Hosp billing Mr. Juan Avila +56 thanked for he update. Mr. Avial will wait to hear
148 INCL    65 22 89 112 w/trans >MAUSA from Multi Assist.                                     Myra Kovacs      12/11/2014 9:45AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Thursday, December 11, 2014 9:45 AM
                                            To: 'David Jara'
                                            Cc: medical@mok.cl
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            The hospital will not work with us directly, they
                                            only want to work through you.
                                            Once we get the final invoice, we can pay directly
                                            to your agency or to the hospital, whichever is
                                            best. At this point, we can guarantee payment
                                            up to $10,000 USD but may be able to guarantee
                                            for more once we get another medical update.
                                            As our agent, we want you to help us with this
                                            case.

                                            Sincerely,


            Emailed the agent again with    Valerie Zhou
149 OUTEM   urgent info                     Assistance Coordinator II, USA                       Zhou,Valerie   12/11/2014 9:46AM
                                            From: David Jara
                                            [mailto:david.jara@grupomok.com]

                                            Sent: Thursday, December 11, 2014 10:12 AM

                                            To: AssistanceGroup (Allianz Assistance USA)
                                            Cc: medical@mok.cl; Zhou, Valerie (Allianz
                                            Global Assistance)
                                            Subject: Re: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Dear colleagues:

                                            We just placed GOP at the clinic.
            Email from the agent - GOP
150 INEM    placed                          Best regards.                                    Zhou,Valerie       12/11/2014 10:48AM
                                            Called with translator +56 65 22 89 112 s/w
                                            billing office who confirmed that they have rcvd
                                            the GCL about 1 hour ago, patient is getting the
151 OUTCL   CM ---> hospital billing        surgery this afternoon                           Zhou,Valerie       12/11/2014 11:14AM
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 177 of 204


                                             as per info from agent, pt going for heart cath
                                             this afternoon.

                                             RN to email agent 12/12 if no update from them--
152 RN     RN NEXT STEPS                     need cath results, current status and tx/plans.  Bergeron,Linda      12/11/2014 3:20PM
           RN medically recommend cov
153 GC     inpt stay to 12/12, subj T&C of   /                                                   Bergeron,Linda   12/11/2014 3:21PM

                                             From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                             Sent: Thursday, December 11, 2014 6:37 PM

                                             To: AssistanceGroup (Allianz Assistance USA)
                                             Subject: Caso Nº 3196098- BORIS ANTL

                                             Estimados:

                                             Adjunto informe de procedimiento realizado al
                                             Sr. Boris Antl, póliza Nº US03427363

                                             Atte,

                                             Rodrigo Ávila Díaz
                                             Jefe Administrativo Admisión Central

                                             Coordinación GES/CAEC.
                                             Clinica Los Andes de Puerto Montt S.A.
                                             Avda. Bellavista 123, Puerto Montt.
                                             Fono:652289112
           Email from hosp w/att med         Mail: ravila@clinandes.cl
154 CASE   report                            Web: www.clinandes.cl                               Troy Wells       12/11/2014 8:14PM
                                             From: Carol Ynés Flores Muñoz
                                             [mailto:carol.flores@grupomok.com]
                                             Sent: Friday, December 12, 2014 7:56 AM
                                             To: David Jara
                                             Cc: AssistanceGroup (Allianz Assistance USA);
                                             medical@mok.cl; Zhou, Valerie (Allianz Global
                                             Assistance)
                                             Subject: Re: ***URGENT ***Subject: Case #
                                             3196098 Your Case # 2099605

                                             Dear Colleagues,

                                             Please see attached medical report of your
           Email from agent w/ Med           patient.
155 INEM   report                            Best Regards,                                       Sarah Ntouskas   12/12/2014 8:20AM

                                             From: AssistanceGroup (Allianz Assistance USA)
                                             Sent: Friday, December 12, 2014 8:23 AM
                                             To: 'Carol Ynés Flores Muñoz'
                                             Subject: RE: ***URGENT ***Subject: Case #
                                             3196098 Your Case # 2099605

                                             Good day,

                                             We received the medical report. It is in Spanish.
                                             Do you have an English version of the report we
                                             could review?
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                                       Thank you,

156 OUTEM   Email to Agent             Sarah S. Ntouskas                               Sarah Ntouskas        12/12/2014 8:22AM
                                       coronary angiography:
                                       left main coronary artery: good development, no
                                       injuries

                                       anterior descending artery: good development,
                                       and reaches around the apex. Long lesion
                                       presents 90% who committed the middle third.
                                       Ramos diagonals without injury.

                                       Circumflex artery: good development, not
                                       dominant. No obstructive lesions. Obtuse
                                       marginal branches without injury.


                                       right coronary afteria: good development,
                                       dominant. No obstructive lesions. Poster or
                                       without descending artery obstructive lesions.

                                       Ventriculography: not performed

                                       Conclusion: leson critique of middle third of the
                                       left anterior descending artery.


                                       Note: You will proceed PTCA with DES half ADA

                                       antioplastia successful coronary stenting with
                                       medicated injury criticizes the middle third of the
                                       left anterior descending artery


                                       Note: It is suggested 0.9% SF 60 cc / hr for 12 hrs,
            RN REVIEWED CATH REPORT-   aspirin 100 mg and clopidogrel 75 mg for 1 year
157 MED     USED GOOGLE TRANSLATOR     and regular secondary prevention.                    Bergeron,Linda   12/12/2014 11:49AM
                                       RN email agent on Sat if no med update rec'd
                                       Friday

                                       Cath report rec'd and translated using google.
                                       Need med update/elos/dc plans
                                       Original DOR not until 01/21-? pt staying or wish
                                       to return early

158 RN      RN NEXT STEPS              If wish to return early, we need stt/travel needs. Bergeron,Linda     12/12/2014 11:54AM
                                       From: Carol Ynés Flores Muñoz
                                       [mailto:carol.flores@grupomok.com]
                                       Sent: Friday, December 12, 2014 4:13 PM

                                       To: AssistanceGroup (Allianz Assistance USA)
                                       Cc: medical
                                       Subject: Re: ***URGENT ***Subject: Case #
                                       3196098 Your Case # 2099605

                                       Dear Colleagues,
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 179 of 204



                                            Sorry about the delay. Please to other responses,
                                            forward your emails to medical@mok.cl, so
                                            different shifts will help you.

                                            We only have a medical report in spanish, if you
                                            prefer we can do a brief translation of it.
                                            We will wait for your comments.
159 INEM    Email reply from Agent          Kind Regards,                                    Troy Wells         12/12/2014 7:32PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Friday, December 12, 2014 7:32 PM
                                            To: 'Carol Ynés Flores Muñoz'
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605

                                            Greetings from Allianz,

                                            Thank you for your email. If you could translate
                                            the report that would be helpful and
                                            appreciated.

                                            Kind regards,

                                            Troy Wells
160 OUTEM   Email reply to Agent            Assistance Coordinator II                            Troy Wells     12/12/2014 7:39PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Saturday, December 13, 2014 2:04 PM
                                            To: medical@mok.cl
                                            Cc: 'Carol Ynés Flores Muñoz'
                                            Subject: RE: ***URGENT ***Subject: Case #
                                            3196098 Your Case # 2099605


                                            We would like for you to do a brief translation of
                                            the medical report, that would be helpful.
                                            Could you please send this over as soon as you
                                            can?



                                            Sincerely,

                                            Valerie Zhou
            Emailed the agent to see if they Assistance Coordinator II, USA
161 OUTEM   can give brief translation       Collect: 804-673-1173                               Zhou,Valerie   12/13/2014 2:03PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Saturday, December 13, 2014 2:06 PM
                                            To: boris_antl@yahoo.com
                                            Subject: Allianz Assistance case 3196098

                                            Hello Mr. Antl,
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 180 of 204



                                             I just wanted to check in with you and see how
                                             you are doing. I hope everything went well with
                                             your surgery. Our local agent is helping us get a
                                             medical update and then we can extend our
                                             guarantee letter for more days and more funds.
                                             Please keep in mind the total limit for medical
                                             expenses on this policy is $25,000.00 USD.

                                             I also wanted to check if you know when you
                                             may discharge? If you are still alone and
                                             admitted to the hospital, we could look at
                                             sending someone to your bedside. Please let me
                                             know!

                                             Thank you.



                                             Sincerely,

                                             Valerie Zhou
                                             Assistance Coordinator II, USA
162 OUTEM   Emailed sub to check in          Collect: 804-673-1173                               Zhou,Valerie     12/13/2014 2:05PM
                                             See if GCL extension needed

                                             See if sub needs companion to bedside (he has
                                             been admitted since 12/07 but not sure when he
                                             is discharging and if he needs someone to come
163 CASE    *** CM Next steps ****           there or already has done that                      Zhou,Valerie     12/13/2014 2:06PM
            Cm att to reach sub @ hosp       Was told sub discharged yesterday to hotel. Cm
            (follow) w/intrepreter assist.   asked if facility had a follow-up no# to reach sub;
164 OUTEM   (D/C yesterday)                  told no.                                            Trijay Vincent   12/14/2014 8:56AM

                                             Advise I understand sub was d/c as of yesterday
                                             from facility. Ask sub to please give assistance a
            Cm lvm for sub @ 510/735-        call when convenient to discuss; if sub was told
165 OUTCL   6462                             stt, what was discharge orders given etc.          Trijay Vincent    12/14/2014 9:02AM

                                             From: Vincent, Trijay (Allianz Global Assistance)
                                             Sent: Sunday, December 14, 2014 10:42 AM
                                             To: AZGA-RN@allianz-assistance.ca
                                             Subject: Case#3196098

                                             Received translated medical report for patient
                                             Boris Antl. Thanks




                                             From: Carol Ynés Flores Muñoz
                                             [mailto:carol.flores@grupomok.com]
                                             Sent: Sunday, December 14, 2014 9:16 AM

                                             To: AssistanceGroup (Allianz Assistance USA)
                                             Cc: medical
                                             Subject: Re: ***URGENT ***Subject: Case #
                                             3196098 Your Case # 2099605

                                             Dear Colleagues,
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 181 of 204




                                          Sorry about the delay for a response, yesterday
                                          was my free day. Please to other responses,
                                          forward your emails to medical@mok.cl so
                                          differents shifts will help you.
                                          See attached the medical report translated.
166 CASE   Recvd translated medical repot Best Regards,                                        Trijay Vincent   12/14/2014 10:41AM
                                          Dates Dec 11 2014
                                          Dr Victor Asseff -Cardiologist
                                          Summary

                                           Presented with crushing substernal chest pain
                                           EKG showed ST elevation anterior leads
                                           Given tPA
                                           Transferred for heart cath
           Reviewed translated medical     Successful stenting of mid LAD on 09/12             Mielcarek,Rozali
167 RN     report                          Rozalie RN                                          e                12/14/2014 12:40PM
           Rn recommends extension of      Sunject to terms of the policy                      Mielcarek,Rozali
168 GC     GC until 12/13/2014             Rozalie RN                                          e                12/14/2014 12:46PM
                                           Monitor
                                           pt d/c'd 12/13 as per hospital.
                                           AW pt to contaact MAUSA to advise if any
                                           further assistance needed.
169 RN     RN NEXT STEPS                   Original DOR 1/21/2015                              Bergeron,Linda   12/15/2014 8:25AM

                                           From: Boris Antl [mailto:boris_antl@yahoo.com]
                                           Sent: Monday, December 15, 2014 9:49 AM

                                           To: AssistanceGroup (Allianz Assistance USA)

                                           Subject: Re: Allianz Assistance case 3196098

                                           Hello Valerie,
                                           Thanks for your note and wishes!

                                           I have been released from the Clinica Los Andes
                                           on Saturday, following what seems to have been
                                           a successful 'coronariografia' intervention. Have
                                           now to rest for a week and go for check-ups as
                                           required at the Clinic, starting today.
                                           Two questions:
                                           1. Does my policy cover the stay and related
                                           expenses at a moderately priced hotel during
                                           this one-week recovery period?
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 182 of 204


                                           2. Following my heart attack on December 7, and
                                           while in transit from the hotel in Hornopiren,
                                           through the Emergency Room at Hornopiren's
                                           clinic, the Emergency Room at Puerto Montt's
                                           hospital, and the Clinica Los Andes, including two
                                           ambulances and one ferry transfers, some of my
                                           belongings are missing. Nothing of great value,
                                           as my main piece of luggage with valuables was
                                           locked throughout the period, but a number of
                                           loose items that were collected in my hotel room
                                           in Hornopiren and put in several plastic bags by
                                           someone before being transported by
                                           ambulance to the Emergency room at Puerto
                                           Montt hospital. I had no control over these bags
                                           much of the time, they were unsealed, went on a
                                           long bumpy ride in the ambulance from
                                           Hornopiren, and were handled by dozens of
                                           people over the 6-day period. How do I make a
                                           claim for the lost items under my Baggage
                                           policy?
                                           And thanks for your offer to send me company; I
            Email from sub asking about    am OK now.
170 INEM    benefits for baggage and hotel Boris Antl                                         Zhou,Valerie    12/15/2014 10:04AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Monday, December 15, 2014 10:04 AM
                                            To: 'Boris Antl'

                                            Subject: RE: Allianz Assistance case 3196098

                                            Hello Mr. Antl,

                                            I am glad to hear that you were able to be
                                            discharged! I do hope you continue to heal
                                            quickly! Please let us know how your check ups
                                            go so that we can see how to assist you. I see
                                            that you were planning to be traveling until
                                            January 21, 2015; is that still the case?


                                            In regards to your two questions, those would
                                            both be better answered by our travel customer
                                            service department who can go over the terms
                                            and conditions and send you the appropriate
                                            claim form(s). Could I call you at the hotel and
                                            conference you with them? You are welcome to
                                            call us at anytime as well. Please let me know!

                                            Thank you for writing me and checking in!

                                            Sincerely,

                                            Valerie Zhou
                                            Assistance Coordinator II, USA
171 OUTEM   Emailed sub in reply            Collect: 804-673-1173                              Zhou,Valerie   12/15/2014 10:05AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Monday, December 15, 2014 10:07 AM
                                            To: medical@mok.cl
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                                               Subject: Allianz Assistance case 3196098

                                               I am trying to see if I need to send you an
                                               extended guarantee letter for Boris Antl.

                                               He discharged over the weekend and I wanted to
                                               see what was the final bill estimate?
                                               Could you check with the hospital for the bill
                                               amount and let me know?



                                               Sincerely,

                                               Valerie Zhou
            Emailed the agent about bill       Assistance Coordinator II, USA
172 OUTEM   amount                             Collect: 804-673-1173                                Zhou,Valerie     12/15/2014 10:07AM
                                               see about GCL extension
173 CASE    ** CM next steps **                check on sub by email (he has f/u next week)         Zhou,Valerie     12/15/2014 12:24PM
            CM tried to reach billing office   Called with translator +56 65 22 89 112 to s/w
174 OUTCL   (to get final total)               billing office, rang without answer                  Zhou,Valerie     12/16/2014 12:57PM
                                               Monitor
                                               pt d/c'd 12/13 as per hospital.
                                               AW pt to contaact MAUSA to advise if any
                                               further assistance needed--appears pt has some
                                               f/u appts next week-dates unknown.
175 RN      RN NEXT STEPS-UNCHANGED            Original DOR 1/21/2015                               Bergeron,Linda   12/17/2014 8:20AM

                                               From: Boris Antl [mailto:boris_antl@yahoo.com]

                                               Sent: Wednesday, December 17, 2014 12:19 PM

                                               To: AssistanceGroup (Allianz Assistance USA)

                                               Subject: Re: RE: Allianz Assistance case 3196098

                                               Hello Valerie,

                                               I have had two follow-up exams at the Clinica Los
                                               Andes, one on Monday and one on Tuesday. It
                                               seems that everything is OK and I have another --
                                               possibly the last -- appointment at the Clinica on
                                               Friday. Please ENSURE that I can undergo any
                                               and all tests and exams if and as REQUIRED by
                                               the doctor, under my policy. Yesterday, when I
                                               had to undergo a test the nurse at the Clinica --
                                               though very friendly and helpful -- gave me very
                                               hard time and I had to go all the way to the head
                                               of the Admin to be admitted!!! Can you or your
                                               agent make sure this does not happen again. The
                                               name and contact for the head of the Admin for
                                               these issues is:
                                               Rodrigo Avila
                                               Email: ravila@clinandes.cl
                                               Phone: XX-XXXXXXX
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                        To answer your other question, I do not think I
                        am in a position to continue my travel as
                        originally planned, and would like to return
                        home or join my family as soon as the doctors
                        allow me. Please let me know if my expenses
                        during the recovery and follow-up tests and
                        exams period (one week of lodging at a
                        moderately priced hotel, food, and transport to
                        and from hospital thus far) are covered under my
                        policy.
                        Thanks and regards,
                        Boris Antl

                        From:"AssistanceGroup (Allianz Assistance USA)"
                        <Assistance.Group@allianzassistance.com>
                        Date:Mon, Dec 15, 2014 at 12:04
                        Subject:RE: Allianz Assistance case 3196098
                        Hello Mr. Antl,

                        I am glad to hear that you were able to be
                        discharged! I do hope you continue to heal
                        quickly! Please let us know how your check ups
                        go so that we can see how to assist you. I see
                        that you were planning to be traveling until
                        January 21, 2015; is that still the case?


                        In regards to your two questions, those would
                        both be better answered by our travel customer
                        service department who can go over the terms
                        and conditions and send you the appropriate
                        claim form(s). Could I call you at the hotel and
                        conference you with them? You are welcome to
                        call us at anytime as well. Please let me know!

                        Thank you for writing me and checking in!

                        Sincerely,

                        Valerie Zhou
                        Assistance Coordinator II, USA
                        Collect: 804-673-1173
                        Fax: 804-673-1510
                        assistance.Group@allianzassistance.com

                        9950 Mayland Drive
                        Richmond, Virginia 23233
                        www.allianzassistance.com




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                        From: Boris Antl [mailto:boris_antl@yahoo.com]
                        Sent: Monday, December 15, 2014 9:49 AM

                        To: AssistanceGroup (Allianz Assistance USA)

                        Subject: Re: Allianz Assistance case 3196098

                        Hello Valerie,
                        Thanks for your note and wishes!

                        I have been released from the Clinica Los Andes
                        on Saturday, following what seems to have been
                        a successful 'coronariografia' intervention. Have
                        now to rest for a week and go for check-ups as
                        required at the Clinic, starting today.
                        Two questions:
                        1. Does my policy cover the stay and related
                        expenses at a moderately priced hotel during
                        this one-week recovery period?
                        2. Following my heart attack on December 7, and
                        while in transit from the hotel in Hornopiren,
                        through the Emergency Room at Hornopiren's
                        clinic, the Emergency Room at Puerto Montt's
                        hospital, and the Clinica Los Andes, including two
                        ambulances and one ferry transfers, some of my
                        belongings are missing. Nothing of great value,
                        as my main piece of luggage with valuables was
                        locked throughout the period, but a number of
                        loose items that were collected in my hotel room
                        in Hornopiren and put in several plastic bags by
                        someone before being transported by
                        ambulance to the Emergency room at Puerto
                        Montt hospital. I had no control over these bags
                        much of the time, they were unsealed, went on a
                        long bumpy ride in the ambulance from
                        Hornopiren, and were handled by dozens of
                        people over the 6-day period. How do I make a
                        claim for the lost items under my Baggage
                        policy?
                        And thanks for your offer to send me company; I
                        am OK now.
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 186 of 204


176 INEM    Email from Sub              Boris Antl                                           Sarah Ntouskas   12/17/2014 12:24PM
177 CASE    CM Notified                 CM adv CM Valerie verbally                           Sarah Ntouskas   12/17/2014 12:25PM

                                        From: AssistanceGroup (Allianz Assistance USA)

                                        Sent: Wednesday, December 17, 2014 3:01 PM
                                        To: boris_antl@yahoo.com

                                        Subject: RE: RE: Allianz Assistance case 3196098

                                        I am sorry to hear about the issues you had with
                                        your follow up visit. I did not realize that you
                                        were having those follow ups.
                                        I see where we sent a guarantee letter for your
                                        inpatient expenses at Clínica Los Andes Puerto
                                        Montt. Any follow ups or outpatient services are
                                        handled differently. Please pay for those services
                                        and save any itemized bills, receipts, medical
                                        reports from those visits. The way that this
                                        insurance works for those type of visits is that
                                        you would pay upfront and then you can submit
                                        a claim for review by the claims department.

                                        I know that you have questions about the
                                        additional expenses for the food/lodging; those
                                        types of benefit questions are handled by our
                                        customer service area. May I have a phone
                                        number for your hotel where you are staying so
                                        that I can conference you with them to get that
                                        answered?



                                        Sincerely,

                                        Valerie Zhou
                                        Assistance Coordinator II, USA
178 OUTEM   Emailed sub for follow up   Collect: 804-673-1173                                Zhou,Valerie     12/17/2014 3:00PM

                                        From: Boris Antl [mailto:boris_antl@yahoo.com]

                                        Sent: Wednesday, December 17, 2014 4:34 PM

                                        To: AssistanceGroup (Allianz Assistance USA)
                                        Subject: Re: RE: RE: Allianz Assistance case
                                        3196098
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                                            I do not have enough cash left to pay for
                                            potentially expensive tests related to my heart
                                            attack, and do not wish to negotiate with your
                                            adjusters to have my blood pressure to go up
                                            again, especially following so many
                                            mishandelings of my case already, i.e. having me
                                            wait for 2 days in an emergency room and
                                            another 2 days in intensive care before
                                            authorizing an urgent treatment following a
                                            heart attack, among other. Either authorize any
                                            treatment and/or tests as requested by a doctor
            Email from sub asking for GCL   here or send me the name of your supervisor.
179 INEM    for OPs                         Boris Antl                                       Zhou,Valerie       12/17/2014 4:57PM

                                            From: AssistanceGroup (Allianz Assistance USA)

                                            Sent: Wednesday, December 17, 2014 4:58 PM
                                            To: 'Boris Antl'
                                            Subject: RE: RE: RE: Allianz Assistance case
                                            3196098


                                            Could you please send me a list of the follow up
                                            appointments that you have scheduled. I will
                                            review this and update you.



                                            Sincerely,


            Emailed sub asking for the OP   Valerie Zhou
180 OUTEM   dates                           Assistance Coordinator II, USA                       Zhou,Valerie   12/17/2014 4:58PM
                                            Email found in the quarantine summary




                                            From: Boris Antl [mailto:boris_antl@yahoo.com]

                                            Sent: Wednesday, December 17, 2014 5:40 PM

                                            To: AssistanceGroup (Allianz Assistance USA)
                                            Subject: Re: RE: RE: RE: Allianz Assistance case
                                            3196098

                                            Hi Valerie,
                                            Regarding my appointments at Clinica Los Andes
                                            this week:
                                            1. Had an appointment on Monday with Dr.
                                            Tenorio to check on my healing progress. Some
                                            irregularities/problems were found in my left
                                            arm during the exam and was sent for an
                                            "ray/scan" test the following day.
                                            2. On Tuesday had the "ray/scan" test of my left
                                            arm done by Dr. Andrade.

                                            3. Appointment scheduled with. Dr. Tenorio for
                                            Friday to assess the "ray/scan" test and my
                                            overall condition. It is my understanding that if
                                            everything -- including possible new tests/exams -
                                            - is OK, will be allowed to leave and go home.
Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 188 of 204


                        It goes without saying that you should allow the
                        doctors to make decisions instead of some
                        adjuster sitting 5000 miles away from here, with
                        limited cardiology knowledge, if any, while
                        taking days and days to authorize urgent medical
                        procedures to save a life! Or cannot someone
                        pick up the phone and speak with the doctor,
                        instead of the endless email exchanges.
                        Boris Antl

                        From:"AssistanceGroup (Allianz Assistance USA)"
                        <Assistance.Group@allianzassistance.com>
                        Date:Wed, Dec 17, 2014 at 18:58
                        Subject:RE: RE: RE: Allianz Assistance case
                        3196098

                        Could you please send me a list of the follow up
                        appointments that you have scheduled. I will
                        review this and update you.



                        Sincerely,

                        Valerie Zhou
                        Assistance Coordinator II, USA
                        Collect: 804-673-1173
                        Fax: 804-673-1510
                        assistance.Group@allianzassistance.com

                        9950 Mayland Drive
                        Richmond, Virginia 23233
                        www.allianzassistance.com




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   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 189 of 204




                                          From: Boris Antl [mailto:boris_antl@yahoo.com]

                                          Sent: Wednesday, December 17, 2014 4:34 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Subject: Re: RE: RE: Allianz Assistance case
                                          3196098

                                          I do not have enough cash left to pay for
                                          potentially expensive tests related to my heart
                                          attack, and do not wish to negotiate with your
                                          adjusters to have my blood pressure to go up
                                          again, especially following so many
                                          mishandelings of my case already, i.e. having me
                                          wait for 2 days in an emergency room and
                                          another 2 days in intensive care before
                                          authorizing an urgent treatment following a
                                          heart attack, among other. Either authorize any
                                          treatment and/or tests as requested by a doctor
                                          here or send me the name of your supervisor.     Laurent
181 INEM    Email from SUB                Boris Antl                                       Beausergent          12/18/2014 9:16AM

                                          From: AssistanceGroup (Allianz Assistance USA)

                                          Sent: Thursday, December 18, 2014 12:12 PM
                                          To: 'boris_antl@yahoo.com'
                                          Subject: Case#3196098


                                          Thank you for your recent email. In determining
                                          if we can send a Guarantee Coverage letter to
                                          doctor¿s for your outpatient visits. Can you be so
                                          kind in sending any supporting medical
                                          documentation based on your visit thus far? Or
                                          can you please relay treating (outpatient)
                                          doctors contact numbers. This way our medical
                                          team can review medical information for
                                          outpatient visits. Once reviewed or discuss with
                                          doctor by our medical team. We¿ll review
                                          coverage to determine if we can send an
                                          Guarantee Coverage letter for outpatient visits.
                                          Also, providing Doctors agrees to bill Allianz for
                                          outpatient services. Usually, outpatient visit is
                                          generally an out of pocket expense. It would our
                                          pleasure to review to determine if we can direct
                                          bill given circumstance.


            Email sent to sub; reply to
182 OUTEM   email                         Kind Regards                                         Trijay Vincent   12/18/2014 12:12PM

                                          From: Boris Antl [mailto:boris_antl@yahoo.com]
                                          Sent: Thursday, December 18, 2014 6:13 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Subject: Re: Case#3196098
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 190 of 204



                                    Thanks for your note but I do not understand it.

                                    The information you request has been provided
                                    to Ms. Valerie Zhou, including the names of the
                                    doctors currently treating me and the main
                                    phone number at the Clinica Los Andes where I
                                    am being treated. All other important info has
                                    been provided to you (or your agent) over the
                                    last twelve days.

                                    I am not feeling well, am going to the hospital
                                    tomorrow, and am not in a position to
                                    correspond with you at this point. You have all
                                    the names, contact and medical information that
                                    I have. Anything else I can provide you with?
                                    Please take care of things, or if you cannot, send
                                    me the name and contact info for your
                                    supervisor.
                                    Boris Antl

                                    From:"AssistanceGroup (Allianz Assistance USA)"
                                    <Assistance.Group@allianzassistance.com>
                                    Date:Thu, Dec 18, 2014 at 14:12
                                    Subject:Case#3196098

                                    Thank you for your recent email. In determining
                                    if we can send a Guarantee Coverage letter to
                                    doctor¿s for your outpatient visits. Can you be so
                                    kind in sending any supporting medical
                                    documentation based on your visit thus far? Or
                                    can you please relay treating (outpatient)
                                    doctors contact numbers. This way our medical
                                    team can review medical information for
                                    outpatient visits. Once reviewed or discuss with
                                    doctor by our medical team. We¿ll review
                                    coverage to determine if we can send an
                                    Guarantee Coverage letter for outpatient visits.
                                    Also, providing Doctors agrees to bill Allianz for
                                    outpatient services. Usually, outpatient visit is
                                    generally an out of pocket expense. It would our
                                    pleasure to review to determine if we can direct
                                    bill given circumstance.



                                    Kind Regards

183 INEM   inbound email from sub   Tri¿jay Vincent                                      Cole,Carey   12/18/2014 10:11PM

                                    From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                    Sent: Thursday, December 18, 2014 6:16 PM

                                    To: AssistanceGroup (Allianz Assistance USA)
                                    Subject: Re: Caso Nº 3196098- BORIS ANTL
                                    Importance: High

                                    Estimados:
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 191 of 204



                                            Adjunto detalle de cuenta del paciente BORIS
                                            ANTL favor enviar a su corresponsal en Chile la
                                            carta por el valor correspondiente.

                                            Atte,
            Email from Hosp>>.AGA total
184 INEM    bill **                           Rodrigo Ávila Díaz                               Jimenez,Leo      12/18/2014 10:33PM
                                              Monitor
                                              pt d/c'd 12/13 as per hospital.
                                              AW pt to contaact MAUSA to advise if any
                                              further assistance needed--appears pt has some
                                              f/u appts next week-dates unknown.
185 RN      RN NEXT STEPS UNCHANGED           Original DOR 1/21/2015                           Bergeron,Linda   12/19/2014 8:29AM
            Bill total $9,027,901 Chile pesos Bill total $9,027,901 Chile pesos = $14,588.40
186 CASE    = $14,588.40 USD                  USD                                              Zhou,Valerie     12/19/2014 3:00PM
187 CASE    audit prepared                    audit prepared                                   Zhou,Valerie     12/19/2014 3:01PM
188 CASE    audit reviewed                    audit reviewed                                   Sarah Ntouskas   12/19/2014 3:21PM
189 GC      the agent                         Sent GCL for $15,500 USD to the agent            Zhou,Valerie     12/19/2014 4:32PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Friday, December 19, 2014 4:33 PM
                                            To: medical@mok.cl
                                            Subject: Allianz Assistance case 3196098

                                            I have sent you our final guarantee letter, in a
                                            separate email. Please confirm receipt of this
                                            and place to the hospital
                                            Thank you.



                                            Sincerely,


            Emailed the agent to confirm    Valerie Zhou
190 OUTEM   receipt of the GCL              Assistance Coordinator II, USA                     Zhou,Valerie     12/19/2014 4:34PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Friday, December 19, 2014 5:08 PM
                                            To: MedicalCases (Allianz Assistance USA);
                                            HCBackend (Allianz Assistance USA)
                                            Subject: 0003238870 - 2014-12-07
                                            Importance: High

                                            Please see the attached bill where we sent the
                                            GCL
191 OUTEM   Emailed CN 184 to claims        0003238870                                         Zhou,Valerie     12/19/2014 5:07PM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Friday, December 19, 2014 5:21 PM
                                            To: 'Rodrigo Avila'
                                            Subject: RE: Caso Nº 3196098- BORIS ANTL

                                            Gracias por su correo electrónico. Podría usted
                                            hacerme el favor de avisarme de las citas
                                            ambulatorias que ha tenido y tendrá en el futuro
                                            el paciente??
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 192 of 204


                                          Sincerely,


            Emailed the hospital to see   Valerie Zhou
            what OP dates sub was         Assistance Coordinator II, USA
192 OUTEM   referring                     Collect: 804-673-1173                                 Zhou,Valerie     12/19/2014 5:20PM
                                          check on sub by email
                                          see if we can send GCL for outpatient
193 CASE    ** CM next steps **           treatments?                                           Zhou,Valerie     12/21/2014 3:52PM
                                          Monitor
                                          pt d/c'd 12/13 as per hospital.
                                          AW pt to contaact MAUSA to advise if any
                                          further assistance needed--appears pt has some
                                          f/u appts this week-dates unknown.
194 RN      RN NEXT STEPS-UNCHANGED       Original DOR 1/21/2015                                Bergeron,Linda   12/22/2014 9:25AM
                                          Monitor
                                          pt d/c'd 12/13 as per hospital.
                                          AW pt to contaact MAUSA to advise if any
                                          further assistance needed--appears pt has some
                                          f/u appts this week-dates unknown.
195 RN      RN NEXT STEPS-UNCHANGED       Original DOR 1/21/2015                                Bergeron,Linda   12/24/2014 9:00AM
                                          Confirm why he is traveling to this country
                                          Obtain outpatient treatment dates (already
                                          requested by email to sub & hosp contact)
                                          Obtain passport info and existing tix info
196 CASE    ** CM next steps **           a/w STT                                               Zhou,Valerie     12/25/2014 4:33PM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Friday, December 26, 2014 4:24 PM
                                          To: Zhou, Valerie (Allianz Global Assistance)
                                          Subject: FW: Caso Nº 3196098- BORIS ANTL
                                          Importance: High

                                          Valerie,

                                          This email has been added to the case.

                                          Teresa Faber
                                          Assistance Case Manager, USA
                                          Tel: 804 673 1173
                                          Fax: 804 673 1510
                                          assistance.group@allianzassistance.com



                                          9950 Mayland Drive
                                          Richmond, VA 23233 USA
                                          www.allianzassistance.com




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   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 193 of 204

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                           and delete the e-mail you received. Thank you.


                           From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                           Sent: Friday, December 26, 2014 7:52 AM

                           To: AssistanceGroup (Allianz Assistance USA)
                           Subject: RE: Caso Nº 3196098- BORIS ANTL
                           Importance: High

                           Estimada:
                           Buenos dias, el Sr. ANTL tuvo dos consultas de
                           ambulatorio despues del alta.
                           Favor enviar la carta por el valor
                           correspondiente, gracias.

                           Atte,

                           Rodrigo Ávila Díaz
                           CLAPM



                           Enviado desde Samsung Mobile




                           -------- Mensaje original --------

                           De: "AssistanceGroup (Allianz Assistance USA)"
                           <Assistance.Group@allianzassistance.com>
                           Fecha:
                           A: Rodrigo Avila <ravila@clinandes.cl>
                           Asunto: RE: Caso Nº 3196098- BORIS ANTL
                           Gracias por su correo electrónico. Podría usted
                           hacerme el favor de avisarme de las citas
                           ambulatorias que ha tenido y tendrá en el futuro
                           el paciente??

                           Sincerely,

197 INEM   EML RESPONSE    Valerie Zhou                                        Teresa Faber   12/26/2014 4:23PM
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 194 of 204


                                          -----------------GOOGLE TRANSLATE-------------
                                          Dear:
                                          Good morning, Mr. Antl had two outpatient visits
                                          after discharge.
            Translation of the previous   Please send the letter by the corresponding      Laurent
198 CASE    email                         value, thanks.                                   Beausergent        12/26/2014 4:26PM

                                          From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                          Sent: Sunday, December 28, 2014 9:58 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Subject: RE: Caso Nº 3196098- BORIS ANTL

                                          Estimada:

                                          Aun estamos a la espera de la carta por el valor
                                          total de la hospitalizacion, favor enviar a la
                                          brevedad, gracias.

                                          Rodrigo Avila Diaz
199 INEM    Email received                CLAPM                                                Katrina Gray   12/29/2014 12:56AM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Monday, December 29, 2014 8:12 AM
                                          To: 'ravila@clinandes.cl'
                                          Subject: RE: Caso Nº 3196098- BORIS ANTL

                                          What are the dates of the outpatient
                                          treatments?

                                          Sincerely,


            Emailed provider contact -    Valerie Zhou
            trying to get OP treatment    Assistance Coordinator II, USA
200 OUTEM   dates                         Collect: 804-673-1173                                Zhou,Valerie   12/29/2014 8:23AM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Monday, December 29, 2014 8:26 AM
                                          To: boris_antl@yahoo.com
                                          Subject: Assistance case 3196098

                                          Hello Mr. Antl,


                                          I am just following up to see how you are doing. I
                                          have emailed the hospital contact that you gave
                                          me, but I have not heard back in regards to the
                                          outpatient treatment dates. May I have the past
                                          outpatient treatment dates that you had plus
                                          any upcoming ones?

                                          I also wanted to check and see if you have a
                                          phone number where I could call you and
                                          conference you with our customer service
                                          department; I know that you had questions
                                          about your baggage benefits.

                                          Thank you!
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 195 of 204




                                            Sincerely,

                                           Valerie Zhou
201 OUTEM   Emailed customer for follow up Assistance Coordinator II, USA                 Zhou,Valerie       12/29/2014 8:26AM
                                           Monitor
                                           pt d/c'd 12/13 as per hospital.
                                           AW pt to contaact MAUSA to advise if any
                                           further assistance needed--appears pt has some
                                           f/u appts last week-dates unknown.
                                           Original DOR 1/21/2015
202 RN      RN NEXT STEPS-UNCHANGED MAUSA emailed client for update-aw reply              Bergeron,Linda     12/29/2014 8:45AM

                                          Confirmed with cm Valerie that I will take case
                                          off RN/IN for now as pt not due to return until
203 RN      RN REVIEW-TAKE OFF RN/IN      end of Jan and he has not returned calls re: f/u Bergeron,Linda    12/30/2014 10:31AM
                                          510/735-6462 from the front screen
                                          Went straight to vm ¿ did not leave msg b/c does
            CM tried another way to reach not appear that sub has access to this number
204 OUTCL   sub                           right now                                        Zhou,Valerie      12/31/2014 9:40AM

                                            From: AssistanceGroup (Allianz Assistance USA)

                                            Sent: Wednesday, December 31, 2014 9:46 AM
                                            To: Rodrigo Avila (ravila@clinandes.cl)
                                            Subject: RE: Caso Nº 3196098- BORIS ANTL

                                            Gracias por su correo electrónico. Podría usted
                                            hacerme el favor de avisarme de las citas
                                            ambulatorias que ha tenido y tendrá en el futuro
                                            el paciente??

                                            Sincerely,

                                           Valerie Zhou
            Emailed hospital contact -     Assistance Coordinator II, USA
            requested OP treatment dates Collect: 804-673-1173
205 OUTEM   (2nd time)                     Fax: 804-673-1510                                  Zhou,Valerie   12/31/2014 9:46AM
                                           CM has asked for a phone number to where he is
                                           staying (we dont even know who or where he is
                                           staying) and has asked for the specfic dates of
                                           the OP treatments he referenced. IN CN 183 he
                                           did not provide answers to either question and
                                           implies that he wont be providing this info in the
206 CASE    CN 183 - email from sub review future                                             Zhou,Valerie   12/31/2014 9:51AM

                                            From: AssistanceGroup (Allianz Assistance USA)
                                            Sent: Monday, January 05, 2015 8:38 AM
                                            To: Zhou, Valerie (Allianz Global Assistance)
                                            Subject: RE: Caso Nº 3196098- BORIS ANTL




                                            Sarah S. Ntouskas
                                            Medical Assistance Specialist, USA
                                            Tel: 1.804.285.3300 extension 28192
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 196 of 204


                                           Fax: 1.804.673.1510

                                           From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                           Sent: Monday, January 05, 2015 9:14 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL
                                           Importance: High

                                           Estimada Valerie:

                                           El paciente Boris ANTL tuvo dos citas
                                           ambulatorias que fueron el 15 y 19 de diciembre,
                                           actualmente se encuentra de alta, favor enviar
                                           carta de garantía, gracias

                                           Atte,

                                           Rodrigo Ávila Díaz
                                           Jefe Administrativo Admisión Central

                                           Coordinación GES/CAEC.
                                           Clinica Los Andes de Puerto Montt S.A.
                                           Avda. Bellavista 123, Puerto Montt.
                                           Fono:652289112
            Email from HOSP requesting gcl Mail: ravila@clinandes.cl
207 OUTCL   for Follow up visits           Web: www.clinandes.cl                              Sarah Ntouskas   01/05/2015 8:37AM

                                           From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                           Sent: Tuesday, January 06, 2015 3:57 PM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL
                                           Importance: High

                                           Estimada:

                                           Favor enviar carta de respaldo a la brevedad,
                                           gracias.
                                           Atte

                                           Rodrigo Ávila Díaz
                                           Jefe Administrativo Admisión Central

                                           Coordinación GES/CAEC.
                                           Clinica Los Andes de Puerto Montt S.A.
                                           Avda. Bellavista 123, Puerto Montt.
                                           Fono:652289112
                                           Mail: ravila@clinandes.cl
208 INEM    EMail from the provider        Web: www.clinandes.cl                              Zhou,Valerie     01/06/2015 4:47PM
                                           Rodrigo Ávila Díaz
                                           Jefe Administrativo Admisión Central

                                           Coordinación GES/CAEC.
                                           Clinica Los Andes de Puerto Montt S.A.
                                           Avda. Bellavista 123, Puerto Montt.
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 197 of 204


                                           Fono:652289112
                                           Mail: ravila@clinandes.cl
                                           Web: www.clinandes.cl


                                           AC spoke to Mr. Avila with the interpreter
                                           Donovan and Mr. Avila would like CM Valerie to
                                           call him back tomorrow on the payment issue as
                                           there is still a remaining balance and Mr Avila is
                                           asking if we are going to send the GCL for it - AC
                                           told Mr Avila we will review the case but if the
                                           max amount of the policy is reached then it's the
                                           responsibility of the SUB to pay it

209 CASE    RODRIGO AVILA --> AGA          All thanked                                          Dina Berik     01/07/2015 3:47PM
                                           Sent: Wednesday, January 07, 2015 3:50 PM
                                           To: Zhou, Valerie (Allianz Global Assistance)
                                           Subject: Case #3196098

                                           Hello Valerie,

                                           Please see CN209.

                                           Thank you.

                                           Dina Berik
210 CASE    Internal communication         Assistance Coordinator I, USA                        Dina Berik     01/07/2015 3:49PM

                                           From: AssistanceGroup (Allianz Assistance USA)
                                           Sent: Thursday, January 08, 2015 2:22 PM
                                           To: 'ravila@clinandes.cl'
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL




                                           Gracias por su correspondencia electrónica. Me
                                           podría proporcionar una copia de la factura y del
                                           reporte médico de sus dos citas?
                                           Tiene el otras citas programadas este mes?

                                           Sincerely,

                                           Valerie Zhou
            Emailed provider / asked for   Assistance Coordinator II, USA
211 OUTEM   med report & bill              Collect: 804-673-1173                                Zhou,Valerie   01/08/2015 2:21PM

                                           From: Boris Antl [mailto:boris_antl@yahoo.com]
                                           Sent: Friday, January 09, 2015 7:15 AM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Subject: Re: Assistance case 3196098

                                           Hello Valerie,

                                           Thanks for your email. I am now in Prague, Czech
                                           Republic, where I have joined my family and am
                                           recovering from the event.
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 198 of 204



                                          To answer your questions:

                                          1. I had three outpatient
                                          examinations/treatments at the Clinica Los
                                          Andes: on Dec 15, 16, and 19.

                                          2. As regards my my missing/lost luggage items, I
                                          have made a list and would appreciate if you
                                          could email me the appropriate form to file a
                                          claim.

                                          Thank you,

212 INEM   Email from sub                 Boris Antl                                          Zhou,Valerie   01/09/2015 1:44PM

                                          From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                          Sent: Friday, January 09, 2015 2:56 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Subject: RE: Caso Nº 3196098- BORIS ANTL
                                          Importance: High

                                          Valerie:

                                          Buenas tardes, adjunto reporte medico de las
                                          dos citas medicas después del alta, el paciente
                                          no tiene mas citas programadas en nuestra
                                          clínica.

                                          La boleta o factura no la puedo emitir mientras
                                          no tenga la carta de pago correspondiente, te
                                          adjunto el detalle de la cuenta cuyo valor es de
                                          CLP $9.027.901 (pesos chilenos) ó
                                          US$15.047(dolares americanos).
                                          Quedo a la espera de la carta de pago para
                                          proceder a facturar la atención,

                                          Atento a tus comentarios,

                                          Rodrigo Ávila Díaz
                                          Jefe Administrativo Admisión Central

                                          Coordinación GES/CAEC.
                                          Clinica Los Andes de Puerto Montt S.A.
                                          Avda. Bellavista 123, Puerto Montt.
                                          Fono:652289112
           eml from hosp admin//medrx/ Mail: ravila@clinandes.cl
213 INEM   no more appts/estimate for gcl Web: www.clinandes.cl                               Taylor Robb    01/09/2015 2:02PM
214 CASE   Bill estimate is 9,027,901CLP  14,718.30USD the date of dc                         Taylor Robb    01/09/2015 2:18PM

                                          From: Zhou, Valerie (Allianz Global Assistance)
                                          Sent: Friday, January 09, 2015 2:46 PM
                                          To: 'Boris Antl'
                                          Subject: RE: Assistance case 3196098
   Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 199 of 204


                                         Thank you for your email. I am glad to hear that
                                         you are with your family.

                                         I have requested from the provider, the
                                         information about your outpatient visits and am
                                         waiting for them to send that over (the medical
                                         report, itemized bill).
                                         I will have customer service send out the claim
                                         form (not done by my department) along with a
                                         medical claim form in case you end up needing
                                         this too.

                                         Thank you.




                                         Sincerely,

                                         Valerie Zhou
215 OUTEM   late note / emailed sub      Assistance Coordinator II, USA                     Zhou,Valerie   01/09/2015 2:47PM

216 OUTCL   CM --> TSC                   she will send out claim form to the customer       Zhou,Valerie   01/09/2015 2:50PM

                                         From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                         Sent: Monday, January 12, 2015 9:51 AM

                                         To: AssistanceGroup (Allianz Assistance USA)
                                         Subject: RE: Caso Nº 3196098- BORIS ANTL

                                         Estimada:

                                         Favor enviar carta a la brevedad, gracias.

                                         Atte

                                         Rodrigo Ávila Díaz
                                         Jefe Administrativo Admisión Central

                                         Coordinación GES/CAEC.
                                         Clinica Los Andes de Puerto Montt S.A.
                                         Avda. Bellavista 123, Puerto Montt.
                                         Fono:652289112
            Inbound email from Rodrigo   Mail: ravila@clinandes.cl
217 INEM    Diaz Hosp Admision           Web: www.clinandes.cl                              Myra Kovacs    01/12/2015 11:15AM

                                         From: AssistanceGroup (Allianz Assistance USA)
                                         Sent: Monday, January 12, 2015 12:33 PM
                                         To: 'medical@grupomok.com'
                                         Cc: 'rodrigo.urbina@grupomok.com'
                                         Subject: 3196098

                                         We sent a guarantee letter for Boris Antl¿s
                                         medical expenses at Clínica Los Andes Puerto
                                         Montt. Did you pay the hospital already or
                                         should we pay them directly?
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                                           Sincerely,


            Emailed the agent on behalf of Valerie Zhou
218 OUTEM   the claims department          Assistance Coordinator II, USA                     Zhou,Valerie   01/12/2015 12:32PM
219 CASE    $9500 USD                      remaining medical benefit $9500 USD                Zhou,Valerie   01/12/2015 12:35PM
                                           dates
                                           12/15 12/16 12/19 2014

                                           med nec
                                           tcvc
            Rn recommends coverage for
220 GC      op visits                      SDRN                                               Demonte,Shelley 01/12/2015 1:23PM
                                           From: Carol Ynés Flores Muñoz
                                           [mailto:carol.flores@grupomok.com]
                                           Sent: Monday, January 12, 2015 3:02 PM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Cc: medical@grupomok.com;
                                           rodrigo.urbina@grupomok.com
                                           Subject: Re: 3196098

                                           Dear Colleagues,

                                           We cover the estimated costs at first, they were
                                           $5.268.666 chilean pesos. Now, we have
                                           received the total costs and there's a pending
                                           balance for $3.759.235 chilean pesos.
                                           Please let us know if you will cover the total
                                           amount, in order to send an advance of fund
                                           document. See attached medical report and
                                           costs.
            From Carol Ynés Flores Muñoz-- Awaiting your soonest response.
221 CASE    >AGA                           Kind Regards,                                    Shanks,David     01/12/2015 3:06PM
222 INEM    notified CM Valerie            inbound email                                    Shanks,David     01/12/2015 3:07PM

                                           From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                           Sent: Monday, January 12, 2015 2:34 PM

                                           To: AssistanceGroup (Allianz Assistance USA)
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL

                                           Valerie:

                                           Medical appointments were no cost, only
                                           included in the income hospitalization vascular
                                           doppler ultrasound one for the value of CLP $
                                           107,360.
                                           Please send the letter of payment, thanks.
                                           Best regards,




                                           Rodrigo Ávila Díaz
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                                           Jefe Administrativo Admisión Central

                                           Coordinación GES/CAEC.
                                           Clinica Los Andes de Puerto Montt S.A.
                                           Avda. Bellavista 123, Puerto Montt.
                                           Fono:652289112
                                           Mail: ravila@clinandes.cl
223 INEM    Email from provider            Web: www.clinandes.cl                                 Zhou,Valerie   01/12/2015 4:29PM

                                           From: Zhou, Valerie (Allianz Global Assistance)
                                           Sent: Tuesday, January 13, 2015 10:29 AM
                                           To: 'Rodrigo Avila'
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL


                                           We already sent our guarantee letter through
                                           our agent Grupo Mok. I will let them know again
                                           so that they can resolve things with you.



                                           Sincerely,
            Emailed the provider - GCL
            already established via the    Valerie Zhou
224 OUTEM   agent                          Assistance Coordinator II, USA                        Zhou,Valerie   01/13/2015 10:33AM

                                           From: AssistanceGroup (Allianz Assistance USA)
                                           Sent: Tuesday, January 13, 2015 10:32 AM
                                           To: 'Carol Ynés Flores Muñoz'
                                           Cc: medical@grupomok.com;
                                           rodrigo.urbina@grupomok.com
                                           Subject: RE: 3196098


                                           We had already sent you a guarantee letter
                                           advising that we could cover the costs. Please
                                           see the attached guarantee letter again and
                                           please resolve things with the hospital. I will let
                                           the claims department know about the bill.



                                           Sincerely,

                                           Valerie Zhou
            Emailed the agent - manually   Assistance Coordinator II, USA
225 OUTEM   resent the GCL                 Collect: 804-673-1173                                 Zhou,Valerie   01/13/2015 10:33AM

                                           From: AssistanceGroup (Allianz Assistance USA)
                                           Sent: Tuesday, January 13, 2015 10:37 AM
                                           To: boris_antl@yahoo.com
                                           Subject: RE: Assistance case 3196098

                                           Mr. Antl,

                                           I believe that I have worked out your medical
                                           expenses at Clínica Los Andes Puerto Montt
                                           using our local agent. Please let me know if you
                                           hear otherwise.
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                                           I would like to follow up with you to offer our
                                           over-the-phone survey; is there a phone number
                                           where I could reach you or maybe I should wait
                                           until you arrive back in the US?



                                           Sincerely,


            Emailed customer - follow up / Valerie Zhou
226 OUTEM   survey                         Assistance Coordinator II, USA                     Zhou,Valerie   01/13/2015 10:36AM

                                           From: Rodrigo Avila [mailto:ravila@clinandes.cl]
                                           Sent: Tuesday, January 13, 2015 1:05 PM
                                           To: Zhou, Valerie (Allianz Global Assistance)
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL
                                           Importance: High

                                           Valerie:

                                           The amount authorized by you is for the total
                                           bill? corresponding to CLP $ 9,027,901 or US $
                                           15,047.

                                           Attentive to your comments,




                                           Rodrigo Ávila Díaz
                                           Jefe Administrativo Admisión Central

                                           Coordinación GES/CAEC.
                                           Clinica Los Andes de Puerto Montt S.A.
                                           Avda. Bellavista 123, Puerto Montt.
                                           Fono:652289112
                                           Mail: ravila@clinandes.cl
227 INEM    Email from the provider        Web: www.clinandes.cl                              Zhou,Valerie   01/13/2015 12:26PM

                                           From: Zhou, Valerie (Allianz Global Assistance)
                                           Sent: Tuesday, January 13, 2015 12:27 PM
                                           To: 'Rodrigo Avila'
                                           Subject: RE: Caso Nº 3196098- BORIS ANTL

                                           Yes that is correct.



                                           Sincerely,

                                           Valerie Zhou
228 OUTEM   Emailed the provider           Assistance Coordinator II, USA                     Zhou,Valerie   01/13/2015 12:26PM
229 CASE    *** CM Next steps ***          CSA with customer 01/22                            Zhou,Valerie   01/15/2015 10:09AM
                                           From: José Lagos Ponce
                                           [mailto:jose.lagos@grupomok.com]
    Case 2:22-cv-00504-KJM-AC Document 39-2 Filed 10/20/23 Page 203 of 204


                                          Sent: Monday, January 19, 2015 10:30 AM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          Cc: medical@grupomok.com; Juan Tejos
                                          Fernandez
                                          Subject: Re: 3196098

                                          Dear colleagues,

                                          Concerning your wire transfer, please find
                                          enclosed copy of our banking information in
                                          order to proceed with payment.

                                          Looking forward to hearing from you soon.
                                          Regards,
            Email from Agent w/ Banking
230 INEM    info                          José Lagos                                          Sarah Ntouskas   01/19/2015 10:37AM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Monday, January 19, 2015 10:39 AM
                                          To: MedicalCases (Allianz Assistance USA)
                                          Subject: FW: 3196098

                                          Wire xfer info for provider 319870

231 OUTEM   CN 230 Sent to CEX            Sarah S. Ntouskas                               Sarah Ntouskas       01/19/2015 10:40AM
                                          510/735-6462 went straight to vm
                                          Left msg asking if sub was home yet and offered
232 OUTCL   CM tried to reach sub         survey                                          Zhou,Valerie         01/22/2015 1:47PM
                                          sub continued his trip, have offered survey by
233 CASE    Closing note                  email and phone                                 Zhou,Valerie         01/23/2015 10:54AM
                                          From: Liubov Yartseva
                                          [mailto:Luba@bnsklaw.com]
                                          Sent: Tuesday, November 23, 2021 8:02 PM

                                          To: AssistanceGroup (Allianz Assistance USA)
                                          <Assistance.Group@allianzassistance.com>
                                          Cc: Ryan Abbott <ryan@bnsklaw.com>
                                          Subject: [EXT] Re: Letter of Representation |
                                          Insured¿s Name: Boris Anti | Insured¿s ID #
                                          US03173366

                                          To Whom It May Concern:


                                          Attached please find letter of representation and
                                          demand for documents. This letter is also notice
                                          that Allianz should preserve all documents and
                                          evidence related to this matter.

                                          Thank you,




                                          Luba Yartseva
                                          Litigation Paralegal
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                                          Brown, Neri, Smith & Khan
                                          11601 Wilshire Blvd., Ste. 2080
                                          Los Angeles, CA 90025
                                          Phone No.: (310) 593-9890
                                          Cell Phone.: (424) 757-3099
234 CASE    Attorney >>> AGA              Direct No.: (310) 935-3948                       Linda Holloway   11/23/2021 8:25PM

                                          From: AssistanceGroup (Allianz Assistance USA)
                                          Sent: Tuesday, November 23, 2021 8:28 PM
                                          To: Fraser, Maryann (Allianz Partners USA)
                                          <MaryAnn.Fraser@allianz.com>; Sullivan,
                                          Lashanta (Allianz Partners USA)
                                          <Lashanta.Sullivan@allianz.com>
                                          Subject: FW: Re: Letter of Representation |
                                          Insured¿s Name: Boris Anti | Insured¿s ID #
                                          US03173366
                                          Importance: High



                                          Hi MaryAnn and LaShanta,

                                          Thought you should have this¿..



                                          Linda H.
            Notice to Mgmt -- Forwarded
235 OUTEM   email                         Associate Coordinator I, Assistance Dept. USA    Linda Holloway   11/23/2021 8:28PM
